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                                       UNITED STATES BANKRUPTCY COURT
                                      EASTERN DISTRICT OF LOUISIANA

       IN RE:                                                  §    Case No. 20-10846
                                                               §
       THE ROMAN CATHOLIC CHURCH                               §    Section “A”
       OF THE ARCHDIOCESE OF NEW                               §
       ORLEANS,                                                §    Chapter 11
                                                               §
                      Debtor.1                                 §
                                                               §


            SUMMARY COVER SHEET TO SEVENTH INTERIM APPLICATION FOR
          ALLOWANCE AND PAYMENT OF COMPENSATION AND REIMBURSEMENT
               OF EXPENSES OF PACHULSKI STANG ZIEHL & JONES LLP AS
         CO-COUNSEL FOR THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS
             FOR THE PERIOD FROM JULY 1, 2022 THROUGH OCTOBER 31, 2022

       Name of Applicant:                                                       Pachulski Stang Ziehl & Jones LLP

                                                                                Co-Counsel to the Official Committee of
       Applicant’s Professional Role in Case
                                                                                Unsecured Creditors

                                                                                Effective May 22, 2020 pursuant to Order
       Date Order of Employment Signed
                                                                                dated July 17, 2020 [Docket No. 257]

                                                                                Beginning of
                                                                                                         End of Period
                                                                                  Period

       Time period covered by this Application (the “Application
                                                                                07/01/2022         10/31/2022
       Period”):

                                                                                05/22/2020         09/30/2020
                                                                                10/01/2020         03/31/2021
       Time period(s) covered by prior Applications:                            04/01/2021         08/31/2021
                                                                                09/01/2021         10/31/2021
                                                                                11/01/2021         02/28/2022
                                                                                03/01/2022         06/30/2022
                                                                                                   $2,831,755.50 (fees)
                                                                                                      $72,058.04 (expenses)
       Total amounts awarded in all prior Applications:
                                                                                                   Total Awarded:
                                                                                                   $2,903,813.54




   1
     The last four digits of the Debtor’s federal tax identification number are 8966. The Debtor’s principal place of business
   is located at 7887 Walmsley Ave., New Orleans, LA 70125.

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               Total professional fees requested in this Application:                                                       $538,445.002

               Total professional hours covered by this Application:                                                                797.90

               Reimbursable expenses sought in this Application:                                                              $27,677.36


                      PSZJ professionals who rendered services for the Official Committee of Unsecured Creditors

             (the “Committee”) in this Chapter 11 case concerning the above captioned debtor and debtor-in-

             possession (the “Debtor”) during this Application Period are listed below.

               SUMMARY OF HOURS BILLED BY PROFESSIONALS AND PARAPROFESSIONALS
                             JULY 1, 2022 THROUGH OCTOBER 31, 2022

                                                                                                        TOTAL
      NAME OF                                YEAR OF               YEAR OF              HOURLY                           TOTAL
                              TITLE                                                                     HOURS
    PROFESSIONAL                            ADMISSION            PARTNERSHIP             RATE                         COMPENSATION
                                                                                                        BILLED
                             Founding       Member of CA
    James I. Stang                                                      1983              $700.00           79.90               $55,930.00
                             Partner        Bar since 1980

    Kenneth H. Brown          Partner       Member of CA                2001              $700.00           97.50               $68,250.00
                                            Bar since 1981
                                            Member of CA
    Andrew W. Caine          Partner                                 1989/2013            $700.00          236.10              $165,270.00
                                            Bar since 1983

                                           Member of FL
                                           Bar since 1992;
    Debra Grassgreen         Partner                                    1997              $700.00             1.00                  $700.00
                                           Member of CA
                                           Bar since 1994

                                           Member of CA
                                           Bar since 1991;
    Linda F. Cantor          Partner                                    1994              $700.00           57.00               $39,900.00
                                           Member of IL
                                           Bar since 1988

                                           Member of NY
                                           Bar since 1983;
    Iain A. W. Nasatir       Partner                                    1999              $700.00           24.70               $17,290.00
                                           Member of CA
                                           Bar since 1990




2
    The Firm’s reduction in its standard rates resulted in a $440,337.50 reduction in its fees. Further, the Firm took additional
    voluntary reductions that totaled $9,800.00, for a total of $450,137.50 in voluntary reductions taken by the Firm.

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                                                                              TOTAL
  NAME OF                            YEAR OF            YEAR OF     HOURLY                 TOTAL
                        TITLE                                                 HOURS
PROFESSIONAL                        ADMISSION         PARTNERSHIP    RATE               COMPENSATION
                                                                              BILLED
                                    Member of CA
                                    Bar since 1995;
Joshua M. Fried       Partner                            2006       $700.00     17.50        $12,250.00
                                    Member of NY
                                    Bar since 1999

                                    Member of TX
                      Of
Judith Elkin                        Bar since 1982;       N/A       $700.00    140.90        $98,630.00
                      Counsel
                                    Member of NY
                                    Bar since 2004
                                    Member of CA
                                    Bar since 2003
Robert M.             Of
                                    Member of FL          N/A       $700.00     16.10        $11,270.00
Saunders              Counsel
                                    Bar since 1995
                                    Member of NY
                                    Bar since 1984
                      Of            Member of CA
Gail S. Greenwood                                         N/A       $700.00      0.70          $490.00
                      Counsel       Bar since 1994

                                    Member of CA
                                    Bar since 1999;
                                       Member of
                      Of              Washington
Gillian N. Brown                                          N/A       $700.00      7.20         $5,040.00
                      Counsel        D.C. Bar since
                                     2008; Member
                                    of NY Bar since
                                         2010

                      Of            Member of FL
Cia H. Mackle                                             N/A       $700.00     28.10        $19,670.00
                      Counsel       Bar since 2006

                                    Member of MN
Brittany M.           Of            Bar since 2015;
                                                          N/A       $700.00      3.30         $2,310.00
Michael               Counsel       Member of NY
                                    Bar since 2019

                                    Member of NY
                                    Bar since 2015;
                                    Member of MD
Steven W. Golden      Associate                           N/A       $700.00      4.30         $3,010.00
                                    Bar since 2015;
                                    Member of TX
                                    Bar since 2016

Beth D. Dassa         Paralegal          N/A              N/A       $460.00     59.10        $27,186.00

Mike Matteo           Paralegal          N/A              N/A       $460.00     22.40        $10,304.00



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                                                                         TOTAL
  NAME OF                             YEAR OF      YEAR OF     HOURLY                 TOTAL
                         TITLE                                           HOURS
PROFESSIONAL                         ADMISSION   PARTNERSHIP    RATE               COMPENSATION
                                                                         BILLED
                       Law
Leslie A. Forrester    Library          N/A          N/A       $450.00      2.10          $945.00
                       Director

Total                                                                     797.90       $538,445.00




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                                   COMPENSATION BY CATEGORY
                                JULY 1, 2022 THROUGH OCTOBER 31, 2022


       Code                             Description          Hours       Amount

        AA            Asset Analysis                            20.00        $14,000.00

        AD            Asset Disposition                          8.50         $5,875.00

        AP            Appeals                                    1.10          $746.00

        BL            Bankruptcy Litigation                    520.40       $363,416.00

        CA            Case Administration                       23.70        $11,331.00

        CO            Claims Administration/Objection            8.70         $6,090.00

        EB            Employee Benefits                          0.80          $560.00

        FE            Fee and Employment Applications           84.70        $45,850.00

        GC            General Creditors Comm.                   55.20        $38,217.00

         IC           Insurance Coverage                        24.60        $17,220.00

        ME            Mediation                                 13.10         $9,170.00

        PD            Plan & Disclosure Statement               28.90        $20,230.00

        SL            Stay Litigation                            1.10          $770.00

       UST            US Trustee Investigation                   7.10         $4,970.00

                      TOTAL                                    797.90       $538,445.00




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            The total amount of expenses by expense type for PSZJ during the Application Period is

   listed below.

                                        EXPENSES BY CATEGORY
                                JULY 1, 2022 THROUGH OCTOBER 31, 2022


                                 Expense Category                                      Amount

  Auto Travel Expense                                                                          $316.78

  Bloomberg                                                                                     $51.78

  Business Meals                                                                             $1,190.83

  Conference Call                                                                               $24.72

  Outside Services                                                                           $6,930.00

  Hotel Expense                                                                              $1,853.53

  Lexis/Nexis – Court Research                                                               $1,560.43

  Pacer – Court Research                                                                        $98.90

  Postage                                                                                      $915.49

  Reproduction Expense                                                                      $10,719.00

  Reproduction/Scan Copy                                                                       $143.90

  Research                                                                                   $3,872.00

  TOTAL                                                                                     $27,677.36




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                                   UNITED STATES BANKRUPTCY COURT
                                    EASTERN DISTRICT OF LOUISIANA


       IN RE:                                                  §    Case No. 20-10846
                                                               §
       THE ROMAN CATHOLIC CHURCH                               §    Section “A”
       OF THE ARCHDIOCESE OF NEW                               §
       ORLEANS                                                 §    Chapter 11
                                                               §
                      Debtor.1                                 §
                                                               §


                        SEVENTH INTERIM APPLICATION FOR
          ALLOWANCE AND PAYMENT OF COMPENSATION AND REIMBURSEMENT
               OF EXPENSES OF PACHULSKI STANG ZIEHL & JONES LLP AS
         CO-COUNSEL FOR THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS
             FOR THE PERIOD FROM JULY 1, 2022 THROUGH OCTOBER 31, 2022


            A HEARING WILL BE CONDUCTED ON THIS MATTER ON DECEMBER
            15, 2022, AT 1:30 P.M. (CDT) IN COURTROOM B-709, 500 POYDRAS
            STREET, NEW ORLEANS, LA 70130, OR BY TELEPHONE THROUGH THE
            DIAL-IN FOR SECTION A: 1-504-517-1385; CONFERENCE CODE 129611. IF
            YOU OBJECT TO THE RELIEF REQUESTED IN THIS PLEADING, YOU
            MUST RESPOND IN WRITING. UNLESS DIRECTED OTHERWISE BY THE
            COURT, YOU MUST FILE YOUR RESPONSE WITH THE CLERK OF THE
            BANKRUPTCY COURT NO LATER THAN SEVEN (7) DAYS BEFORE THE
            HEARING DATE. YOU MUST SERVE A COPY OF YOUR RESPONSE ON
            THE PERSON WHO SENT YOU THE NOTICE; OTHERWISE, THE COURT
            MAY TREAT THE PLEADING AS UNOPPOSED AND GRANT THE RELIEF
            REQUESTED.


            Pachulski Stang Ziehl & Jones LLP (“PSZJ” or the “Firm”), co-counsel for the Official

   Committee of Unsecured Creditors (the “Committee”) of The Roman Catholic Church of the

   Archdiocese of New Orleans (the “Debtor”), hereby submits its Seventh Interim Application for

   Allowance and Payment of Compensation and Reimbursement of Expenses of Pachulski Stang Ziehl



   1
     The last four digits of the Debtor’s federal tax identification number are 8966. The Debtor’s principal place of business
   is located at 7887 Walmsley Ave., New Orleans, LA 70125.

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   & Jones LLP, as Co-Counsel for the Official Committee of Unsecured Creditors for the Period From

   July 1, 2022 - Through October 31, 2022 (the “Application”). In support of the Application, PSZJ

   respectfully represents as follows:

                                             I.      INTRODUCTION

         In this Application, the Firm seeks interim allowance and payment, to the extent unpaid, of the

   amounts set forth below for work performed from July 1, 2022 through October 31, 2022 (the

   “Application Period”).

                                                  REQUESTED                 FEES             80% FEES;
                                                                         (AFTER ALL       100% EXPENSES
                                                                        REDUCTIONS)
                                            (Reductions
                                 Fees (at                  (Further
                                               from                                                   100%
      Period Covered            Standard                  Voluntary         Fees       80% Fees
                                             Standard                                                Expenses
                                 Rates)                   Reductions)
                                              Rates)

         7/1/2022 –
                            $145,182.00     $$57,202.00      $0.00       $87,980.00    $70,384.00    $18,673.68
         7/31/2022
         8/1/2022 –
                            $213,485.00     $95,985.00     $4,410.00     $113,090.00   $90,472.00    $3,407.82
         8/31/2022
         9/1/2022 –
                            $408,144.50     $183,121.50    $3,850.00     $221,173.00   $176,938.40   $1,274.99
         9/30/2022
        10/1/2022 –
        10/31/2022
        (deadline to        $221,771.00     $104,029.00    $1,540.00     $116,202.00   $92,961.60    $4,320.87
       object has not
         yet passed)
     TOTAL                  $988,582.50     $440,337.50   $9,800.00      $538,445.00   $430,756.00   $27,677.36
     AMOUNT PAID
     PURSUANT TO
     MONTHLY
     FEE
     STATEMENTS:

     $182,937.50

     AMOUNT
     UNPAID AND
     OWING:
     $383,184.86




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                                  II.      JURISDICTION AND VENUE

              1.    The Court has jurisdiction to consider this Application pursuant to 28 U.S.C. §§ 157

   and 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b).

              2.    Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

              3.    The bases for the relief requested herein are sections 330 and 331 of title 11 of the

   United States Code, 11 U.S.C. §§ 101–1532 (the “Bankruptcy Code”), Rules 2014 and 2016 of the

   Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), Rules 2014-1 and 2016-1 of the

   Bankruptcy Local Rules for the Eastern District of Louisiana (the “Local Bankruptcy Rules”),

   Section XIII(B) of the Court’s December 4, 2019 General Order Regarding Procedures of Complex

   Chapter 11 Cases, and the United States Trustee Guidelines for Reviewing Applications for

   Compensation and Reimbursement of Expenses by Attorneys in Larger Chapter 11 Cases (the “UST

   Guidelines”).

                                         III.      BACKGROUND


   A.         Introduction

              4.    On May 1, 2020, the Roman Catholic Church of the Archdiocese of New Orleans (the

   “Debtor”) filed a voluntary petition for relief under the Bankruptcy Code.

              5.    The Debtor remains in possession of its property and is managing its business as a

   debtor in possession pursuant to §§ 1107(a) and 1108 of the Bankruptcy Code, 11 U.S.C. § 101,

   et. seq.

              6.    On May 20, 2020, the Office of the United States Trustee for Region 5 appointed the

   Committee pursuant to section 1102(a)(1) of the Bankruptcy Code [Docket No. 94], which was

   reconstituted on June 10, 2020 [Docket No. No. 151], on October 8, 2020, to remove TMI Trust




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  Company, Inc., in its capacity as indenture trustee for certain bonds [Docket No. 478], and on

  June 21, 2022 [Docket No. 1618].2

          7.       On May 22, 2020, the Committee conducted its first meeting and at that meeting

  unanimously selected PSZJ and Locke Lord LLP to serve as its co-counsel.

  B.      Employment of the PSZJ

          8.       On June 22, 2020, the Committee filed an application to employ the Firm as

  co-counsel to the Committee [Docket No. 181] (the “Retention Application”). As more fully

  described in the Retention Application, the Committee retained the Firm to render legal services to

  the Committee in this chapter 11 case (the “Bankruptcy Case”).

          9.       On July 17, 2020, this Court entered an order authorizing the employment of the Firm

  as co-counsel to the Committee [Docket No. 257] (the “Retention Order”).

                     IV.       WORK PERFORMED AND RESULTS OBTAINED
                                EXTRAORDINARY CIRCUMSTANCES

          10.      The Firm provided, and continues to provide, extensive legal services to the

  Committee in this Bankruptcy Case. The Firm has attached to this Application (1) a copy of the

  Firm’s July invoice setting forth the time-keeping entries generated by those Firm personnel who

  worked on this matter during the period commencing on July 1, 2022 through July 31, 2022; (2) a

  copy of the Firm’s August invoice setting forth the time-keeping entries generated by those Firm

  personnel who worked on this matter during the period commencing on August 1, 2022 through

  August 31, 2022; (3) a copy of the Firm’s September monthly invoice setting forth the time-keeping

  entries generated by those Firm personnel who worked on this matter during the period commencing

  on September 1, 2022 through September 30, 2022; and (4) a copy of the Firm’s October monthly



  2
   A separate official committee of unsecured commercial creditors was appointed by the US Trustee on March 5, 2021.
  [Docket Nos. 772 and 792].

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  invoice setting forth the time-keeping entries generated by those Firm personnel who worked on this

  matter during the period commencing on October 1, 2022 through October 31, 2022. The

  Committee and its counsel have undertaken strenuous efforts to move this case forward towards a

  resolution of creditor claims, to achieve the goal of the most favorable resolution to unsecured

  creditors possible. The actions undertaken during the Application Period include the following:

                   a.          Action to Move Forward Resolution of Claims, 2004 Motion and
                               Document Requests, and Plan Negotiations

          11.      The Committee recognizes that the most likely outcome and resolution of claims in

  this case will come through a plan of reorganization. To that end, the Committee has worked to

  move this process forward, including a comprehensive investigation and analysis of the Debtor’s

  assets, financial circumstances and structure, information regarding underlying claims filed against

  the Debtor, the Debtor’s child protection policies and practices, and the reachable assets of the

  Debtor’s affiliates that may seek a consensual release, all of which are necessary to inform

  negotiations and mediation concerning potential resolution of claims.

          12.      The Committee, together with its counsel, has undertaken significant work in this

  regard, including without limitation during the Application Period:

                              Investigation, including through analysis of information and documents
                               provided and to be provided by the Debtor. During the Application Period,
                               the Committee continued to pursue its motion to compel production of the
                               documents pursuant to Bankruptcy Rule 2004 (the “Rule 2004 Motion”),
                               including efforts to negotiate with and press the Debtor for documents, and
                               hearings on the motion to compel. The Committee also continued to pursue
                               documents from and negotiate with counsel regarding its information requests
                               to the more than 180 affiliates of the Debtor. The Committee also continued
                               its discussions with the Debtor regarding the valuation of the Debtor’s
                               extensive property holdings and the retention of experts to conduct the
                               valuations.

                              Analysis and review of non-abuse and abuse claims.

                              Analysis of the Debtor’s assets, including real and personal property and
                               affirmative claims and tolling issues related thereto

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                              Analysis of potential claims against the Debtor relating to pension obligations

                              Analysis and review of documents relating to the Debtor’s child protection
                               policies and practices

                              Work with the Committee and its financial advisors and with the court-
                               appointed mediator to prepare for mediation and attend the initial mediation
                               session

                              Review and investigation of potential plan structuring and terms including
                               financial and non-monetary terms

        V.         NATURE AND EXTENT OF LEGAL SERVICES PROVIDED

          13.      On August 22, 2022, PSZJ submitted its July fee statement (the “July Monthly Fee

  Statement”) covering the period July 1, 2022 through July 31, 2022. PSZJ incurred fees at its

  standard rates of $145,182.00. After the reduction due to reduced rates of $57,202.00, PSZJ’s total

  fees for the July Monthly Fee Statement are in the amount of $87,980.00. Thus, in its July Monthly

  Fee Statement, PSZJ requested an interim allowance of reduced fees in the amount of $87,980.00

  and further requested payment of 80% of such reduced fees in the amount of $70,384.00 and 100%

  of expenses in the amount of $18,673.68 for a total amount of $89,057.68. Attached hereto as

  Exhibit A is a true and correct copy of the July Monthly Fee Statement.

          14.      On September 29, 2022, PSZJ submitted its August fee statement (the “August

  Monthly Fee Statement”) covering the period August 1, 2022 through August 31, 2022. PSZJ

  incurred fees at its standard rates of $213,485.00. After the reduction due to reduced rates of

  $95,985.00 and additional fee write-offs of $4,410.00, PSZJ’s total fees for the August Monthly Fee

  Statement are in the amount of $113,090.00. Thus, in its August Monthly Fee Statement, PSZJ

  requested an interim allowance of reduced fees in the amount of $113,090.00 and further requested

  payment of 80% of such reduced fees in the amount of $90,472.00 and 100% of expenses in the

  amount of $3,407.82 for a total amount of $93,879.82. Attached hereto as Exhibit B is a true and

  correct copy of the August Monthly Fee Statement.

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          15.      On October 28, 2022, PSZJ submitted its September fee statement (the “September

  Monthly Fee Statement”) covering the period September 1, 2022 through September 30, 2022. PSZJ

  incurred fees at its standard rates of $408,144.50. After the reduction due to reduced rates of

  $183,121.50 and additional fee write-offs of $3,850.00, PSZJ’s total fees for the September Monthly

  Fee Statement are in the amount of $221,173.00. Thus, in its September Monthly Fee Statement,

  PSZJ requested an interim allowance of reduced fees in the amount of $221,173.00 and further

  requested payment of 80% of such reduced fees in the amount of $176,938.40 and 100% of expenses

  in the amount of $1,274.99 for a total amount of $178,213.39. Attached hereto as Exhibit C is a

  true and correct copy of the September Monthly Fee Statement.

          16.      On November 23, 2022, PSZJ submitted its October fee statement (the “October

  Monthly Fee Statement”) covering the period October 1, 2022 through October 31, 2022. PSZJ

  incurred fees at its standard rates of $221,771.00. After the reduction due to reduced rates of

  $104,029.00 and additional fee write-offs of $1,540.00, PSZJ’s total fees for the October Monthly

  Fee Statement are in the amount of $116,202.00. Thus, in its October Monthly Fee Statement, PSZJ

  requested an interim allowance of reduced fees in the amount of $116,202.00 and further requested

  payment of 80% of such reduced fees in the amount of $92,961.60 and 100% of expenses in the

  amount of $4,320.87 for a total amount of $97,282.47. Attached hereto as Exhibit D is a true and

  correct copy of the October Monthly Fee Statement.

          17.      PSZJ seeks interim allowance of fees for professional services rendered during the

  Application Period in the amount of $538,445.00 and reimbursement of actual and necessary

  expenses incurred during the Application Period in the amount of $27,677.36 for a total allowance of

  $566,122.36, and requests payment of such fees and costs to the extent unpaid. During the




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  Application Period, PSZJ’s attorneys and paraprofessionals expended a total of 797.90 hours for

  which compensation is requested.

          18.      The fees charged by PSZJ in these cases are billed in accordance with its billing rates

  and procedures set forth in the Retention Application.

          19.      The standard hourly rates for the PSZJ attorneys working on this matter range from

  $995 to $1,525 per hour for partners, and $875 to $1,125 per hour for of counsel. The standard

  hourly rate for paraprofessionals working on this matter is $495 per hour. Such fees are reasonable

  based on the customary compensation charged by comparably skilled practitioners in comparable

  non-bankruptcy cases in a competitive national legal market. However, as noted above, the Firm

  agreed to a maximum hourly rate of $700 per attorney in this case.

          20.      Pursuant to the UST Guidelines, attached hereto as Exhibit E is a summary setting

  forth all professionals and paraprofessionals employed by PSZJ who have performed services in this

  Chapter 11 Case during the Application Period, the capacities in which each such individual is

  employed by PSZJ, the hourly billing rate charged by PSZJ for services performed by such

  individual, and the aggregate number of hours expended and fees billed.

           VI.        SUMMARY OF LEGAL SERVICES RENDERED BY CATEGORY

          21.      The services rendered by PSZJ during the Application Period can be grouped into the

  categories set forth below. PSZJ attempted to place the services provided in the category that best

  relates to such services. However, because certain services may relate to one or more categories,

  services pertaining to one category may in fact be included in another category. These services

  performed, by categories, are generally described below; with a more detailed identification of the

  actual services provided set forth on the attached Invoices, which identify the attorneys and

  paraprofessionals who rendered services relating to each category, along with the number of hours

  for each individual and the total compensation sought for each category.

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  A.      Appeals

          22.      Time billed to this category was minimal and included: (1) conferring with co-

  counsel regarding ruling on the interlocutory appeal; and (2) reviewing a district court decision

  regarding standing issues.

          23.      The Firm expended 1.10 hours of professional time on services in this category. The

  Firm’s professional fees in this category total $746.00.

  B.      Asset Analysis/Asset Disposition

          24.      Time billed to these categories included, among other things: (1) addressing issues

  and proposed transactions relating to real estate and other assets of the Debtor and affiliates,

  including the Debtor’s motion to sell the Howard Avenue property and the proposed sale of the

  Notre Dame Health Systems, St. Anthony’s Gardens properties/businesses, and other assets that may

  constitute estate property and (2) addressing issues regarding financial assets of the Debtor and

  affiliates.

          25.      The Firm expended 28.50 hours of professional time on services in these categories.

  The Firm’s professional fees in these categories totals $19,875.00.

  C.      Bankruptcy Litigation

          The majority of the time billed during the Application Period relates to bankruptcy litigation

  and related issues. Time billed to this category related to work regarding motions, adversary

  proceedings and discovery in various matters in the Bankruptcy Court. During the Application

  Period, the Firm, among other things: (1) continued to pursue its motion to compel production of the

  documents in the Rule 2004 Motion, including efforts to negotiate with and obtain documents from

  the Debtor, and hearings on the motion to compel, and reviewing documents produced by the

  Debtor; (2) pursued and negotiated with counsel regarding its document and information requests to



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  more than 180 of the Debtor’s affiliates; (3) reviewed documents produced by the Debtors and

  updated privilege logs and documents produced by affiliates; (4) addressed issues relating to the

  property holdings of the Debtor and affiliates; (5) worked with BRG, Claro and Rock Creek to

  gather documents and information necessary for their analyses; (6) researched and drafted

  memoranda and other documents regarding the Debtor’s child protection practices; (7) addressed a

  motion to reconsider the Court’s ruling on the Committee’s motion to end retirement benefits to

  credibly accused clergy; (8) researched and drafted pleadings and engaged in discussions and

  correspondence with counsel for the Debtor and affiliates regarding the Committee’s declaratory

  relief action regarding financial assets; and (9) researching and drafting pleadings and

  correspondence and engaging in discussions and correspondence with counsel for the Debtor and

  affiliates regarding the Committee’s declaratory relief action regarding financial assets, motions to

  dismiss and briefs filed by various parties, and preparation for the motion to dismiss hearing and

  following order.

          26.      The Firm expended 520.40 hours of professional time on services in this category.

  The Firm’s professional fees in this category total $363,416.00.

  D.      Case Administration

          27.      This category includes work related to administering the cases in an efficient manner.

  During the Application Period, the Firm, among other things: (1) updated critical dates and deadline

  memorandum; (2) attended to calendaring matters; (3) reviewed procedures manual regarding

  submission of orders/pleadings and prepared memorandum regarding the same; (4) reviewed website

  hosting and expense information; and (5) reviewed amended/updated procedures regarding complex

  cases general order.




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          28.      The Firm expended 23.70 hours of professional time on services in this category. The

  Firm’s professional fees in this category total $11,331.00.

  E.      Claims Administration/Objection

          29.      Time spent in this category during the Application Period included, among other

  things: (1) conferring with The Claro Group regarding claims analysis and review of data; (2)

  reviewing an opposition to Louisiana Supreme Court writ; (3) reviewing Catholic charities tax

  return; (4) reviewing a brief in support of constitutionality of window; and (5) conferring with co-

  counsel and Child USA regarding statute of limitation issues.

          30.      The Firm expended 8.70 hours of professional time on services in this category. The

  Firm’s professional fees in this category total $6,090.00.

  F.      Employee Benefits

          31.      Time spent in this category was minimal during the Application Period and consisted

  of reviewing and responding to emails regarding access to opinion on pension, and a review of

  precedent in connection therewith regarding pension memorandum.

          32.      The Firm expended 0.80 hours of professional time on services in this category. The

  Firm’s professional fees in this category total $560.00.

  G.      Fee Applications

          33.      This category includes work related to professional fee and retention application

  issues. During the Application Period, the Firm, among other things: (1) conferred with Committee

  professionals regarding quarterly and monthly fee applications; (2) prepared the Firm’s June, July,

  August, and September fee statements; (3) prepared the Firm’s 6th quarterly interim fee application;

  (4) reviewed and revised the June, July, August, and September fee statements for BRG, Rock

  Creek, and The Claro Group, and conferred with Committee and professionals regarding the same;



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  (5) reviewed and revised quarterly fee applications for BRG, Rock Creek, and The Claro Group, and

  conferred with these professionals regarding the same; (6) prepared notices of hearing on PSZJ,

  BRG, Rock Creek and The Claro Group’s quarterly fee applications; (7) prepared order approving

  fee applications of PSZJ, BRG, Rock Creek and the Claro Group; and (8) addressed issues and

  prepared notices of non-compliance regarding Debtor’s non-payment of approved fees and expenses

  of professionals.

          34.      The Firm expended 84.70 hours of professional time on services in this category. The

  Firm’s professional fees in this category total $45,850.00.

  H.      General Creditors Committee

          35.      This category includes work related to general Committee issues, including

  Committee meetings and calls with state court counsel on a variety of case issues. During the

  Application Period, the Firm, among other things: (1) attended weekly Committee calls;

  (2) conferred with Committee regarding mediation and general case status; (3) conferred with state

  court counsel regarding Committee issues; (4) conferred with Andrews and Thornton regarding case

  issues; (5) addressed issues regarding Everlaw and document training; (6) addressed issues regarding

  the reconstituted Committee; (7) conferred with Claro regarding new Committee members;

  (8) attended state court counsel meeting regarding case issues; (9) conferences regarding constituent

  communications, pending motions and transactions; (10) prepared for and attended town hall

  meeting and conferred with co-counsel regarding the same; (11) conferred with Debtor and co-

  counsel regarding case status; (12) conferred regarding sale issues of non-debtor affiliates and

  certain plan issues; and (13) conferred regarding case status and next steps following motion to

  dismiss ruling and discovery.




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          36.      The Firm expended 55.20 hours of professional time on services in this category. The

  Firm’s professional fees in this category total $38,217.00.

  I.      Insurance Coverage

          37.      This category includes work related to insurance issues. Time spent in this category

  during the Application Period included: (1) overseeing legal research on Louisiana insurance law

  issue and reviewing the results regarding the same; (2) addressing insurance inquiries regarding

  pleadings filed by the Debtor; (3) reviewing experts’ questions regarding insurance coverage; (4)

  reviewing Debtor insurance production; and (5) communicating with experts regarding insurance

  information.

          38.      The Firm expended 24.60 hours of professional time on services in this category. The

  Firm’s professional fees in this category total $17,220.00.

  J.      Mediation

          39.      This category includes work related to mediation issues. During the Application

  Period, the Firm: (1) conferred with Claro regarding claims review; (2) conferred with the

  Committee regarding mediation issues; (3) conferred with co-counsel regarding mediation and issues

  relating to child protection program; (4) conferred with co-counsel regarding mediation monetary

  demand; (5) prepared for mediation and conferred with the Committee and BRG regarding the same;

  (6) drafted a mediation offer and finalized settlement demand; (7) conferred with the mediator, co-

  counsel and Committee regarding mediation status; and (8) reviewed Debtor’s mediation response.

          40.      The Firm expended 13.10 hours of professional time on services in this category. The

  Firm’s professional fees in this category total $9,170.00.




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  K.      Stay Litigation

          41.      Time spent in this category was minimal during the Application Period and included

  responding to an email from Debtor’s counsel regarding parish stipulation and addressing insurance

  issues and the automatic stay.

          42.      The Firm expended 1.10 hours of time in this category. The Firm’s professional fees

  in this category total $770.00.

  L.      Plan and Disclosure Statement

          43.      During the Application Period, the Firm addressed several issues relating to a

  potential plan and disclosure statement, including the following: (1) preparing a draft; (2) conferring

  with co-counsel and Debtor regarding case issues; (3) conferring with state court counsel and

  Committee regarding strategy/demands and general plan status; (4) conferring with Bettinelli

  regarding supplemental notice; (4) reviewing coverage information; (5) conferring regarding

  oppositions to motions to dismiss/arguments/research; (6) reviewing new 5th Circuit decisions

  regarding exculpation/releases; (7) reviewing produced documents; (8) conferring with Blank Rome

  regarding insurance policies; (9) reviewing non-monetary proposal for subcommittee consideration

  and conferring with co-counsel regarding the same; (10) addressing child protection issues and

  conferring with state court counsel regarding the same; (11) conferring with reconstituted Committee

  regarding case status and reorganization issues; (12) conferring with BRG regarding asset and

  contribution analysis; (13) attending meetings regarding a potential Plan; (14) reviewing court

  decision regarding the reconstituted Committee; (15) reviewing forms of ballot from the Debtor and

  providing comments regarding the same; (16) conferring with co-counsel regarding plan issues and

  constitutionality of claims; and (17) reviewing non monetary issues settlement between NYAG and

  Buffalo for consideration by Debtor.



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          44.       The Firm expended 28.90 hours of professional time on services in this category. The

  Firm’s professional fees in this category total $20,230.00.

  M.      U.S. Trustee Investigation

          45.       This category includes work related to appeals of the Court’s order following the

  United States Trustee’s investigation of alleged protective-order violations and the submission of

  order time records.

          46.       The Firm expended 7.10 hours of professional time on services in this category. The

  Firm’s professional fees in this category total $4,970.00.

             VII.       ACTUAL AND NECESSARY EXPENSES INCURRED BY PSZJ

          47.       As summarized below, PSZJ has incurred a total of $27,677.36 in expenses on behalf

  of the Committee during the Application Period. PSZJ customarily charges $0.10 per page for

  photocopying expenses. PSZJ’s photocopying machines automatically record the number of copies

  made when the person that is doing the copying enters the client’s account number into a device

  attached to the photocopier. PSZJ summarizes each client’s photocopying charges on a daily basis.

          48.       PSZJ charges $1.00 per page for out-going facsimile transmissions. There is no

  additional charge for long distance telephone calls on faxes. The charge for outgoing facsimile

  transmissions reflects PSZJ’s calculation of the actual costs incurred by PSZJ for the machines,

  supplies and extra labor expenses associated with sending telecopies and is reasonable in relation to

  the amount charged by outside vendors who provide similar services. PSZJ does not charge the

  Committee for the receipt of faxes in this case.

          49.       With respect to providers of on-line legal research services (e.g., LEXIS and

  Westlaw), PSZJ charges the standard usage rates these providers charge for computerized legal

  research. PSZJ bills its clients the actual amounts charged by such services, with no premium. Any

  volume discount received by PSZJ is passed on to the client.

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           50.     PSZJ believes that the foregoing rates are the market rates that the majority of law

  firms charge clients for such services. In addition, PSZJ believes that such charges are in accordance

  with the American Bar Association’s (“ABA”) guidelines, as set forth in the ABA’s Statement of

  Principles, dated January 12, 1995, regarding billing for disbursements and other charges.

           51.     The Firm’s specific expenses are outlined below:

                               Expense Category                                           Amount

 Auto Travel Expense                                                                              $316.78

 Bloomberg                                                                                          $51.78

 Business Meals                                                                                 $1,190.83

 Conference Call                                                                                    $24.72

 Outside Services                                                                               $6,930.00

 Hotel Expense                                                                                  $1,853.53

 Lexis/Nexis – Court Research                                                                   $1,560.43

 Pacer – Court Research                                                                             $98.90

 Postage                                                                                          $915.49

 Reproduction Expense                                                                          $10,719.00

 Reproduction/Scan Copy                                                                           $143.90

 Research                                                                                       $3,872.00

 TOTAL                                                                                         $27,677.36



           52.     The Firm requests that the Court grant it reimbursement for $27,677.36 in

  reimbursable expenses it incurred on the Committee’s behalf during the Application Period.




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                                  VIII.      VOLUNTARY REDUCTIONS

          53.         The Firm’s reduction in its standard rates resulted in a $440,337.50 reduction in its

  fees. Further, the Firm took additional voluntary reductions totaling $9,800.00, for a total of

  $450,137.50 in voluntary reductions taken by the Firm. The Firm believes that these reductions are

  appropriate and reasonable under the circumstances of this case.

                IX.        STATEMENT IN COMPLIANCE WITH RULE 2016 OF THE
                           FEDERAL RULES OF BANKRUPTCY PROCEDURE

          54.         As more fully described in the Retention Application, the Committee agreed to retain

  the Firm as their counsel and to compensate the Firm on an hourly basis in accordance with the

  Firm’s retention application, plus reimbursement of the actual and necessary expenses that the Firm

  incurred in connection with the Bankruptcy Case. All compensation for services rendered, and

  reimbursement for expenses incurred, are subject to this Court’s approval in accordance with the

  Retention Order, Bankruptcy Code §§ 330 and 331, the Bankruptcy Rules, the Local Bankruptcy

  Rules, and other procedures that this Court may fix. No entity has promised to compensate the Firm

  for any services rendered, or reimburse it for expenses incurred, in connection with this case except

  as this Court may approve.

          55.         No agreement or understanding exists between the Firm and any other entity for the

  sharing of any compensation or reimbursement (i) that the Firm may receive for services rendered in,

  or in connection with, this Bankruptcy Case or (ii) that such other entity has already received or may

  receive for services that entity rendered in, or in connection with this Bankruptcy Case, except that

  the Firm will share any compensation or reimbursement it receives in connection with this

  Bankruptcy Case with its members, partners, associates, and other Firm employees (as originally

  disclosed in the Retention Application).




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             X.          THE REQUESTED COMPENSATION SHOULD BE ALLOWED

          56.      Section 330 provides that a court may award a professional employed under 11 U.S.C

  § 328 “reasonable compensation for actual, necessary services rendered . . . and reimbursement for

  actual, necessary expenses.” See 11 U.S.C. Section 330(a)(1). Section 330 also sets forth the

  criteria for the award of such compensation and reimbursement:

          In determining the amount of reasonable compensation to be awarded . . . , the court
          should consider the nature, the extent, and the value of such services, taking into
          account all relevant factors, including—

                   (A)         the time spent on such services;

                   (B)         the rates charged for such services;

                   (C)         whether the services were necessary to the administration of, or beneficial at
                               the time at which the service was rendered toward the completion of, a case
                               under this title;

                   (D)         whether the services were performed within a reasonable amount of time
                               commensurate with the complexity, importance, and nature of the problem,
                               issue, or task addressed;

                   (E)         with respect to a professional person, whether the person is board certified or
                               otherwise has demonstrated skill and experience in the bankruptcy field; and

                   (F)         whether the compensation is reasonable based on the customary compensation
                               charged by comparably skilled practitioners in cases other than cases under
                               this title.

  11 U.S.C. § 330(a)(3).

          57.      Here, PSZJ respectfully submits that the services for which it seeks compensation in

  this Application were, at the time rendered, believed to be necessary for, beneficial to, and in the

  best interests of, the Committee. The services rendered by PSZJ were consistently performed in a

  timely manner commensurate with the complexity, importance, and nature of the issues involved.

          58.      PSZJ has a reputation for its expertise and experience in financial and bankruptcy

  reorganizations and restructurings and as noted above, the compensation is reasonably based on

  customary compensation charged by other practitioners in non-bankruptcy cases. Based on an

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  application of the above factors and its compliance with the UST Guidelines, PSZJ respectfully

  submits that the compensation requested herein is reasonable in light of the nature, extent and value

  of such services to the Committee and, accordingly, that approval of the compensation sought herein

  is warranted.

          59.      Section 330 of the Bankruptcy Code authorizes the Court to award the Firm

  reasonable compensation for its actual and necessary legal services rendered and reimbursement of

  actual and necessary expenses incurred in the rendering of those legal services as counsel to the

  Committee in this case. Bankruptcy Code § 330(a)(1) provides as follows:

          (a)(1) After notice to the parties in interest and the United States Trustee and a hearing,
          and subject to sections 326, 328, and 329, the court may award to a trustee, a consumer
          privacy ombudsman appointed under section 332, an examiner, an ombudsman appointed
          under section 333, or a professional person employed under section 327 or 1103—

                  (A)   reasonable compensation for actual, necessary services rendered by the
          trustee, examiner, ombudsman, professional person, or attorney and by any
          paraprofessional person employed by any such person; and

                   (B)         reimbursement for actual, necessary expenses.

  11 U.S.C. § 330(a)(1).

          60.      This Application substantiates the total amount the Firm seeks for fees and expenses

  in accordance with this Court’s standards applied to fee applications. The factors that courts in this

  jurisdiction consider when making a discretionary award of reasonable attorneys’ fees and

  reimbursable expenses were originally described in Johnson v. Georgia Highway Express, Inc., 488

  F.2d 714, 717-19 (5th Cir. 1974) (the “Johnson Factors”). The Fifth Circuit has applied the Johnson

  Factors to the determination of awards of attorneys’ fees and expenses in bankruptcy cases. In re

  First Colonial Corp. of Am., 544 F.2d 1291 (5th Cir. 1977), cert. denied 431 U.S. 904 (1977). Many

  of these Johnson Factors have now been codified at Bankruptcy Code § 330(a)(3). 11 U.S.C.

  § 330(a)(3).



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             61.      The Johnson Factors are summarized as follows: (1) the time and labor required;

  (2) the novelty and difficulty of the questions presented; (3) the skill required to perform the legal

  services; (4) the preclusion of other employment by the attorneys due to acceptance of the

  bankruptcy case; (5) the customary fee; (6) whether the fee is fixed or contingent; (7) time

  limitations imposed by the client or circumstances; (8) the amounts involved and the results

  obtained; (9) the experience, reputation and ability of the attorneys; (10) the “undesirability” of the

  case; (11) the nature and length of the professional relationship with the client; and (12) awards in

  similar cases. Based upon the services described in this Application, the Firm respectfully represents

  that it has fully satisfied the standards prescribed by the Johnson Factors.

  The Time and Labor Required

             62.      Firm attorneys and paraprofessionals, in the performance of legal services, expended

  797.90 hours during the Application Period for a total fee of $538,445.00.3 Taking into account the

  Firms’ voluntary reductions, the blended hourly rate is therefore $674.82/hour. The names of the

  professionals who worked on this case during the Application Period appear in the Invoices and on

  the cover sheet attached to this Application. The Firm submits that the time and labor these

  professionals expended in the Bankruptcy Case are appropriate and reasonable and that this Johnson

  Factor supports the Firm’s requested award. Further, the amount of time multiplied by a reduced,

  and reasonable, fee suggests that the fee award is appropriate in this Circuit under the “lodestar”

  doctrine.




  3
      This takes into account the Firm’s voluntary reductions as noted above.


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  The Novelty and Difficulty of the Questions Presented

          63.      As explained above, this Bankruptcy Case presents many novel and difficult

  questions. Addressing these questions have necessitated considerable legal expertise. In light of

  these considerations and the Firm’s expertise in these matters, this Johnson Factor strongly favors

  awarding the Firm the fees and expenses it has requested.

  The Skill Required to Perform the Services

          64.      Representing the Committee in this Bankruptcy Case required considerable skill and

  expertise in bankruptcy issues. The Firm has considerable experience in complex bankruptcy

  matters. Further, the Firm has represented numerous creditors’ committees in cases with abuse

  claims, and has extensive experience in cases involving dioceses and archdioceses of the Catholic

  Church, and thus has a unique understanding of the structure and history of that institution and its

  sub-entities, and of the nature of its assets. The Firm employed attorneys and staff persons of

  varying levels of skill and expertise to efficiently resolve the issues in this case. The Firm strived to

  limit the number of attorneys who worked on this case and to use the most appropriate attorney or

  staff person for any given task. For this reason, the compensation the Firm is requesting for the

  services rendered by its attorneys and staff persons compares favorably to the compensation awarded

  in other bankruptcy cases of a similar size and complexity. This factor therefore supports the award

  the Firm has requested.

  Preclusion of Other Employment Due to Acceptance of the Case

          65.      The Firm has not declined any representation solely because it served as counsel for

  the Committee in this Bankruptcy Case.




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  The Customary Fee

          66.      The Firm computed the amount of compensation it seeks in this Application

  according to the rates the Firm previously disclosed in the Retention Application. The Firm also

  maintained detailed time and disbursement records for all legal services for which it seeks

  compensation. The rates charged for the Firm’s legal services in this case are comparable to other

  similar-situated firms. These rates also reflect substantial voluntary reductions of $450,137.50,

  which are a product of the voluntary reductions discussed above. Thus, the blended hourly rate on

  this matter of $674.82/hour is reasonable and reflects market rates for legal services in Chapter 11

  bankruptcy cases of this size and complexity. Similarly, the amounts sought for the reimbursement

  of expenses reflect the prevailing rates for expense reimbursement by law firms similar in size and

  reputation to the Firm.

  Whether the Fee is Fixed or Contingent

          67.      The Firm’s fees for services rendered in this Bankruptcy Case are based on its hourly

  rates (as capped pursuant to the Retention Order) and subject in all respects to this Court’s approval.

  The Firm has not requested any contingent fee in this Bankruptcy Case.

  Time Limitations Imposed by the Client or Other Circumstances

          68.      The Firm has had to respond to tight time-constraints arising in this Bankruptcy Case.

  Matters often arose throughout the Application Period that required the Firm’s immediate attention.

  Again, the exigent nature of these matters demanded that the Firm’s professionals respond on very

  short notice to complicated and developing events as they unfolded. This imposed serious time

  demands on the Firm’s personnel and required them to devote considerable legal resources to these

  matters. Taken together, these considerations suggest that this Johnson Factor supports the fee

  award requested.



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  The Amount Involved and the Results Obtained

          69.      The Invoices summarize the individual tasks that Firm personnel performed during

  the Application Period as well as the amounts charged for those tasks performed on behalf of the

  Committee. The total fees the Firm seeks to approve in this Application are $538,445.00. This

  figure is commensurate with the Firm’s achievements. This Johnson Factor supports the fee award

  requested.

  The Experience, Reputation, and Ability of the Attorneys

          70.      The Firm’s attorneys have significant experience in bankruptcy and other areas of the

  law, possess a high level of expertise, and have an excellent reputation in the business and legal

  communities. In particular, the Firm’s bankruptcy attorneys have appeared in bankruptcy cases

  throughout the United States and have provided services to secured creditors, unsecured creditors,

  creditors’ committees, and debtors-in-possession. The quality of the Firm’s services is consistently

  high. In addition, the Firm’s attorneys also speak and write on various legal topics throughout the

  country. As mentioned, the Firm has considerable expertise in cases, such as this one, involving

  numerous abuse claims and sub-entities of the Catholic Church. The substantial experience,

  reputation, and ability of the Firm’s attorneys working on this Bankruptcy Case favor granting the

  Firm the fee award it seeks.

  The “Undesirability” of the Bankruptcy Case

          71.      From the Firm’s perspective, serving as counsel to the Committee in this Bankruptcy

  Case was not undesirable. However, bankruptcy cases involved abuse claims and religious entities

  can involve intensive and hard-fought disputes, for example, regarding the claims process and the

  recovery and liquidation of assets. These concerns mean that any law firm deciding to represent the




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  Committee could face potential fee risk and other uncertainties. This factor therefore favors granting

  the Firm the award it has requested.

  The Nature and Length of the Professional Relationship with the Client

           72.     The Firm has no prior professional relationship with the Committee, which was only

  formed after this case began. However, members of the Firm have worked in similar matters,

  including coordinating issues with State Court counsel, thus making the representation of the

  Committee more efficient. For this reason, this Johnson Factor supports granting the Firm its fee

  award in this case.

  Awards in Similar Cases

           73.     The fee award the Firm seeks compares favorably to awards granted in other

  bankruptcy cases with a size and complexity similar to this case, including cases in the Fifth Circuit.

  In light of these considerations, this last Johnson Factor also supports granting the Firm its award.

           74.     In conclusion, the Johnson Factors favor granting the Firm the fee and expense award

  it seeks.

                                 XI.          RESERVATION OF RIGHTS

           75.     It is possible that some professional time expended or expenses incurred by PSZJ are

  not reflected in this Application. PSZJ reserves the right to file a supplemental fee application to

  submit additional fees and expenses not previously included in the Application, or to include such

  time and costs in a future fee application.

                                       XII.     NO PRIOR REQUEST

           76.     No prior application for the relief requested herein has been made to this or any other

  court.




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                                       XIII.     CONCLUSION

          WHEREFORE, PSZJ respectfully requests that this Court enter an order (i) awarding PSZJ

  an interim allowance of fees for the Application Period in the amount of $538,445.00; (ii) awarding

  PSZJ reimbursement for actual and necessary expenses incurred in the amount of $27,677.36;

  (iii) authorizing and directing the Debtor to pay such allowed fees and costs, less amounts previously

  submitted; and (iv) granting such other or additional relief as is just and proper.

   Dated: November 23, 2022                               Respectfully submitted,

                                                          By: /s/ Linda F. Cantor
                                                          James I. Stang (CA Bar No. 94435)
                                                          Linda F. Cantor (CA Bar No. 153762)
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                                                          Co-Counsel to the Official Committee of Unsecured
                                                          Creditors




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                                    EXHIBIT A

                               Monthly Fee Statement
                                    July 2022




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                          IN THE UNITED STATES BANKRUPTCY COURT
                               EASTERN DISTRICT OF LOUISIANA

      In re:                                                      Case No. 20-10846

      THE ROMAN CATHOLIC CHURCH                                   Section “A”
      OF THE ARCHDIOCESE OF NEW
      ORLEANS,                                                    Chapter 11
                         Debtor. 1
                                                                  Objection Deadline: September 5, 2022




                        MONTHLY FEE AND EXPENSE STATEMENT OF
                    PACHULSKI STANG ZIEHL & JONES LLP FOR THE PERIOD
                            JULY 1, 2022 THROUGH JULY 31, 2022

               1.    In accordance with Section XIII(B) of the Court’s December 4, 2019 General

  Order Regarding Procedures for Complex Chapter 11 Cases (the “Complex Case Order”),

  Pachulski Stang Ziehl & Jones LLP (“PSZJ”), co-counsel to The Official Committee of Unsecured

  Creditors (the “Committee”) in this Chapter 11 case concerning the above captioned debtor and

  debtor-in-possession (the “Debtor”) hereby submits its Monthly Fee and Expense Statement (the

  “Statement”) for the period from July 1, 2022 through July 31, 2022 (the “Statement Period”) for

  the above-styled Chapter 11 bankruptcy case (the “Bankruptcy Case”).

               ITEMIZATION OF SERVICES RENDERED AND EXPENSES INCURRED

               2.    A summary of the services rendered by PSZJ for which compensation is sought for

  the Statement Period, organized by project category, is attached hereto as Exhibit A.

               3.    A listing of PSZJ attorneys and paraprofessionals (collectively, the “Timekeepers”)

  who rendered service to the Debtor in connection with the Bankruptcy Case during the Statement




  1
    The last four digits of the Debtor’s federal tax identification number are 8966. The Debtor’s principal place of
  business is located at 7887 Walmsley Ave., New Orleans, LA 70125.



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  Period, including the hourly rate, title, and fees earned by each Timekeeper, is attached hereto as

  Exhibit B.

           4.       A summary of expenses incurred by PSZJ during the Statement Period for which

  reimbursement is sought is attached hereto as Exhibit C.

           5.       The detailed time records of PSZJ for the Statement Period are attached hereto as

  Exhibit D.

           6.       In addition, under separate cover, the detailed time records under Exhibit D are

  being sent to the Office of the United States Trustee in the LEDES format.

           7.       As of the date hereof, PSZJ has received fees and expenses totaling $2,516,932.65.

         TOTAL FEES AND EXPENSES SOUGHT FOR THE STATEMENT PERIOD

           8.       The total amounts sought for fees for professional services rendered and

  reimbursement of expenses incurred for the Statement Period are as follows:

                                           July 1, 2022 to July 31, 2022

                   Fees (at standard rates):                         $145,182.00

                   Reduction due to reduced rates2:                  ($57,202.00)

                   Fees (After reductions):                          $87,980.00

                   Expenses:                                         $18,673.68

                   Total                                           $106,653.68




  2
    As disclosed in the Firm’s employment application, the Firm is utilizing rates that are substantially reduced from
  standard rates so that attorney time is capped at a maximum rate of $700 per hour. The reduction set forth here
  accounts for the reduction from the following standard rates: B. Michael ($725); C. Mackle ($875); G. Brown ($925);
  R. Saunders ($1,025); J. Fried ($1,145); A. Caine ($1,295); I. Nasatir ($1,295); L. Cantor ($1,395); K. Brown ($1,395);
  and J. Stang ($1,525).


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                               NOTICE AND OBJECTION PROCEDURES

          9.       In accordance with the Interim Compensation Order, notice of the Statement has

  been served upon the following parties (“Notice Parties”) as required by the Complex Case Order:

  (i) counsel for the Debtor, Mark Mintz, Esq., Jones Walker LLP, 201 St. Charles Ave, New

  Orleans, LA 70170-5100; (ii) counsel for the prepetition secured lender, Hancock Whitney Bank,

  David F. Waguespack, Esq., Carver, Darden, Koretzky, Tessier, Finn, Blossman & Areaux,

  L.L.C., 1100 Poydras Street, Suite 3100, New Orleans, Louisiana 70163-1102; (iii) KS State Bank,

  1010 Westloop, P.O. Box 69, Manhattan KS 66505-0069; (iv) Dell Financial Svc LP, Mail Stop

  P82DF, 23 One Dell Way, Round Rock TX 78682; (v) David S. Rubin, Butler Snow LLP, 445

  North Boulevard, Suite 300, Baton Rouge, LA 70802; (vi) Colleen Murphy, Greenberg Traurig,

  One International Place, Suite 2000, Boston, MA 02110; (vii) Annette Jarvis, Greenberg Traurig,

  222 S. Main Street, Fifth Floor, Salt Lake City, UT 84101; and (viii) Amanda George, Esq., Office

  of The United States Trustee, 400 Poydras Street, Suite 2110, New Orleans, LA 70130; and (ix)

  Stewart Robbins Brown & Altazan, LLC, 301 Main Street, Suite 1640, P.O. Box 2348, Baton

  Rouge, LA 70821-2348.

          10.      Also pursuant to the Complex Case Order, any objections to this Statement must

  be asserted on or before September 5, 2022 (the “Objection Deadline”), setting forth the nature of

  the objection and the specific amount of fees or expenses at issue.

          11.      If no objections to the Statement are received on or before the Objection Deadline,

  the Debtor, pursuant to the Complex Case Order, is authorized to pay PSZJ on an interim basis the

  total amount of $89,057.68, which consists of (a) eighty percent (80%) of PSZJ’s total fees of

  $87,980.00 for the Statement Period in the amount of $70,384.00, plus (b) one hundred percent

  (100%) of total expenses incurred during the Statement Period of $18,673.68.



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          12.      To the extent an objection to the Statement is received on or before the Objection

  Deadline, the Debtor is to withhold payment of that portion of the Statement to which the objection

  is directed and will promptly pay the remainder of the fees and disbursements in the percentages

  set forth above. To the extent such objection is not resolved, it shall be preserved and scheduled

  for consideration at the next interim fee application hearing.

   Dated: August 22, 2022                               Respectfully submitted,

                                                        By: /s/ Linda F. Cantor
                                                        James I. Stang (CA Bar No. 94435)
                                                        Linda F. Cantor (CA Bar No.153762)
                                                        Pachulski Stang Ziehl & Jones LLP 10100
                                                        Santa Monica Blvd., Suite 1300
                                                        Los Angeles, CA 90067
                                                        Telephone: (310)-277-6910
                                                        Facsimile: (310)-201-0760
                                                        Email: jstang@pszjlaw.com
                                                                 lcantor@pszjlaw.com

                                                        Co-Counsel to the Official Committee of Unsecured
                                                        Creditors




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                                     EXHIBIT A




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                  SUMMARY OF COMPENSATION BY PROJECT CATEGORY
                          DURING COMPENSATION PERIOD
                         JULY 1, 2022 THROUGH JULY 31, 2022


    Task Code                         Description             Hours     Amount

         AP                             Appeals                 1.10     $746.00
        AA                          Asset Disposition           1.80    $1,260.00

         BL                       Bankruptcy Litigation        45.40   $31,780.00

        CA                        Case Administration           4.40    $2,168.00

        CO                 Claims Administration/Objections     3.70    $2,590.00
         FE                    Fee/Employment Application      37.80   $20,364.00

        GC                      General Creditors Comm.        11.20    $7,792.00

         IC                        Insurance Coverage          19.40   $13,580.00
         PD                    Plan & Disclosure Statement      6.80    $4,760.00
        UST                        UST Investigation            4.20    $2,940.00
                                                              135.80   $87,980.00




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                                     EXHIBIT B




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           COMPENSATION BY TIMEKEEPER DURING COMPENSATION PERIOD
                       JULY 1, 2022 THROUGH JULY 31, 2022


     ID                  Name            Title      Rate     Hours     Amount

     JIS            Stang, James I.     Partner    700.00     9.30    $6,510.00

    AWC           Caine, Andrew W.      Partner    700.00    53.20    $37,240.00

    LFC            Cantor, Linda F.     Partner    700.00     3.20    $2,240.00
   IAWN           Nasatir, Iain A.W.   Partner     700.00     6.50    $4,550.00
    JMF            Fried, Joshua M.     Partner    700.00     8.50    $5,950.00

    KHB          Brown, Kenneth H.      Partner    700.00     0.90     $630.00
    RMS          Saunders, Robert M.   Counsel     700.00    16.10    $11,270.00
    GNB           Brown, Gillian N.    Counsel     700.00     4.40    $3,080.00

    CHM             Mackle, Cia H.     Counsel     700.00     0.90     $630.00
    BMM         Michael, Brittany M.   Counsel     700.00     3.30    $2,310.00
    BDD             Dassa, Beth D.     Paralegal   460.00    26.10    $12,006.00

   MAM             Matteo, Mike A.     Paralegal   $360.00    3.40     1,564.00
                                                             135.80   $87,980.00




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                                     EXHIBIT C




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                                        EXPENSE SUMMARY
                                 DURING COMPENSATION PERIOD
                                JULY 1, 2022 THROUGH JULY 31, 2022


                                 Description               Amount

                      Auto Travel Expense                  $316.78
                      Working Meals                       $1,190.83
                      Conference Call                       $22.20
                      Hotel Expense                       $1,853.53
                      Lexis Nexis (Legal Research)         $615.09
                      Outside Services                    $2,189.00
                      Pacer-Court Research                    $7.00
                      Postage                              $467.35
                      Reproduction Expense               $10,029.20
                      Reproduction/Scan Copy                $68.70
                      Research                            $1,914.00
                                                         $18,673.68




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                                     EXHIBIT D




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                               Pachulski Stang Ziehl & Jones LLP
                                       10100 Santa Monica Blvd.
                                              13th Floor
                                        Los Angeles, CA 90067
                                                                  July 31, 2022
JIS                                                               Invoice 130569
                                                                  Client    05067
                                                                  Matter    00002
                                                                            JIS

RE: Committee Representation

 _______________________________________________________________________________________

         STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 07/31/2022
               FEES                                                $87,980.00
               EXPENSES                                            $18,673.68
               TOTAL CURRENT CHARGES                              $106,653.68

               BALANCE FORWARD                                    $464,278.99
               LAST PAYMENT                                        $71,466.10
               TOTAL BALANCE DUE                                  $499,466.57
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  Summary of Services by Professional
  ID        Name                        Title              Rate       Hours              Amount

 AWC        Caine, Andrew W.            Partner           700.00      53.20           $37,240.00

 BDD        Dassa, Beth D.              Paralegal         460.00      26.10           $12,006.00

 BMM        Michael, Brittany M.        Counsel           700.00       3.30            $2,310.00

 CHM        Mackle, Cia H.              Counsel           700.00       0.90             $630.00

 GNB        Brown, Gillian N.           Counsel           700.00       4.40            $3,080.00

 IAWN       Nasatir, Iain A. W.         Partner           700.00       6.50            $4,550.00

 JIS        Stang, James I.             Partner           700.00       9.30            $6,510.00

 JMF        Fried, Joshua M.            Partner           700.00       8.50            $5,950.00

 KHB        Brown, Kenneth H.           Partner           700.00       0.90             $630.00

 LFC        Cantor, Linda F.            Partner           700.00       3.20            $2,240.00

 MAM        Matteo, Mike A.             Paralegal         460.00       3.40            $1,564.00

 RMS        Saunders, Robert M.         Counsel           700.00      16.10           $11,270.00

                                                                    135.80            $87,980.00
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  Summary of Services by Task Code
  Task Code         Description                                 Hours                      Amount

 AD                 Asset Disposition [B130]                     1.80                     $1,260.00

 AP                 Appeals [B430]                               1.10                      $746.00

 BL                 Bankruptcy Litigation [L430]                45.40                    $31,780.00

 CA                 Case Administration [B110]                   4.40                     $2,168.00

 CO                 Claims Admin/Objections[B310]                3.70                     $2,590.00

 FE                 Fee/Employment Application                  37.80                    $20,364.00

 GC                 General Creditors Comm. [B150]              11.20                     $7,792.00

 IC                 Insurance Coverage                          19.40                    $13,580.00

 PD                 Plan & Disclosure Stmt. [B320]               6.80                     $4,760.00

 UST                UST Investigation                            4.20                     $2,940.00

                                                               135.80                    $87,980.00
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  Summary of Expenses
  Description                                                                         Amount
Auto Travel Expense [E109]                                                       $316.78
Working Meals [E111]                                                            $1,190.83
Conference Call [E105]                                                                $22.20
Hotel Expense [E110]                                                            $1,853.53
Lexis/Nexis- Legal Research [E                                                   $615.09
Outside Services                                                                $2,189.00
Pacer - Court Research                                                                 $7.00
Postage [E108]                                                                   $467.35
Reproduction Expense [E101]                                                    $10,029.20
Reproduction/ Scan Copy                                                               $68.70
Research [E106]                                                                 $1,914.00

                                                                               $18,673.68
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                                                                                       Hours            Rate     Amount

  Asset Disposition [B130]
 07/19/2022   AWC     AD        Read debtor motion to sell Howard property and          0.50         700.00       $350.00
                                emails with JW thereon.

 07/19/2022   JIS     AD        Review application for sale of real property and        0.90         700.00       $630.00
                                issues related to preservation of insurance claim.

 07/27/2022   AWC     AD        Emails with Locke and Committee regarding real          0.20         700.00       $140.00
                                estate issues.

 07/27/2022   JIS     AD        Review draft response to Draper regarding               0.20         700.00       $140.00
                                discovery.

                                                                                         1.80                    $1,260.00

  Appeals [B430]
 07/07/2022   JIS     AP        Review emails between PSZJ and Lock Lorde               0.30         700.00       $210.00
                                regarding status of appeal.

 07/14/2022   JIS     AP        Review ruling regarding interlocutory appeal.           0.30         700.00       $210.00

 07/19/2022   JMF     AP        Review district court decision re standing issues.      0.40         700.00       $280.00

 07/29/2022   MAM     AP        Locate and forward Memorandum in Support of             0.10         460.00        $46.00
                                Motion to Dismiss to Joshua M. Fried.

                                                                                         1.10                     $746.00

  Bankruptcy Litigation [L430]
 06/14/2022   CHM     BL        Review email from G. Brown, review Everlaw              0.30         700.00       $210.00
                                database and reply.

 06/16/2022   CHM     BL        Emails with G. Brown and A. Caine re Everlaw            0.60         700.00       $420.00
                                access and uploading of documents; review
                                documents re same.

 07/01/2022   AWC     BL        Emails and call with Locke regarding additional         1.70         700.00      $1,190.00
                                discovery issues and review underlying documents
                                (.50); review and revise BRG updated request list
                                and emails with BRG thereon (1.20).

 07/05/2022   AWC     BL        Read recently produced documents (1.90); research       3.90         700.00      $2,730.00
                                regarding legal issues and potential action (.60);
                                emails with BRG and Locke regarding additional
                                discovery requests and revise requests (.90); emails
                                with JW and team regarding removal of document
                                review limitation and newly produced documents
                                (.30); draft email to counsel (and mediator)
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                                                                                       Hours           Rate     Amount
                                regarding additional financial information requests
                                (.20).
 07/05/2022   GNB     BL        Review documents from Archdiocese in production         0.30        700.00       $210.00
                                set 54.

 07/06/2022   AWC     BL        Read recently produced documents (1.30); emails         1.70        700.00      $1,190.00
                                with Claro regarding status of analysis, additional
                                needed information (.20); emails with team
                                regarding document review (.20).

 07/06/2022   GNB     BL        Review documents from Archdiocese in production         0.90        700.00       $630.00
                                set 54.

 07/08/2022   AWC     BL        Read recently produced documents.                       2.10        700.00      $1,470.00

 07/11/2022   AWC     BL        Call with Locke regarding various case matters,         0.40        700.00       $280.00
                                discovery (.40); emails with BRG regarding
                                additional information requests (.20).

 07/11/2022   GNB     BL        Review documents produced by Debtor in                  1.80        700.00      $1,260.00
                                production set nos. 14 and 54.

 07/12/2022   AWC     BL        Emails with BRG regarding additional information        1.30        700.00       $910.00
                                regarding MORs (.40); research regarding potential
                                claims (.90).

 07/13/2022   AWC     BL        Emails with Locke and Claro regarding document          0.60        700.00       $420.00
                                review for Claro information (.20); emails with BRG
                                and JW post-petition financial information (.40).

 07/14/2022   AWC     BL        Emails with BRG, Locke and Draper regarding             3.30        700.00      $2,310.00
                                requested post-petition financial information (.90);
                                call with Claro regarding claims valuation,
                                information (.80); emails with Claro and team
                                regarding additional information (.50); document
                                search per Claro requests (.90).

 07/15/2022   AWC     BL        Read recently produced documents (3.30); emails         5.40        700.00      $3,780.00
                                with Claro and Locke regarding additional
                                information (.40); emails with Locke regarding
                                portfolios adversary, extension request, documents
                                (.30); call and emails with team regarding Claro
                                document requests/search, documents produced
                                (.60); emails with Locke regarding litigation search
                                for Claro (.20); emails with JW regarding additional
                                produced documents and skim production (.60).

 07/15/2022   KHB     BL        Emails with B. Knapp and A. Caine re document           0.30        700.00       $210.00
                                review and extension of time to respond to
                                complaint.

 07/18/2022   AWC     BL        Read recently produced documents (4.40); emails         5.10        700.00      $3,570.00
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                                                                                         Hours           Rate     Amount
                                with Locke and Draper regarding additional
                                information/documents from affiliates (.20); review
                                proposed motion to extend response date for
                                portfolio action and emails thereon (.20); read brief
                                in LA supreme court regarding statute issues (.50).
 07/19/2022   AWC     BL        Research regarding stay issues.                           0.60        700.00       $420.00

 07/20/2022   AWC     BL        Read recently produced documents (1.60); call and         2.40        700.00      $1,680.00
                                emails with JW regarding document production
                                status (.20); emails with Claro regarding additional
                                information/issues (.60).

 07/21/2022   AWC     BL        Read recently produced documents (2.10); review           2.90        700.00      $2,030.00
                                correspondence to prepare for and omnibus hearing,
                                including motion to compel documents (.60); read
                                Draper email regarding affiliate information
                                production and underlying exhibits, etc., and emails
                                with Locke and BRG thereon (.80).

 07/22/2022   AWC     BL        Emails with Locke, Claro regarding                        0.50        700.00       $350.00
                                issues/documents for Claro (.30); emails with team
                                regarding document gathering (.20).

 07/25/2022   AWC     BL        Read recently produced documents (2.60); emails           3.90        700.00      $2,730.00
                                with Locke regarding Committee
                                issues/approach/tasks (.30); emails and call with
                                team regarding Claro documents (.30); emails with
                                Claro regarding documents (.20); call with BRG and
                                Locke regarding affiliate documents (.50).

 07/25/2022   KHB     BL        Emails from D. Draper re response to document             0.40        700.00       $280.00
                                request (.2); emails with A. Caine and B. Knapp re
                                document review process (.2).

 07/26/2022   AWC     BL        Read recently produced documents (1.80); call with        2.90        700.00      $2,030.00
                                JW regarding various case issues (.50); emails with
                                JW and Locke regarding additional claims
                                information for Claro analysis (.20); emails with JW
                                regarding document questions (.20); read U.S.
                                Trustee motion for clarification to report to criminal
                                authorities (.20).

 07/27/2022   AWC     BL        Emails with BRG re additional information (.30);          0.50        700.00       $350.00
                                emails with Locke regarding affiliate document
                                response (.20).

 07/28/2022   KHB     BL        Emails with B. Knapp and A. Caine re discovery            0.20        700.00       $140.00
                                issues.

 07/29/2022   AWC     BL        Emails with Locke and client regarding tasks and          1.40        700.00       $980.00
                                review revised work plan (.30); review and revise
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                                                                                      Hours            Rate      Amount
                                draft response to Draper letter regarding affiliate
                                documents and emails with BRG thereon (.70);
                                emails with JW regarding production issues,
                                additional documents (.40).

                                                                                       45.40                    $31,780.00

  Case Administration [B110]
 07/12/2022   AWC     CA        Call with JW regarding various case matters (.30);     0.60         700.00        $420.00
                                emails with Locke regarding various case matters
                                (.30).

 07/18/2022   BDD     CA        Review docket and update critical dates memo re        0.90         460.00        $414.00
                                same (.50); emails G. Brown and M. Matteo re same
                                (.20); multiple emails B. Anavim and M. Kulick re
                                same (.20)

 07/18/2022   BDD     CA        Email A. Caine re omnibus hearing dates                0.10         460.00         $46.00

 07/18/2022   BDD     CA        Email G. Brown re critical dates                       0.10         460.00         $46.00

 07/19/2022   BDD     CA        Email M. Matteo re Donlin Recano website               0.10         460.00         $46.00

 07/20/2022   MAM     CA        Review docket and update critical dates                0.50         460.00        $230.00
                                memorandum.

 07/20/2022   BDD     CA        Email M. Matteo re critical dates memo                 0.10         460.00         $46.00

 07/21/2022   MAM     CA        Review Court calendar for Andrew W. Caine              0.20         460.00         $92.00
                                regarding October 17, 2022 omnibus hearing date.

 07/26/2022   MAM     CA        Review docket and update critical dates                0.30         460.00        $138.00
                                memorandum.

 07/26/2022   BDD     CA        Attend to calendaring matters                          0.10         460.00         $46.00

 07/27/2022   MAM     CA        Review docket and update critical dates                0.40         460.00        $184.00
                                memorandum.

 07/28/2022   MAM     CA        Review docket regarding critical dates                 0.20         460.00         $92.00
                                memorandum.

 07/29/2022   MAM     CA        Update and circulate critical dates memorandum.        0.80         460.00        $368.00

                                                                                        4.40                     $2,168.00

  Claims Admin/Objections[B310]
 07/06/2022   GNB     CO        Email with Katie McNally regarding upcoming            0.10         700.00         $70.00
                                document review on Everlaw; Email Iain A.W.
                                Nasatir regarding same; Email Cia H. Mackle
                                regarding same.
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 07/06/2022   GNB     CO        Email with PSZJ team and with Katie McNally               0.30         700.00       $210.00
                                regarding protective order coverage for The Claro
                                Group.

 07/11/2022   JIS     CO        Review of articles regarding D&O claims.                  1.20         700.00       $840.00

 07/14/2022   JIS     CO        Call with Claro regarding claims analysis.                0.80         700.00       $560.00

 07/15/2022   GNB     CO        Review emails from Katie McNally regarding Claro          0.10         700.00        $70.00
                                valuation of claims analysis.

 07/15/2022   GNB     CO        Telephone conference with Andrew W. Caine and             0.40         700.00       $280.00
                                Cia H. Mackle regarding Claro analysis (.3); Prepare
                                for same (.1).

 07/17/2022   GNB     CO        Email Andrew W. Caine and Cia H. Mackle                   0.10         700.00        $70.00
                                regarding data points for Claro analysis.

 07/19/2022   JIS     CO        Reviewed opposition to Louisiana Supreme Court            0.70         700.00       $490.00
                                writ.

                                                                                           3.70                    $2,590.00

  Fee/Employment Application
 07/06/2022   BDD     FE        Emails L. Cantor and K. McNnally re The Claro             0.10         460.00        $46.00
                                Group monthly fee statements

 07/11/2022   LFC     FE        Review fee statements, fee orders and status of           0.60         700.00       $420.00
                                professional fee payments by debtor (.4); draft
                                correspondence to counsel for Debtor regarding
                                outstanding fee matters (.2)

 07/12/2022   LFC     FE        Review retention agreement, supporting declarations       0.50         700.00       $350.00
                                and order regarding setting of professional fee rates,
                                subsequent docket filings (.3) and review and draft
                                emails regarding same (.2)

 07/12/2022   JMF     FE        Review and edit PSZJ June bill.                           1.50         700.00      $1,050.00

 07/19/2022   GNB     FE        Review email from Matthew Kreutzer regarding fee          0.10         700.00        $70.00
                                cap; Email Andrew W. Caine regarding same.

 07/19/2022   LFC     FE        Review Claro fee statement                                0.10         700.00        $70.00

 07/19/2022   JMF     FE        Review PSZJ June application (.9); internal               1.10         700.00       $770.00
                                correspondences re completion of committee
                                professional monthly application (.2).

 07/19/2022   BDD     FE        Prepare PSZJ June fee statement and emails L.             0.80         460.00       $368.00
                                Cantor, J. Fried, A. Caine, R. Rothman, and L.
                                Gardizabal re same
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 07/19/2022   BDD     FE        Review The Claro Group's June monthly fee                0.40        460.00      $184.00
                                statement and emails L. Cantor, J. Fried, G. Brown,
                                and K. McNally re same

 07/19/2022   BDD     FE        Prepare correspondence re PSZJ, BRG, Rock Creek,         0.60        460.00      $276.00
                                and The Claro Group's June fee statements

 07/19/2022   BDD     FE        Email V. Arias re payments received to date              0.10        460.00       $46.00

 07/19/2022   BDD     FE        Analysis of ledger re payments made vs. payments         0.30        460.00      $138.00
                                outstanding and email L. Cantor re same

 07/19/2022   BDD     FE        Email C. Curts re LEDES file (PSZJ June monthly          0.10        460.00       $46.00
                                fee statement)

 07/19/2022   BDD     FE        Emails L. Cantor and J. Fried re PSZJ, BRG, Rock         0.20        460.00       $92.00
                                Creek and The Claro Group's monthly fee
                                statements

 07/19/2022   BDD     FE        Email P. Shields & M. Haverkamp re BRG's June            0.10        460.00       $46.00
                                monthly fee statement

 07/19/2022   BDD     FE        Email J. Spencer & C. Peirce re Rock Creek's June        0.10        460.00       $46.00
                                monthly fee statement

 07/19/2022   BDD     FE        Email J. Fried re time billed for non-working travel     0.10        460.00       $46.00

 07/19/2022   BDD     FE        Call with R. Saunders re PSZJ June monthly fee           0.10        460.00       $46.00
                                statement

 07/20/2022   AWC     FE        Review bills and draft/revise 6th interim fee            0.90        700.00      $630.00
                                application descriptions.

 07/20/2022   LFC     FE        Review and send fee statements for Committee             0.30        700.00      $210.00
                                review and comments

 07/20/2022   LFC     FE        Review emails and draft correspondence for estate        0.30        700.00      $210.00
                                professionals regarding next interim fee applications

 07/20/2022   BDD     FE        Email P. Shields re BRG June fee statement               0.10        460.00       $46.00

 07/20/2022   BDD     FE        Email K. McNally re Claro Group June fee                 0.10        460.00       $46.00
                                statement

 07/20/2022   BDD     FE        Email C. Peirce re Rock Creek June fee statement         0.10        460.00       $46.00

 07/20/2022   BDD     FE        Email N. Brown re Rock Creek's June fee statement        0.10        460.00       $46.00

 07/20/2022   BDD     FE        Email N. Brown re The Claro Group's June fee             0.10        460.00       $46.00
                                statement

 07/20/2022   BDD     FE        Email L. Cantor re PSZJ, Rock Creek, and The             0.10        460.00       $46.00
                                Claro Group's June fee statement
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 07/20/2022   BDD     FE        Call with L. Cantor re interim fee applications         0.20        460.00        $92.00

 07/20/2022   BDD     FE        Email P. Shields and M. Haverkamp re payments to        0.10        460.00        $46.00
                                BRG

 07/20/2022   BDD     FE        Call with L. Cantor re outstanding fees due PSZJ        0.10        460.00        $46.00
                                and Rock Creek

 07/20/2022   BDD     FE        Email L. Cantor re BRG overpayment of fees              0.10        460.00        $46.00

 07/20/2022   BDD     FE        Emails L. Cantor re PSZJ 6th interim fee application    0.20        460.00        $92.00

 07/20/2022   BDD     FE        Email N. Brown re Rock Creek April fee statement        0.10        460.00        $46.00

 07/20/2022   BDD     FE        Review outstanding amounts due PSZJ and Rock            0.30        460.00       $138.00
                                Creek and email L. Cantor re same

 07/20/2022   BDD     FE        Email J. Fried re service of monthly fee statements     0.10        460.00        $46.00

 07/20/2022   BDD     FE        Emails P. Shields and M. Haverkamp re quarterly         0.20        460.00        $92.00
                                fee application due week of 7/25

 07/20/2022   BDD     FE        Emails C. Peirce and J. Spencer re Rock Creek           0.10        460.00        $46.00
                                interim fee application due week of 7/25

 07/20/2022   BDD     FE        Review PSZJ 5th interim fee application and email       0.10        460.00        $46.00
                                L. Cantor re same

 07/20/2022   BDD     FE        Email L. Cantor re submission of June monthlies in      0.10        460.00        $46.00
                                light of interim fee apps to be filed

 07/20/2022   BDD     FE        Emails K. McNally re The Claro Group's June             0.20        460.00        $92.00
                                monthly and quarterly fee applications

 07/20/2022   BDD     FE        Work on PSZJ 6th interim fee application and            3.10        460.00      $1,426.00
                                emails A. Caine, L. Cantor and J. Fried re same

 07/21/2022   JMF     FE        Review fee application description re preparation of    0.40        700.00       $280.00
                                quarterly application.

 07/21/2022   BDD     FE        Email K. McNally re The Claro Group's June              0.10        460.00        $46.00
                                monthly fee statement

 07/21/2022   BDD     FE        Emails I. Nasatir re PSZJ 6th quarterly fee             0.10        460.00        $46.00
                                application

 07/21/2022   BDD     FE        Emails J. Stang and A. Caine re summary update for      0.10        460.00        $46.00
                                PSZJ 6th interim fee application

 07/21/2022   BDD     FE        Email L. Cantor re PSZJ, Rock Creek & BRG's June        0.10        460.00        $46.00
                                monthly fee statements

 07/21/2022   BDD     FE        Work on PSZJ 6th quarterly fee application and          6.20        460.00      $2,852.00
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                                                                                        Hours           Rate     Amount
                                email L. Cantor and J. Fried re same
 07/22/2022   LFC     FE        Review draft fee summary and correspond with             0.30        700.00       $210.00
                                debtor's counsel regarding same

 07/22/2022   LFC     FE        Review emails and draft several email                    0.50        700.00       $350.00
                                correspondences to estate professionals regarding
                                monthly fee review by new committee

 07/22/2022   LFC     FE        Review PSZJ draft quarterly fee application and          0.30        700.00       $210.00
                                time entries

 07/22/2022   JMF     FE        Draft 6th fee application.                               3.20        700.00      $2,240.00

 07/22/2022   BDD     FE        Email L. Cantor re The Claro Group's 1st quarterly       0.10        460.00        $46.00
                                fee application

 07/22/2022   BDD     FE        Email K. McNally re changes to The Claro Group's         0.10        460.00        $46.00
                                June monthly fee statement

 07/22/2022   BDD     FE        Email C. Peirce re Rock Creek 2nd quarterly fee          0.10        460.00        $46.00
                                application

 07/22/2022   BDD     FE        Emails J. Fried re PSZJ 6th quarterly fee application    0.10        460.00        $46.00

 07/25/2022   LFC     FE        Review fee summary and email correspondence with         0.30        700.00       $210.00
                                Committee member and counsel regarding payment
                                issues

 07/25/2022   JMF     FE        Review Rock Creek fee statements.                        0.40        700.00       $280.00

 07/25/2022   JMF     FE        Review fee application notices re 8/18 hearing.          0.30        700.00       $210.00

 07/25/2022   BDD     FE        Email K. McNally re The Claro Group's updated            0.10        460.00        $46.00
                                June invoice and LEDES file

 07/25/2022   BDD     FE        Email L. Cantor re PSZJ, Rock Creek, and The             0.10        460.00        $46.00
                                Claro Group's June fee statements

 07/25/2022   BDD     FE        Email N. Brown re PSZJ 6th quarterly fee                 0.10        460.00        $46.00
                                application

 07/25/2022   BDD     FE        Email P. Shields re BRG's June monthly fee               0.10        460.00        $46.00
                                statement

 07/25/2022   BDD     FE        Email K. McNally re The Claro Group's 1st                0.10        460.00        $46.00
                                quarterly fee application

 07/25/2022   BDD     FE        Call with/emails to C. Peirce re Rock Creek's 2nd        0.20        460.00        $92.00
                                quarterly fee application

 07/25/2022   BDD     FE        Review and revise Rock Creek's 2nd quarterly fee         1.50        460.00       $690.00
                                application
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 07/25/2022   BDD     FE        Revisions to PSZJ 6th quarterly fee application and    1.50        460.00      $690.00
                                work on exhibits re same (1.3); emails N. Brown re
                                same (.20)

 07/25/2022   BDD     FE        Email L. Cantor re invoices for Committee going        0.10        460.00       $46.00
                                forward

 07/25/2022   BDD     FE        Prepare Notices of Hearing (4) re PSZJ, BRG, Rock      0.90        460.00      $414.00
                                Creek & The Claro Groups interim fee applications
                                (.80); email J. Fried re same (.10)

 07/25/2022   BDD     FE        Emails N. Brown re PSZJ, Rock Creek, and The           0.40        460.00      $184.00
                                Claro Group's June fee statements (.30); review
                                exhibits re same (.10)

 07/25/2022   BDD     FE        Email L. Cantor & J. Fried re Committee                0.10        460.00       $46.00
                                professionals' interim fee applications

 07/26/2022   JMF     FE        Review Claro fee application and changes re same.      0.40        700.00      $280.00

 07/26/2022   BDD     FE        Review and revise The Claro Group's 1st Interim        1.10        460.00      $506.00
                                Fee Application and email K. McNally re same

 07/26/2022   BDD     FE        Multiple calls with/emails to N. Brown re              0.70        460.00      $322.00
                                filing/serving of 4 monthly fee statements and 3
                                interim fee applications

 07/26/2022   BDD     FE        Emails P. Shields & M. Haverkamp re BRG June fee       0.30        460.00      $138.00
                                statement, 4th interim fee application and LEDES
                                files.

 07/26/2022   BDD     FE        Emails M. Matteo re BRG 4th interim fee                0.10        460.00       $46.00
                                application

 07/26/2022   BDD     FE        Review PSZJ finalized 6th interim fee application      0.30        460.00      $138.00
                                and emails N. Brown re same

 07/26/2022   BDD     FE        Review finalized 2nd interim fee application for       0.30        460.00      $138.00
                                Rock Creek and email N. Brown re same

 07/26/2022   BDD     FE        Revisions to Notices of Hearing re interim fee         0.20        460.00       $92.00
                                applications (PSZJ, The Claro Group, BRG, and
                                Rock Creek)

 07/26/2022   BDD     FE        Email M. Matteo re Notice of Fee Hearing re BRG        0.10        460.00       $46.00

 07/26/2022   BDD     FE        Email N. Brown re service of interim fee               0.10        460.00       $46.00
                                applications

 07/26/2022   BDD     FE        Email M. Haverkamp re LEDES file (June fee             0.10        460.00       $46.00
                                statement)

 07/26/2022   BDD     FE        Email N. Brown re BRG cover letter for June fee        0.10        460.00       $46.00
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                                                                                      Hours            Rate      Amount
                                statement
 07/26/2022   BDD     FE        Email N. Brown re update to filing of interim fee      0.10         460.00         $46.00
                                applications

 07/26/2022   BDD     FE        Email notice parties re PSZJ, Rock Creek, BRG, and     0.10         460.00         $46.00
                                The Claro Group June fee statements

 07/27/2022   JMF     FE        Review rock creek, PSZJ and BRG applications.          0.40         700.00        $280.00

 07/28/2022   MAM     FE        Revise and forward notice of Fourth application for    0.20         460.00         $92.00
                                fees by BRG to Nancy Brown.

 07/28/2022   MAM     FE        Email to Meagan Haverkamp regarding status of          0.10         460.00         $46.00
                                BRG Fourth Fee Application.

 07/28/2022   MAM     FE        Telephone call with Nancy Brown regarding status       0.20         460.00         $92.00
                                of BRG Fourth Fee Application.

 07/28/2022   MAM     FE        Review BRG Fourth Fee Application.                     0.40         460.00        $184.00

 07/28/2022   JMF     FE        Review BRG quarterly fee app.                          0.40         700.00        $280.00

 07/29/2022   GNB     FE        Review email from Chris Peirce regarding Debtors       0.10         700.00         $70.00
                                non-payment of fee applications; Office conference
                                with Beth D. Dassa regarding same; e-mail Linda F.
                                Cantor and Andrew W. Caine reacting same.

 07/29/2022   BDD     FE        Conference with G. Brown re Rock Creek payment.        0.10         460.00         $46.00

                                                                                       37.80                    $20,364.00

  General Creditors Comm. [B150]
 07/05/2022   AWC     GC        Committee meeting (1.20); call with Locke and          2.30         700.00       $1,610.00
                                James I. Stang regarding case/committee issues
                                (.90); emails with team regarding Everlaw approach
                                for new committee members (.20).

 07/05/2022   GNB     GC        Email with Andrew W. Caine and Cia H. Mackle           0.10         700.00         $70.00
                                regarding Everlaw for new Committee members;
                                Run Everlaw search for Andrew W. Caine.

 07/05/2022   IAWN GC           Telephone conference with UCC regarding                1.20         700.00        $840.00
                                mediation and status

 07/07/2022   AWC     GC        Call with state court counsel regarding committee      1.40         700.00        $980.00
                                issues.

 07/07/2022   JIS     GC        Call with Andrews and Thornton regarding case          1.40         700.00        $980.00
                                issues.

 07/07/2022   JIS     GC        Call A. Caine and B. Knapp regarding follow up to      0.20         700.00        $140.00
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                                call with A&T.
 07/12/2022   JIS     GC        Call with Debtor counsel re case status.             0.20         700.00       $140.00

 07/14/2022   AWC     GC        Emails with counsel, Locke and team regarding        0.20         700.00       $140.00
                                Committee meeting, document training.

 07/15/2022   JIS     GC        Call with state court counsel regarding case         0.80         700.00       $560.00
                                developments and claims analysis.

 07/18/2022   GNB     GC        Email with James I. Stang and Andrew W. Caine        0.10         700.00        $70.00
                                regarding inquiry from state court counsel.

 07/19/2022   AWC     GC        Committee meeting.                                   0.80         700.00       $560.00

 07/20/2022   JIS     GC        Call with Locke Lord on next steps in chapter 11     2.30         700.00      $1,610.00
                                case.

 07/22/2022   BDD     GC        Email L. Cantor re reconstituted Committee           0.10         460.00        $46.00

 07/22/2022   BDD     GC        Email K. McNally re new Committee members            0.10         460.00        $46.00

                                                                                     11.20                    $7,792.00

  Insurance Coverage
 07/01/2022   RMS     IC        Work on insurance research project                   0.80         700.00       $560.00

 07/04/2022   RMS     IC        Work on insurance research project                   1.70         700.00      $1,190.00

 07/05/2022   IAWN IC           Review Michaelson response to insurance inquiries    0.40         700.00       $280.00
                                and review exhibits and releases

 07/05/2022   RMS     IC        Work on insurance research project (drafting         4.20         700.00      $2,940.00
                                memorandum)

 07/06/2022   IAWN IC           Review Robert Saunders memorandum regarding E        1.40         700.00       $980.00
                                &L

 07/06/2022   IAWN IC           Respond regarding Robert Saunders memorandum         0.10         700.00        $70.00
                                regarding E & L

 07/06/2022   RMS     IC        Work on insurance research project (finalizing       0.80         700.00       $560.00
                                memorandum)

 07/07/2022   RMS     IC        Work on insurance research project (supplemental)    1.90         700.00      $1,330.00

 07/08/2022   IAWN IC           Review Robert Saunders email and memorandum          1.00         700.00       $700.00

 07/08/2022   IAWN IC           Exchange emails with Robert Saunders regarding       0.10         700.00        $70.00
                                memorandum

 07/08/2022   RMS     IC        Work on insurance research project                   1.20         700.00       $840.00
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 07/11/2022   RMS     IC        Work on insurance research project                       0.30         700.00        $210.00

 07/12/2022   RMS     IC        Work on insurance research project                       0.90         700.00        $630.00

 07/13/2022   RMS     IC        Work on insurance research project                       2.20         700.00       $1,540.00

 07/18/2022   RMS     IC        Work on insurance research project                       0.90         700.00        $630.00

 07/19/2022   IAWN IC           Review Robert Saunders email update                      0.20         700.00        $140.00

 07/19/2022   IAWN IC           Exchange emails with Robert Saunders regarding           0.10         700.00         $70.00
                                update

 07/19/2022   RMS     IC        Work on insurance research project                       1.20         700.00        $840.00

                                                                                         19.40                    $13,580.00

  Plan & Disclosure Stmt. [B320]
 06/28/2022   BMM     PD        Revise draft Committee plan.                             0.70         700.00        $490.00

 07/05/2022   BMM     PD        Revise draft Committee plan.                             1.60         700.00       $1,120.00

 07/10/2022   BMM     PD        Draft Committee plan.                                    1.00         700.00        $700.00

 07/20/2022   AWC     PD        Call with James I. Stang and Locke regarding case        1.50         700.00       $1,050.00
                                issues/strategy/steps.

 07/20/2022   IAWN PD           Telephone conference with Locke Lord regarding           2.00         700.00       $1,400.00
                                issues in case

                                                                                          6.80                     $4,760.00

  UST Investigation
 07/07/2022   AWC     UST       Call with JW and emails with Locke and.James I.          1.80         700.00       $1,260.00
                                Stang regarding appeal issues (.50); read exhibits to
                                U.S. Trustee depositions and review certain
                                transcripts (1.30).

 07/12/2022   AWC     UST       Read CCC and Debtor oppositions to Committee             1.20         700.00        $840.00
                                motion for leave to appeal (.70); call with Locke
                                regarding appeal strategy (.50).

 07/13/2022   AWC     UST       Emails with Locke regarding U.S. Trustee motion          0.40         700.00        $280.00
                                regarding documents, etc.

 07/14/2022   AWC     UST       Rad order denying Committee motion to appeal and         0.30         700.00        $210.00
                                emails with Locke thereon.

 07/20/2022   AWC     UST       Read ANO motions to dismiss appeals.                     0.50         700.00        $350.00

                                                                                          4.20                     $2,940.00
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  TOTAL SERVICES FOR THIS MATTER:                                                     $87,980.00
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 Expenses
 06/05/2022   BM        Business Meal [E111] New Orleans Restaurant, working        722.79
                        meal, AWC
 06/05/2022   HT        Hotel Expense [E110] Intercontinental New Orleans, 3        949.30
                        nights, AWC
 06/07/2022   BM        Business Meal [E111] Trenasse, Working Meal, JIS             28.50
 06/08/2022   BM        Business Meal [E111] Clancy's Restaurant, Working Meal,     416.51
                        JIS
 06/09/2022   BM        Business Meal [E111] MSY Airport Foodcourt, Working          23.03
                        Meal, JIS
 06/09/2022   HT        Hotel Expense [E110] Intercontinental Hotel,                904.23
                        06/05/22-06/08/22, 3 nights, JIS
 06/15/2022   AT        Auto Travel Expense [E109] KLS Transportation Services,     316.78
                        Res#231007, JIS
 06/20/2022   CC        Conference Call [E105] AT&T Conference Call, AWC              4.21
 06/21/2022   CC        Conference Call [E105] AT&T Conference Call, AWC             17.99
 06/30/2022   RS        Research [E106] Everlaw, Inv. 60111                       1,914.00
 07/04/2022   LN        05067.00002 Lexis Charges for 07-04-22                       22.36
 07/04/2022   LN        05067.00002 Lexis Charges for 07-04-22                       23.95
 07/04/2022   LN        05067.00002 Lexis Charges for 07-04-22                       65.86
 07/05/2022   LN        05067.00002 Lexis Charges for 07-05-22                       11.18
 07/05/2022   LN        05067.00002 Lexis Charges for 07-05-22                       11.30
 07/05/2022   LN        05067.00002 Lexis Charges for 07-05-22                        5.99
 07/05/2022   LN        05067.00002 Lexis Charges for 07-05-22                       11.97
 07/07/2022   LN        05067.00002 Lexis Charges for 07-07-22                       33.56
 07/07/2022   LN        05067.00002 Lexis Charges for 07-07-22                       35.92
 07/08/2022   LN        05067.00002 Lexis Charges for 07-08-22                       55.93
 07/11/2022   LN        05067.00002 Lexis Charges for 07-11-22                       22.36
 07/12/2022   LN        05067.00002 Lexis Charges for 07-12-22                       22.36
 07/12/2022   LN        05067.00002 Lexis Charges for 07-12-22                       11.97
 07/12/2022   LN        05067.00002 Lexis Charges for 07-12-22                       77.86
 07/12/2022   RE2       SCAN/COPY ( 44 @0.10 PER PG)                                  4.40
 07/12/2022   RE2       SCAN/COPY ( 25 @0.10 PER PG)                                  2.50
 07/13/2022   LN        05067.00002 Lexis Charges for 07-13-22                       78.32
 07/13/2022   LN        05067.00002 Lexis Charges for 07-13-22                       33.90
 07/13/2022   LN        05067.00002 Lexis Charges for 07-13-22                        5.99
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 07/13/2022   LN        05067.00002 Lexis Charges for 07-13-22           5.99
 07/15/2022   OS        Rust Consulting, Inv. 2022-843, LFC            275.00
 07/19/2022   LN        05067.00002 Lexis Charges for 07-19-22          78.32
 07/22/2022   RE2       SCAN/COPY ( 1 @0.10 PER PG)                      0.10
 07/26/2022   PO        Postage                                         10.15
 07/26/2022   RE        ( 16 @0.20 PER PG)                               3.20
 07/26/2022   RE        ( 4142 @0.20 PER PG)                           828.40
 07/26/2022   RE        ( 44 @0.20 PER PG)                               8.80
 07/26/2022   RE        ( 1542 @0.20 PER PG)                           308.40
 07/26/2022   RE        ( 9 @0.20 PER PG)                                1.80
 07/26/2022   RE        ( 4394 @0.20 PER PG)                           878.80
 07/26/2022   RE2       SCAN/COPY ( 36 @0.10 PER PG)                     3.60
 07/26/2022   RE2       SCAN/COPY ( 7 @0.10 PER PG)                      0.70
 07/26/2022   RE2       SCAN/COPY ( 3 @0.10 PER PG)                      0.30
 07/26/2022   RE2       SCAN/COPY ( 10 @0.10 PER PG)                     1.00
 07/26/2022   RE2       SCAN/COPY ( 31 @0.10 PER PG)                     3.10
 07/26/2022   RE2       SCAN/COPY ( 172 @0.10 PER PG)                   17.20
 07/26/2022   RE2       SCAN/COPY ( 5 @0.10 PER PG)                      0.50
 07/26/2022   RE2       SCAN/COPY ( 13 @0.10 PER PG)                     1.30
 07/26/2022   RE2       SCAN/COPY ( 21 @0.10 PER PG)                     2.10
 07/26/2022   RE2       SCAN/COPY ( 1 @0.10 PER PG)                      0.10
 07/26/2022   RE2       SCAN/COPY ( 3 @0.10 PER PG)                      0.30
 07/26/2022   RE2       SCAN/COPY ( 59 @0.10 PER PG)                     5.90
 07/26/2022   RE2       SCAN/COPY ( 3 @0.10 PER PG)                      0.30
 07/27/2022   RE        ( 4064 @0.20 PER PG)                           812.80
 07/27/2022   RE        ( 8600 @0.20 PER PG)                          1,720.00
 07/27/2022   RE        ( 3300 @0.20 PER PG)                           660.00
 07/27/2022   RE        ( 7912 @0.20 PER PG)                          1,582.40
 07/27/2022   RE        ( 6 @0.20 PER PG)                                1.20
 07/27/2022   RE        ( 1524 @0.20 PER PG)                           304.80
 07/28/2022   PO        Postage                                        457.20
 07/28/2022   RE        ( 5700 @0.20 PER PG)                          1,140.00
 07/28/2022   RE        ( 8893 @0.20 PER PG)                          1,778.60
 07/28/2022   RE2       SCAN/COPY ( 5 @0.10 PER PG)                      0.50
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 07/28/2022   RE2       SCAN/COPY ( 114 @0.10 PER PG)                                   11.40
 07/28/2022   RE2       SCAN/COPY ( 116 @0.10 PER PG)                                   11.60
 07/28/2022   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                      0.30
 07/29/2022   RE2       SCAN/COPY ( 15 @0.10 PER PG)                                     1.50
 07/31/2022   OS        Everlaw, Inv. 61837, in the Archdiocese of New Orleans       1,914.00
                        database for the month of July
 07/31/2022   PAC       Pacer - Court Research                                           7.00

   Total Expenses for this Matter                                                $18,673.68
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                                                REMITTANCE ADVICE

                                    Please include this Remittance with your payment

For current services rendered through:        07/31/2022

Total Fees                                                                                            $87,980.00

Total Expenses                                                                                             18,673.68

Total Due on Current Invoice                                                                         $106,653.68

  Outstanding Balance from prior invoices as of        07/31/2022          (May not include recent payments)

A/R Bill Number          Invoice Date                Fees Billed        Expenses Billed             Balance Due
 129869                  03/31/2022                $166,453.50            $8,424.26                   $33,290.70

 130129                  04/30/2022                 $86,910.00            $1,938.10                   $17,382.00

 130228                  05/31/2022                $154,837.00            $5,197.02                  $160,034.02

 130360                  06/30/2022                $181,667.00             $439.17                   $182,106.17

             Total Amount Due on Current and Prior Invoices:                                         $499,466.57
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                                    EXHIBIT B

                               Monthly Fee Statement
                                   August 2022




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                          IN THE UNITED STATES BANKRUPTCY COURT
                               EASTERN DISTRICT OF LOUISIANA

      In re:                                                      Case No. 20-10846

      THE ROMAN CATHOLIC CHURCH                                   Section “A”
      OF THE ARCHDIOCESE OF NEW
      ORLEANS,                                                    Chapter 11
                         Debtor. 1
                                                                  Objection Deadline: October 13, 2022




                        MONTHLY FEE AND EXPENSE STATEMENT OF
                    PACHULSKI STANG ZIEHL & JONES LLP FOR THE PERIOD
                         AUGUST 1, 2022 THROUGH AUGUST 31, 2022

               1.    In accordance with Section XIII(B) of the Court’s December 4, 2019 General

  Order Regarding Procedures for Complex Chapter 11 Cases (the “Complex Case Order”),

  Pachulski Stang Ziehl & Jones LLP (“PSZJ”), co-counsel to The Official Committee of Unsecured

  Creditors (the “Committee”) in this Chapter 11 case concerning the above captioned debtor and

  debtor-in-possession (the “Debtor”) hereby submits its Monthly Fee and Expense Statement (the

  “Statement”) for the period from August 1, 2022 through August 31, 2022 (the “Statement

  Period”) for the above-styled Chapter 11 bankruptcy case (the “Bankruptcy Case”).

               ITEMIZATION OF SERVICES RENDERED AND EXPENSES INCURRED

               2.    A summary of the services rendered by PSZJ for which compensation is sought for

  the Statement Period, organized by project category, is attached hereto as Exhibit A.

               3.    A listing of PSZJ attorneys and paraprofessionals (collectively, the “Timekeepers”)

  who rendered service to the Debtor in connection with the Bankruptcy Case during the Statement




  1
    The last four digits of the Debtor’s federal tax identification number are 8966. The Debtor’s principal place of
  business is located at 7887 Walmsley Ave., New Orleans, LA 70125.



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  Period, including the hourly rate, title, and fees earned by each Timekeeper, is attached hereto as

  Exhibit B.

          4.       A summary of expenses incurred by PSZJ during the Statement Period for which

  reimbursement is sought is attached hereto as Exhibit C.

          5.       The detailed time records of PSZJ for the Statement Period are attached hereto as

  Exhibit D.

          6.       In addition, under separate cover, the detailed time records under Exhibit D are

  being sent to the Office of the United States Trustee in the LEDES format.

          7.       As of the date hereof, PSZJ has received fees and expenses totaling $2,645,999.27.

         TOTAL FEES AND EXPENSES SOUGHT FOR THE STATEMENT PERIOD

          8.       The total amounts sought for fees for professional services rendered and

  reimbursement of expenses incurred for the Statement Period are as follows:

                                      August 1, 2022 to August 31, 2022

                   Fees (at standard rates):                      $213,485.00

                   Reduction due to reduced rates2:               ($95,985.00)

                   Reduction due to fee write-offs:                 ($4,410.00)

                   Fees (After reductions):                      $113,090.00

                   Expenses:                                        $3,407.82

                   Total                                         $116,497.82




  2
    As disclosed in the Firm’s employment application, the Firm is utilizing rates that are substantially reduced from
  standard rates so that attorney time is capped at a maximum rate of $700 per hour. The reduction set forth here
  accounts for the reduction from the following standard rates: C. Mackle ($875); G. Brown ($925); G. Greenwood
  ($1,045); J. Fried ($1,145); A. Caine ($1,295); I. Nasatir ($1,295); L. Cantor ($1,395); K. Brown ($1,395); and J.
  Stang ($1,525).


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                               NOTICE AND OBJECTION PROCEDURES

          9.       In accordance with the Interim Compensation Order, notice of the Statement has

  been served upon the following parties (“Notice Parties”) as required by the Complex Case Order:

  (i) counsel for the Debtor, Mark Mintz, Esq., Jones Walker LLP, 201 St. Charles Ave, New

  Orleans, LA 70170-5100; (ii) counsel for the prepetition secured lender, Hancock Whitney Bank,

  David F. Waguespack, Esq., Carver, Darden, Koretzky, Tessier, Finn, Blossman & Areaux,

  L.L.C., 1100 Poydras Street, Suite 3100, New Orleans, Louisiana 70163-1102; (iii) KS State Bank,

  1010 Westloop, P.O. Box 69, Manhattan KS 66505-0069; (iv) Dell Financial Svc LP, Mail Stop

  P82DF, 23 One Dell Way, Round Rock TX 78682; (v) David S. Rubin, Butler Snow LLP,

  445 North Boulevard, Suite 300, Baton Rouge, LA 70802; (vi) Colleen Murphy, Greenberg

  Traurig, One International Place, Suite 2000, Boston, MA 02110; (vii) Annette Jarvis, Greenberg

  Traurig, 222 S. Main Street, Fifth Floor, Salt Lake City, UT 84101; and (viii) Amanda George,

  Esq., Office of The United States Trustee, 400 Poydras Street, Suite 2110, New Orleans, LA

  70130; and (ix) Stewart Robbins Brown & Altazan, LLC, 301 Main Street, Suite 1640, P.O. Box

  2348, Baton Rouge, LA 70821-2348.

          10.      Also pursuant to the Complex Case Order, any objections to this Statement must

  be asserted on or before October 13, 2022 (the “Objection Deadline”), setting forth the nature of

  the objection and the specific amount of fees or expenses at issue.

          11.      If no objections to the Statement are received on or before the Objection Deadline,

  the Debtor, pursuant to the Complex Case Order, is authorized to pay PSZJ on an interim basis the

  total amount of $93,879.82, which consists of (a) eighty percent (80%) of PSZJ’s total fees of

  $113,090.00 for the Statement Period in the amount of $90,472.00, plus (b) one hundred percent

  (100%) of total expenses incurred during the Statement Period of $3,407.82.



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          12.      To the extent an objection to the Statement is received on or before the Objection

  Deadline, the Debtor is to withhold payment of that portion of the Statement to which the objection

  is directed and will promptly pay the remainder of the fees and disbursements in the percentages

  set forth above. To the extent such objection is not resolved, it shall be preserved and scheduled

  for consideration at the next interim fee application hearing.

   Dated: September 29, 2022                            Respectfully submitted,

                                                        By: /s/ Linda F. Cantor
                                                        James I. Stang (CA Bar No. 94435)
                                                        Linda F. Cantor (CA Bar No.153762)
                                                        Pachulski Stang Ziehl & Jones LLP 10100
                                                        Santa Monica Blvd., Suite 1300
                                                        Los Angeles, CA 90067
                                                        Telephone: (310)-277-6910
                                                        Facsimile: (310)-201-0760
                                                        Email: jstang@pszjlaw.com
                                                                 lcantor@pszjlaw.com

                                                        Co-Counsel to the Official Committee of Unsecured
                                                        Creditors




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                                     EXHIBIT A




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                  SUMMARY OF COMPENSATION BY PROJECT CATEGORY
                          DURING COMPENSATION PERIOD
                      AUGUST 1, 2022 THROUGH AUGUST 31, 2022


    Task Code                         Description             Hours      Amount

        AA                          Asset Disposition           6.70     $4,615.00

         BL                       Bankruptcy Litigation        98.70    $69,090.00

        CA                        Case Administration           6.20     $2,924.00

        CO                 Claims Administration/Objections     5.00     $3,500.00
         FE                    Fee/Employment Application      15.60     $8,976.00

        GC                      General Creditors Comm.        15.30    $10,335.00

        ME                             Mediation                2.80     $1,960.00
         PD                    Plan & Disclosure Statement     13.80     $9,660.00
        UST                        UST Investigation            2.90     $2,030.00
                                                              167.00   $113,090.00




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                                     EXHIBIT B




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           COMPENSATION BY TIMEKEEPER DURING COMPENSATION PERIOD
                    AUGUST 1, 2022 THROUGH AUGUST 31, 2022


     ID                  Name              Title       Rate     Hours     Amount

     JIS            Stang, James I.       Partner     700.00    27.50    $19,250.00

    AWC           Caine, Andrew W.        Partner     700.00    72.00    $50,400.00

    LFC            Cantor, Linda F.       Partner     700.00    20.40    $14,280.00
   IAWN           Nasatir, Iain A.W.      Partner     700.00     8.80     $6,160.00
    JMF            Fried, Joshua M.       Partner     700.00     3.30     $2,310.00

    KHB          Brown, Kenneth H.        Partner     700.00    11.00     $7,700.00
    GSG          Greenwood, Gail S.      Counsel      700.00     0.70     $490.00
    GNB           Brown, Gillian N.      Counsel      700.00     0.30     $210.00

    CHM             Mackle, Cia H.       Counsel      700.00     7.20     $5,040.00
    BDD             Dassa, Beth D.       Paralegal    460.00     8.00     $3,680.00

    LAF          Forrester, Leslie A.   Law Library   450.00     1.80     $810.00
                                          Director
   MAM             Matteo, Mike A.       Paralegal    $460.00    6.00     $2,760.00
                                                                167.00   $113,090.00




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                                     EXHIBIT C




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                                         EXPENSE SUMMARY
                                  DURING COMPENSATION PERIOD
                               AUGUST 1, 2022 THROUGH AUGUST 31, 2022


                                   Description              Amount

                      Bloomberg                              $51.78
                      Conference Call                         $2.52
                      Lexis Nexis (Legal Research)          $247.23
                      Outside Services                     $2,508.00
                      Pacer-Court Research                   $16.30
                      Postage                               $209.49
                      Reproduction Expense                  $359.80
                      Reproduction/Scan Copy                 $12.70
                                                           $3,407.82




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                                     EXHIBIT D




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                               Pachulski Stang Ziehl & Jones LLP
                                       10100 Santa Monica Blvd.
                                              13th Floor
                                        Los Angeles, CA 90067
                                                                  August 31, 2022
JIS                                                               Invoice 130739
                                                                  Client   05067
                                                                  Matter   00002
                                                                           JIS

RE: Committee Representation

 _______________________________________________________________________________________

         STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 08/31/2022
               FEES                                               $113,090.00
               EXPENSES                                             $3,407.82
               TOTAL CURRENT CHARGES                              $116,497.82

               BALANCE FORWARD                                    $499,466.57
               LAST PAYMENT                                       $129,066.62
               TOTAL BALANCE DUE                                  $486,897.77
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  Summary of Services by Professional
  ID        Name                        Title              Rate       Hours               Amount

 AWC        Caine, Andrew W.            Partner           700.00      72.00            $50,400.00

 BDD        Dassa, Beth D.              Paralegal         460.00       8.00             $3,680.00

 CHM        Mackle, Cia H.              Counsel           700.00       7.20             $5,040.00

 GNB        Brown, Gillian N.           Counsel           700.00       0.30              $210.00

 GSG        Greenwood, Gail S.          Counsel           700.00       0.70              $490.00

 IAWN       Nasatir, Iain A. W.         Partner           700.00       8.80             $6,160.00

 JIS        Stang, James I.             Partner           700.00      27.50            $19,250.00

 JMF        Fried, Joshua M.            Partner           700.00       3.30             $2,310.00

 KHB        Brown, Kenneth H.           Partner           700.00      11.00             $7,700.00

 LAF        Forrester, Leslie A.        Other             450.00       1.80              $810.00

 LFC        Cantor, Linda F.            Partner           700.00      20.40            $14,280.00

 MAM        Matteo, Mike A.             Paralegal         460.00       6.00             $2,760.00

                                                                    167.00         $113,090.00
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  Summary of Services by Task Code
  Task Code         Description                                 Hours                       Amount

 AD                 Asset Disposition [B130]                     6.70                      $4,615.00

 BL                 Bankruptcy Litigation [L430]                98.70                     $69,090.00

 CA                 Case Administration [B110]                   6.20                      $2,924.00

 CO                 Claims Admin/Objections[B310]                5.00                      $3,500.00

 FE                 Fee/Employment Application                  15.60                      $8,976.00

 GC                 General Creditors Comm. [B150]              15.30                     $10,335.00

 ME                 Mediation                                    2.80                      $1,960.00

 PD                 Plan & Disclosure Stmt. [B320]              13.80                      $9,660.00

 UST                UST Investigation                            2.90                      $2,030.00

                                                               167.00                 $113,090.00
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  Summary of Expenses
  Description                                                                      Amount
Bloomberg                                                                         $51.78
Conference Call [E105]                                                                 $2.52
Lexis/Nexis- Legal Research [E                                                   $247.23
Outside Services                                                                $2,508.00
Pacer - Court Research                                                            $16.30
Postage [E108]                                                                   $209.49
Reproduction Expense [E101]                                                      $359.80
Reproduction/ Scan Copy                                                           $12.70

                                                                                $3,407.82
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                                                                                      Hours            Rate      Amount

  Asset Disposition [B130]
 08/12/2022   JIS     AD        Review Howard Avenue sale order.                       0.20         700.00        $140.00

 08/16/2022   JIS     AD        Review Catholic Charities audited financial            1.80         700.00       $1,260.00
                                statement and IRS 990.

 08/16/2022   JIS     AD        Review depositions regarding orphanages/schools.       0.80         700.00        $560.00

 08/18/2022   LFC     AD        Review 5th Circuit case law concerning standing,       1.60         700.00       $1,120.00
                                property of the estate

 08/23/2022   AWC     AD        Read Draper letter re NDHS and SAG, and E-mails        0.50         700.00        $350.00
                                with team thereon re strategy.

 08/23/2022   JIS     AD        Review Draper letter re sale of assets.                0.20         700.00        $140.00

 08/24/2022   LAF     AD        Obtain 1952 article for JIS.                           0.30         450.00        $135.00

 08/26/2022   AWC     AD        Emails with Locke and BRG regarding NDHS and           0.30         700.00        $210.00
                                SAG sales/issues.

 08/29/2022   JIS     AD        Call with L. Lord and BRG regarding NDHS and           1.00         700.00        $700.00
                                SAG sale.

                                                                                        6.70                     $4,615.00

  Bankruptcy Litigation [L430]
 06/20/2022   CHM     BL        Review email from A. Caine and reply.                  0.10         700.00         $70.00

 06/28/2022   CHM     BL        Review email from A. Caine and reply.                  0.10         700.00         $70.00

 06/29/2022   CHM     BL        Upload and brief review of additionally produced       0.40         700.00        $280.00
                                documents.

 07/06/2022   CHM     BL        Emails with G. Brown and A. Caine re Everlaw           0.30         700.00        $210.00
                                training and document review.

 07/12/2022   CHM     BL        Review email from A. Caine re committee training       0.10         700.00         $70.00
                                call and reply.

 07/14/2022   CHM     BL        Review email from J. Stang and reply.                  0.10         700.00         $70.00

 07/15/2022   CHM     BL        Review email from A. Caine and reply.                  0.10         700.00         $70.00

 07/19/2022   CHM     BL        Update Everlaw access list and emails with A. Caine    0.30         700.00        $210.00
                                re same.

 07/22/2022   CHM     BL        Locate and review settlement agreements in Everlaw     5.50         700.00       $3,850.00
                                and analysis of and draft spreadsheet re same.

 07/25/2022   CHM     BL        Emails and telephone conference with A. Caine re       0.20         700.00        $140.00
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                                                                                         Hours           Rate      Amount
                                settlement agreement backup information.
 08/01/2022   AWC     BL        Emails with Locke regarding portfolio                     0.60        700.00        $420.00
                                action/response extension (.20); emails with team
                                regarding recently produced documents (.20); emails
                                with BRG and Locke regarding status of additional
                                requests (.20).

 08/01/2022   KHB     BL        Emails with D. Draper and B. Knapp re discovery           0.20        700.00        $140.00
                                issues.

 08/02/2022   AWC     BL        Emails with BRG and Locke regarding information           0.60        700.00        $420.00
                                requested from affiliates, response (.40); emails with
                                Claro regarding analysis status (.20).

 08/02/2022   KHB     BL        Work on letter to D. Draper re discovery issues.          0.50        700.00        $350.00

 08/03/2022   AWC     BL        Read recently produced documents (2.90); emails           3.30        700.00       $2,310.00
                                with BRG and Locke regarding affiliate requests and
                                revise response letter (.40).

 08/03/2022   KHB     BL        Work on discovery letter to Draper (.5); emails with      0.70        700.00        $490.00
                                A. Caine and J. Stang re same (.2).

 08/04/2022   AWC     BL        Call with BRG regarding affiliate document requests       0.80        700.00        $560.00
                                (.50); call with Locke regarding committee meeting,
                                tasks, response to Draper letter (.30).

 08/05/2022   AWC     BL        Review and revise response to Draper letter               1.10        700.00        $770.00
                                regarding affiliate documents and emails with Locke
                                and BRG thereon.

 08/05/2022   KHB     BL        Work on discovery letter to D. Draper.                    0.20        700.00        $140.00

 08/08/2022   AWC     BL        Read recently produced documents (1.80); read             2.40        700.00       $1,680.00
                                updated chart of info for Claro and emails with Cia
                                H. Mackle thereon (.60).

 08/09/2022   AWC     BL        Call with JW regarding case issues/discovery (.60);       2.20        700.00       $1,540.00
                                review affiliate discovery request correspondence
                                and emails with Locke regarding letter to Debtor
                                (.50); review updated chart for Claro and sample
                                referenced documents, draft email to Claro thereon
                                (.60); emails with Locke and Claro regarding
                                additional claim information and read sample
                                documents (.50).

 08/10/2022   AWC     BL        Read recently produced documents (4.30); emails           4.60        700.00       $3,220.00
                                with Locke regarding legal issues, underlying
                                information (.30).

 08/11/2022   AWC     BL        Read recently produced documents (2.70); review           3.90        700.00       $2,730.00
                                and revise letter to JW regarding additional
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                                                                                        Hours           Rate      Amount
                                documents, and emails with Locke thereon (.50);
                                research regarding insurance issues (.40); read
                                Draper letter regarding and review additional
                                information (.30).
 08/12/2022   AWC     BL        Read recently produced documents (3.20); emails          3.70        700.00       $2,590.00
                                with JW regarding new document production and
                                skim documents (.50).

 08/15/2022   AWC     BL        Read recently produced documents (5.10); review          5.40        700.00       $3,780.00
                                and revise letter to JW regarding additional
                                documents (.30).

 08/15/2022   JIS     BL        Attend status conference.                                0.40        700.00        $280.00

 08/16/2022   AWC     BL        Call with JW regarding case issues (.60); emails         3.40        700.00       $2,380.00
                                with BR regarding insurance information and skim
                                chart (.20); call with Locke and James I. Stang
                                regarding committee issues/approach (.60); call
                                with Kingsmill regarding document production
                                status/hearing and review productions (.30); emails
                                with counsel regarding potential stay relief and
                                review draft stipulation (.40); review recently
                                produced documents (1.30).

 08/17/2022   AWC     BL        Emails with client state court counsel regarding         4.10        700.00       $2,870.00
                                various litigation issues/strategy and read related
                                documents (.80); emails with BRG regarding
                                additional information and review revise revised
                                letter to JW thereon (.40); read documents re
                                affiliate relationships (.60); read recently produced
                                documents (2.30).

 08/18/2022   AWC     BL        Omnibus hearing (.70); read article and petition         6.60        700.00       $4,620.00
                                regarding ADA suit (.40); review and revise letter to
                                JW regarding additional documents (.20); read
                                recently produced documents (4.10); read ANO and
                                affiliate motions to dismiss portfolios adversary
                                proceeding and emails with Locke and team thereon
                                (1.20).

 08/18/2022   JIS     BL        Skim review of motion to dismiss declaratory relief      0.10        700.00         $70.00
                                action.

 08/18/2022   JIS     BL        Review precedent on issue of standing regarding          0.60        700.00        $420.00
                                declaratory relief action and memo re same.

 08/18/2022   JIS     BL        Review issues related to motion to dismiss.              0.90        700.00        $630.00

 08/18/2022   KHB     BL        Review Motion to dismiss AVP and consider                0.90        700.00        $630.00
                                response (.5); emails with B. Knapp; A. Caine and J.
                                Stang re same (.4).
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                                                                                        Hours           Rate      Amount

 08/18/2022   LFC     BL        Review committee adversary for declaratory               1.40        700.00        $980.00
                                judgment and motions to dismiss filed by debtor and
                                none-debtor affiliates and outline issues (1.3) and
                                telephone call with Jim Stang regarding same (.1)

 08/19/2022   GNB     BL        E-mail with Matthew K. Babcock regarding debtor          0.10        700.00         $70.00
                                production of board minutes.

 08/19/2022   KHB     BL        Analyze motion to dismiss filed by Debtor, consider      1.80        700.00       $1,260.00
                                basis for opposition and emails to L. Canter and J.
                                Stang re same (1.2); emails from J. Stang re same
                                (.2); confer with J. Stang re opposition to MTD (.4).

 08/19/2022   LFC     BL        Review correspondence to debtor detailing legal          0.30        700.00        $210.00
                                requirements for creating a trust under Louisiana law

 08/19/2022   LFC     BL        Review cases and authorities concerning matters set      3.50        700.00       $2,450.00
                                forth in motions to dismiss the Committee’s
                                adversary complaint

 08/20/2022   KHB     BL        Consider grounds for opposition to MTD and emails        0.50        700.00        $350.00
                                with L. Cantor, J. Stang and A. Caine re same.

 08/21/2022   LFC     BL        Review email memos and consider litigation issues        0.40        700.00        $280.00

 08/22/2022   AWC     BL        E-mails with team re strategy and issues on motions      1.20        700.00        $840.00
                                to dismiss, read underlying memos and cases.

 08/22/2022   JIS     BL        Call B. Knapp regarding meeting regarding motion         0.20        700.00        $140.00
                                to dismiss.

 08/22/2022   JIS     BL        Review analysis of issues related to response to         0.40        700.00        $280.00
                                motion to dismiss.

 08/22/2022   JIS     BL        Call with Locke Lord and PSZJ to review issues           0.80        700.00        $560.00
                                related to motion to dismiss.

 08/22/2022   JIS     BL        Research issues of LA law regarding trust litigation.    1.20        700.00        $840.00

 08/22/2022   KHB     BL        Call with Lock Lord, J. Stang and Linda Cantor re        2.10        700.00       $1,470.00
                                response to MTD (.8); review MTDs (.3); emails
                                with J. Stang and L. Cantor re opposition to MTD
                                (1.0).

 08/22/2022   LFC     BL        Review memorandum and email correspondence               0.40        700.00        $280.00
                                concerning plan confirmation matters

 08/22/2022   LFC     BL        Conference call with PSZJ and Locke Lord                 0.70        700.00        $490.00
                                concerning Committee declaratory relief action

 08/22/2022   GSG     BL        Conference call with SCC re motion to dismiss.           0.70        700.00        $490.00

 08/23/2022   AWC     BL        Review correspondence with debtor and affiliates re      0.60        700.00        $420.00
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                                                                                          Hours           Rate      Amount
                                document requests (.4); E-mails with Locke re
                                discovery strategy (.2).
 08/23/2022   LFC     BL        Research and review case law in connection with            1.80        700.00       $1,260.00
                                motions to dismiss

 08/24/2022   AWC     BL        Research re various legal issues pertinent to case         1.10        700.00        $770.00
                                (.7); Read BRG proposed requests re additional real
                                estate information and documents (.4).

 08/24/2022   KHB     BL        Work on opposition to MTDs and review authority            2.30        700.00       $1,610.00
                                re same.

 08/25/2022   AWC     BL        Read recently produced documents (2.20); E-mails           3.10        700.00       $2,170.00
                                with Locke and BRG re real estate information
                                requests (.30); E-mails with team re issues on
                                motions to dismiss and skim underlying documents
                                (.60).

 08/25/2022   JIS     BL        Call Linda Cantor regarding opposition to motion to        0.30        700.00        $210.00
                                dismiss.

 08/25/2022   JIS     BL        Call H. Levine regarding precedent regarding               0.40        700.00        $280.00
                                standing for declaratory relief action.

 08/25/2022   KHB     BL        Work on opposition to MTDs and analyze                     1.40        700.00        $980.00
                                authorities re same (.8); email to L. Cantor re same
                                (.2); emails with J. Stang re same (.2); confer with J.
                                Stang re same (.2).

 08/25/2022   LFC     BL        Review and analysis regarding Spokane and                  2.30        700.00       $1,610.00
                                Portland Diocese pleadings and case dockets

 08/26/2022   AWC     BL        Emails with James I. Stang and Locke regarding             0.60        700.00        $420.00
                                parish stay proposal (.30); emails with counsel and
                                Locke regarding case facts, issues (.30).

 08/26/2022   JIS     BL        Draft email to Debtor regarding parish stay.               0.50        700.00        $350.00

 08/26/2022   KHB     BL        Emails with J. Stang, and B. Knapp re Parish stay          0.40        700.00        $280.00
                                stipulation and review draft stipulation

 08/29/2022   AWC     BL        Call with TCC regarding discovery (.80); emails            2.10        700.00       $1,470.00
                                with Locke and JW regarding outstanding
                                information/documents (.40); emails with Locke,
                                BRG and James I. Stang regarding financial
                                discovery and read underlying documents (.90).

 08/30/2022   AWC     BL        Read recently produced documents (3.80); emails            4.20        700.00       $2,940.00
                                with Locke and BRG regarding revised letter
                                regarding NDHS/SAG documents (.40).

 08/30/2022   LFC     BL        Review further case law and outline memorandum             2.40        700.00       $1,680.00
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                                                                                       Hours            Rate       Amount
                                re: motions to dismiss Committee complaint for
                                declaratory relief
 08/31/2022   AWC     BL        Read recently produced documents (2.40); read           3.60         700.00        $2,520.00
                                order on priest benefits motion and email with
                                Committee thereon (.50); read Debtor’s response re
                                claims data and underlying documents (.50); emails
                                with Locke and court regarding service of order
                                (.20).

 08/31/2022   IAWN BL           Review wage and benefits decision                       0.30         700.00         $210.00

 08/31/2022   JIS     BL        Research regarding prior decisions on priest pension    1.20         700.00         $840.00
                                and review of decision.

                                                                                        98.70                     $69,090.00

  Case Administration [B110]
 08/01/2022   MAM     CA        Review docket and update critical dates                 0.40         460.00         $184.00
                                memorandum.

 08/02/2022   MAM     CA        Review docket regarding critical dates                  0.20         460.00          $92.00
                                memorandum.

 08/02/2022   MAM     CA        Review Notice of Submission of Time Entries with        0.40         460.00         $184.00
                                exhibit.

 08/03/2022   MAM     CA        Review docket regarding critical dates                  0.20         460.00          $92.00
                                memorandum.

 08/04/2022   MAM     CA        Review docket regarding critical dates                  0.20         460.00          $92.00
                                memorandum.

 08/05/2022   MAM     CA        Review docket and circulate critical dates              0.20         460.00          $92.00
                                memorandum.

 08/08/2022   MAM     CA        Review docket regarding critical dates                  0.20         460.00          $92.00
                                memorandum.

 08/09/2022   MAM     CA        Review docket and circulate critical dates              0.40         460.00         $184.00
                                memorandum.

 08/12/2022   LFC     CA        Review status of website hosting and expense            0.10         700.00          $70.00

 08/15/2022   MAM     CA        Review docket and update critical dates                 0.40         460.00         $184.00
                                memorandum.

 08/16/2022   LFC     CA        Review procedures manual regarding submission of        0.20         700.00         $140.00
                                orders and pleadings and email memos regarding
                                same

 08/16/2022   MAM     CA        Review docket and update and circulate critical         0.40         460.00         $184.00
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                                                                                     Hours            Rate      Amount
                                dates memorandum.
 08/17/2022   MAM     CA        Review docket regarding critical dates                0.20         460.00         $92.00
                                memorandum.

 08/18/2022   MAM     CA        Review docket regarding critical dates                0.20         460.00         $92.00
                                memorandum.

 08/19/2022   MAM     CA        Update and circulate critical dates memorandum.       0.50         460.00        $230.00

 08/22/2022   MAM     CA        Review docket and update critical dates               0.20         460.00         $92.00
                                memorandum.

 08/23/2022   MAM     CA        Review docket and update critical dates               0.20         460.00         $92.00
                                memorandum.

 08/23/2022   BDD     CA        Attend to calendaring matters with M. Matteo, B.      0.10         460.00         $46.00
                                Anavim and M. Kulick

 08/24/2022   MAM     CA        Review docket and update and circulate critical       0.30         460.00        $138.00
                                dates memorandum.

 08/29/2022   MAM     CA        Review docket and update critical dates               0.40         460.00        $184.00
                                memorandum.

 08/30/2022   MAM     CA        Review dockets and updates to critical dates          0.50         460.00        $230.00
                                memorandum.

 08/31/2022   MAM     CA        Review dockets regarding critical dates               0.30         460.00        $138.00
                                memorandum.

                                                                                       6.20                     $2,924.00

  Claims Admin/Objections[B310]
 08/15/2022   AWC     CO        Read Claro email and preliminary claims analysis.     0.50         700.00        $350.00

 08/16/2022   AWC     CO        Call with Claro regarding claims analysis (1.40);     1.60         700.00       $1,120.00
                                emails with Claro regarding additional information
                                for analysis (.20).

 08/16/2022   JIS     CO        Call with R. Kuebel and Child USA regarding SOL       0.60         700.00        $420.00
                                issues.

 08/17/2022   IAWN CO           Telephone conference with SCC regarding claims        1.70         700.00       $1,190.00

 08/17/2022   IAWN CO           Review Catholic charities tax return                  0.30         700.00        $210.00

 08/22/2022   JIS     CO        Review brief in support of constitutionality of       0.30         700.00        $210.00
                                window.

                                                                                       5.00                     $3,500.00
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                                                                                       Hours           Rate      Amount

  Fee/Employment Application
 08/02/2022   MAM     FE        Draft notice of submission to the US Trustee            0.20        460.00        $92.00
                                regarding time for June 2022.

 08/09/2022   LFC     FE        Review correspondence from debtor's counsel             0.40        700.00       $280.00
                                regarding preliminary objections to fee applications
                                of Committee professionals with schedule of matters
                                in dispute (.3) and e-mail memos regarding same
                                (.1)

 08/10/2022   AWC     FE        Read debtor letter regarding fee applications and       0.60        700.00       $420.00
                                review underlying documents, call with Linda F.
                                Cantor regarding response.

 08/10/2022   LFC     FE        Confer with Megan Haverkamp of BRG regarding            0.30        700.00       $210.00
                                issues raised by debtor's counsel seeking
                                explanation/clarification

 08/10/2022   LFC     FE        Confer with debtor's counsel regarding time sheet       0.20        700.00       $140.00
                                submissions and extension of objection deadline

 08/11/2022   LFC     FE        Review BRG fee matters and clarification of tasks       0.60        700.00       $420.00
                                performed

 08/11/2022   LFC     FE        Telephone calls with Paul Shields regarding BRG         0.40        700.00       $280.00
                                services and explanation of billing issues (.3) (.1)

 08/15/2022   LFC     FE        Review docket and proposed draft orders for             0.10        700.00        $70.00
                                committee professionals' fee applications and emails
                                with Beth Dassa regarding same

 08/15/2022   BDD     FE        Work on exhibit re submission of supplemental time      0.90        460.00       $414.00
                                entries and emails to/call with L. Cantor re same
                                (.80); emails N. Brown re same (.10)

 08/15/2022   BDD     FE        Email L. Cantor re re Rock Creek and BRG fee            0.10        460.00        $46.00
                                orders

 08/16/2022   BDD     FE        Work on updating orders re BRG, Rock Creek and          0.80        460.00       $368.00
                                the Claro Group, and emails L. Cantor, N. Deleon
                                and A. Lohr re same

 08/17/2022   AWC     FE        Review documents and correspondence to prepare          0.30        700.00       $210.00
                                for hearing on PSZJ fee application.

 08/17/2022   LFC     FE        Review docket, agenda and e-mail correspondence         0.10        700.00        $70.00
                                with AWC regarding fee application hearing

 08/17/2022   LFC     FE        Review emails and confer with Beth Dassa                0.20        700.00       $140.00
                                regarding entry and service of professional fee
                                orders
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 08/17/2022   BDD     FE        Email K. McNally re The Claro Group's first interim     0.10        460.00        $46.00
                                fee application

 08/17/2022   BDD     FE        Emails L. Cantor re orders on interim fee               0.20        460.00        $92.00
                                applications

 08/17/2022   BDD     FE        Review service list re service of fee orders and        0.30        460.00       $138.00
                                emails N. Brown re same

 08/18/2022   JMF     FE        Review fee letter (.3) and review application and       0.70        700.00       $490.00
                                draft order re same (.4).

 08/18/2022   JMF     FE        Review Claro monthly application.                       0.80        700.00       $560.00

 08/18/2022   JMF     FE        Review and edit PSZJ July statement.                    1.10        700.00       $770.00

 08/18/2022   BDD     FE        Revisions to Claro July monthly fee statement and       0.30        460.00       $138.00
                                emails K. McNally and J. Fried re same

 08/18/2022   BDD     FE        Prepare PSZJ July monthly fee statement                 0.80        460.00       $368.00

 08/18/2022   BDD     FE        Emails J. Fried and L. Cantor re PSZJ fee order (6th    0.20        460.00        $92.00
                                interim fee application)

 08/18/2022   BDD     FE        Emails to/call with N. Brown re service of PSZJ,        0.20        460.00        $92.00
                                Claro, BRG & Rock Creek interim fee orders

 08/18/2022   BDD     FE        Email N. Brown re PSZJ fee order (6th interim fee       0.10        460.00        $46.00
                                application)

 08/18/2022   BDD     FE        Email A. Caine re PSZJ July fee statement               0.10        460.00        $46.00

 08/18/2022   BDD     FE        Email O. Carpio re PSZJ July fee statement              0.10        460.00        $46.00

 08/18/2022   BDD     FE        Email N. Brown re filing COS re interim fee orders)     0.10        460.00        $46.00

 08/18/2022   BDD     FE        Email C. Curts re LEDES file (PSZJ July fee             0.10        460.00        $46.00
                                invoice)

 08/18/2022   BDD     FE        Email L. Cantor re entered fee orders (PSZJ, BRG,       0.10        460.00        $46.00
                                Rock Creek & Claro)

 08/22/2022   LFC     FE        Review monthly fee statements and correspondence        0.10        700.00        $70.00
                                to committee for review

 08/22/2022   JMF     FE        Review PSZJ monthly fee statement.                      0.70        700.00       $490.00

 08/22/2022   BDD     FE        Email G. Brown re Rock Creek July fee statement         0.10        460.00        $46.00

 08/22/2022   BDD     FE        Email C. Peirce re Rock Creek monthly fee               0.10        460.00        $46.00
                                statement

 08/22/2022   BDD     FE        Email V. Arias re PSZJ July fee statement               0.10        460.00        $46.00
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 08/22/2022   BDD     FE        Email K. McNally re Claro Group and LEDES file         0.10        460.00        $46.00
                                for July

 08/22/2022   BDD     FE        Emails J. Fried and N. Brown re PSZJ and Claro         0.30        460.00       $138.00
                                Group monthly fee statements (.20); email notice
                                parties re same (.10)

 08/23/2022   BDD     FE        Email notice parties re July fee statements (PSZJ &    0.10        460.00        $46.00
                                Claro Group) and email L. Cantor re same

 08/23/2022   BDD     FE        Email P. Shields and M. Haverkamp re BRG July          0.10        460.00        $46.00
                                fee stat

 08/23/2022   BDD     FE        Email P. Shields and M. Haverkamp re BRG July          0.10        460.00        $46.00
                                fee statement

 08/24/2022   GNB     FE        Email with John L. Spencer and Chris Peirce            0.10        700.00        $70.00
                                regarding lack of payment on approved fee
                                applications; Email with Linda F. Cantor and Beth
                                D. Dassa regarding same.

 08/24/2022   LFC     FE        Prepare draft letter regarding outstanding fee         0.30        700.00       $210.00
                                payments

 08/24/2022   BDD     FE        Email V. Arias re PSZJ 6th interim fee application     0.10        460.00        $46.00

 08/24/2022   BDD     FE        Review Rock Creek July fee statement and emails C.     0.30        460.00       $138.00
                                Peirce re same

 08/24/2022   BDD     FE        Email P. Shields & M. Haverkamp re BRG July fee        0.10        460.00        $46.00
                                statement

 08/24/2022   BDD     FE        Review outstanding fees for PSZJ, Claro, Rock          0.40        460.00       $184.00
                                Creek and BRG and emails professionals and L.
                                Cantor and G. Brown re same

 08/29/2022   BDD     FE        Email M. Haverkamp re BRG Ledes file (July 2022)       0.10        460.00        $46.00

 08/29/2022   BDD     FE        Revisions to BRG & Rock Creek July monthly fee         0.50        460.00       $230.00
                                statements (.30); emails L. Cantor and N. Brown re
                                same (.10); email notice parties re same (.10)

 08/29/2022   BDD     FE        Prepare cover letters re BRG and Rock Creek July       0.30        460.00       $138.00
                                monthly fee statements

 08/29/2022   BDD     FE        Email N. Brown re BRG & Rock Creek July                0.10        460.00        $46.00
                                monthly fee statements

 08/29/2022   BDD     FE        Email M. Haverkamp re BRG July monthly fee             0.10        460.00        $46.00
                                statement

 08/30/2022   BDD     FE        Confer with V. Arias re PSZJ 6th interim fee           0.10        460.00        $46.00
                                application
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                                                                                       Hours            Rate      Amount

 08/30/2022   BDD     FE        Email L. Cantor re PSZJ 6th interim fee application     0.10         460.00         $46.00

 08/31/2022   GNB     FE        Email with John L. Spencer III and Chris Peirce         0.10         700.00         $70.00
                                regarding ANO's failure to pay fees and costs; Email
                                with Andrew W. Caine, Linda F. Cantor, and Beth
                                D. Dassa regarding same; Review Linda F. Cantor
                                email to Mark Mintz regarding same.

 08/31/2022   LFC     FE        Draft correspondence to debtor's counsel regarding      0.40         700.00        $280.00
                                outstanding fee payments

 08/31/2022   BDD     FE        Emails L. Cantor and G. Brown re payments owed          0.20         460.00         $92.00
                                to Committee professionals

                                                                                        15.60                     $8,976.00

  General Creditors Comm. [B150]
 08/01/2022   JIS     GC        Meeting with state court counsel regarding action       1.40         700.00        $980.00
                                plan.

 08/02/2022   JIS     GC        Call with R. Kuebel as follow up from committee         0.40         700.00        $280.00
                                call.

 08/02/2022   JIS     GC        Committee call to review case status and next steps.    1.00         700.00        $700.00

 08/09/2022   AWC     GC        Committee call.                                         0.80         700.00        $560.00

 08/12/2022   AWC     GC        Emails with Locke regarding committee                   0.30         700.00        $210.00
                                issues/meetings.

 08/15/2022   JIS     GC        Call B. Knapp regarding case status and mediation       0.30         700.00        $210.00
                                issues.

 08/16/2022   JIS     GC        Review parish stay stipulation in contemplation of      0.50         700.00        $350.00
                                SCC call.

 08/16/2022   JIS     GC        Call J. Amala regarding case status.                    0.60         700.00        $420.00

 08/16/2022   JIS     GC        Call with Debtor re status of case, including           0.60         700.00        $420.00
                                upcoming status conference regarding OSC.

 08/17/2022   AWC     GC        State court counsel call regarding various committee    1.70         700.00       $1,190.00
                                issues/strategy.

 08/17/2022   JIS     GC        Attend state court counsel meeting regarding case       1.70         700.00       $1,190.00
                                issues, including claims, pending litigation, plan
                                issues.

 08/18/2022   AWC     GC        Emails with Locke regarding committee                   0.20         700.00        $140.00
                                issues/meeting.

 08/23/2022   AWC     GC        Committee call.                                         1.30         700.00        $910.00
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                                                                                      Hours            Rate       Amount

 08/23/2022   JIS     GC        Attend Committee meeting.                              1.30         700.00         $910.00

 08/24/2022   JIS     GC        Call R. Kuebel regarding constituent                   0.90         700.00         $630.00
                                communications, pending motions/transactions.

 08/25/2022   JIS     GC        Call J. Anderson regarding case status.                0.20         700.00         $140.00

 08/25/2022   JIS     GC        Call J. Amala regarding case status and constituent    0.20         700.00         $140.00
                                communications.

 08/25/2022   LAF     GC        Legal research re: Committee standing.                 1.50         450.00         $675.00

 08/29/2022   AWC     GC        Emails with James I. Stang and Locke regarding         0.30         700.00         $210.00
                                committee issues/approach/proposals.

 08/29/2022   JIS     GC        Call with J. Amala regarding state court counsel       0.10         700.00          $70.00
                                town hall meeting.

                                                                                       15.30                     $10,335.00

  Mediation
 08/04/2022   JIS     ME        Call with Claro regarding claims review.               1.30         700.00         $910.00

 08/23/2022   IAWN ME           Telephone call with TCC regarding strategy             1.30         700.00         $910.00

 08/29/2022   JIS     ME        Call B. Knapp regarding mediation issues/demand.       0.20         700.00         $140.00

                                                                                        2.80                      $1,960.00

  Plan & Disclosure Stmt. [B320]
 08/01/2022   IAWN PD           Telephone conference with SCC regarding strategy       1.40         700.00         $980.00

 08/02/2022   IAWN PD           Telephone conference with TCC regarding demands,       1.00         700.00         $700.00
                                etc.

 08/02/2022   IAWN PD           Review James I. Stang email regarding Claro            0.10         700.00          $70.00
                                valuations

 08/02/2022   IAWN PD           Review James I. Stang email regarding Andrews'         0.10         700.00          $70.00
                                insurance comments

 08/12/2022   JIS     PD        Call with Bettinelli regarding supplement notice.      0.30         700.00         $210.00

 08/13/2022   IAWN PD           Email Carter and Murray regarding updated              0.10         700.00          $70.00
                                coverage chart

 08/13/2022   IAWN PD           Email Carter and Murray regarding am employer          0.10         700.00          $70.00
                                policies.

 08/16/2022   IAWN PD           Telephone call with debtor regarding issues            0.60         700.00         $420.00
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                                                                                        Hours            Rate      Amount

 08/16/2022   IAWN PD           Review coverage chart                                    0.20         700.00        $140.00

 08/16/2022   IAWN PD           Exchange emails with Murray regarding coverage           0.10         700.00         $70.00
                                chart

 08/16/2022   IAWN PD           Draft email to SCC regarding coverage chart              0.40         700.00        $280.00

 08/16/2022   IAWN PD           Exchange email with James I. Stang rearding email        0.10         700.00         $70.00
                                to SCC

 08/16/2022   IAWN PD           Exchange emails with James I. Stang regarding            0.10         700.00         $70.00
                                additional insureds

 08/19/2022   AWC     PD        Emails with team regarding opposition to motions to      3.10         700.00       $2,170.00
                                dismiss/arguments/research (.60); read new 5th
                                Circuit decision re exculpation/releases (.40); read
                                recently produced documents (1.90); emails with
                                Blank Rome regarding missing insurance policies
                                (.20).

 08/24/2022   IAWN PD           Telephone call with team regarding strategy              0.80         700.00        $560.00

 08/24/2022   JIS     PD        Call with PSZJ regarding status of Fifth Circuit case    0.80         700.00        $560.00
                                law on third party releases.

 08/26/2022   JIS     PD        Call with R. Kuebel regarding nonmonetary                0.20         700.00        $140.00
                                covenants.

 08/27/2022   IAWN PD           Review James I. Stang email to debtors regarding         0.10         700.00         $70.00
                                stipulation regarding parishes

 08/29/2022   JIS     PD        Review non-monetary proposal for subcommittee            0.50         700.00        $350.00
                                consideration.

 08/30/2022   AWC     PD        Read new and review prior correspondence with JW         0.60         700.00        $420.00
                                regarding non-monetary provisions of potential plan.

 08/30/2022   JIS     PD        Draft response to L. Futrell regarding child             0.60         700.00        $420.00
                                protection issues.

 08/30/2022   JIS     PD        Call with state court counsel regarding responses to     1.20         700.00        $840.00
                                child protection measures.

 08/31/2022   JIS     PD        Call with Pat Moody and B. Wolf-Freedman                 1.30         700.00        $910.00
                                regarding case status and reorganization principles.

                                                                                         13.80                     $9,660.00

  UST Investigation
 08/02/2022   AWC     UST       Review time entries to prepare supplemental              0.50         700.00        $350.00
                                submission.
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                                                                                        Hours            Rate       Amount

 08/02/2022   LFC     UST       Review draft time sheet submission per OSC and           0.20         700.00         $140.00
                                emails regarding same

 08/10/2022   AWC     UST       Read proposed order on U.S. Trustee release of           0.20         700.00         $140.00
                                documents and emails with Locke thereon.

 08/10/2022   LFC     UST       Review previous submissions of time entries per          0.60         700.00         $420.00
                                Bankruptcy Court’s OSC and additional items raised
                                in debtor’s August 9th letter concerning issues with
                                Committee professionals’ services

 08/10/2022   LFC     UST       Review and consider AWC analysis of UST time             0.30         700.00         $210.00
                                sheet submission issues (.2) and telephone call with
                                AWC regarding same (.1)

 08/11/2022   LFC     UST       Review BRG time submissions and prepare                  0.30         700.00         $210.00
                                pleadings

 08/12/2022   LFC     UST       Prepare response to issues raised by debtor’s counsel    0.40         700.00         $280.00
                                concerning OSC time sheet submissions

 08/15/2022   LFC     UST       Draft notice of supplemental timesheet submission,       0.40         700.00         $280.00
                                review and finalize for filing

                                                                                          2.90                     $2,030.00

  TOTAL SERVICES FOR THIS MATTER:                                                                               $113,090.00
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 Expenses
 07/15/2022   CC        Conference Call [E105] AT&T Conference Call, AWC       2.52
 08/11/2022   PO        Postage                                               71.82
 08/11/2022   RE        ( 780 @0.20 PER PG)                                  156.00
 08/11/2022   RE2       SCAN/COPY ( 1 @0.10 PER PG)                            0.10
 08/11/2022   RE2       SCAN/COPY ( 1 @0.10 PER PG)                            0.10
 08/11/2022   RE2       SCAN/COPY ( 6 @0.10 PER PG)                            0.60
 08/11/2022   RE2       SCAN/COPY ( 1 @0.10 PER PG)                            0.10
 08/11/2022   RE2       SCAN/COPY ( 1 @0.10 PER PG)                            0.10
 08/11/2022   RE2       SCAN/COPY ( 1 @0.10 PER PG)                            0.10
 08/12/2022   OS        Rust Consulting, Inv. 2022-1025, LFC                 275.00
 08/17/2022   RE2       SCAN/COPY ( 38 @0.10 PER PG)                           3.80
 08/18/2022   RE        ( 762 @0.20 PER PG)                                  152.40
 08/18/2022   RE        ( 3 @0.20 PER PG)                                      0.60
 08/19/2022   LN        05067.00002 Lexis Charges for 08-19-22                11.82
 08/19/2022   LN        05067.00002 Lexis Charges for 08-19-22                11.82
 08/19/2022   PO        Postage                                              133.35
 08/19/2022   RE        ( 254 @0.20 PER PG)                                   50.80
 08/19/2022   RE2       SCAN/COPY ( 2 @0.10 PER PG)                            0.20
 08/20/2022   LN        05067.00002 Lexis Charges for 08-20-22                11.82
 08/22/2022   LN        05067.00002 Lexis Charges for 08-22-22               153.82
 08/22/2022   PO        Postage                                                2.16
 08/22/2022   RE2       SCAN/COPY ( 12 @0.10 PER PG)                           1.20
 08/22/2022   RE2       SCAN/COPY ( 32 @0.10 PER PG)                           3.20
 08/23/2022   LN        05067.00002 Lexis Charges for 08-23-22                35.49
 08/24/2022   LN        05067.00002 Lexis Charges for 08-24-22                22.46
 08/25/2022   BB        05067.00002 Bloomberg Charges through 08-25-22        51.78
 08/29/2022   PO        Postage                                                2.16
 08/29/2022   RE2       SCAN/COPY ( 16 @0.10 PER PG)                           1.60
 08/29/2022   RE2       SCAN/COPY ( 9 @0.10 PER PG)                            0.90
 08/29/2022   RE2       SCAN/COPY ( 1 @0.10 PER PG)                            0.10
 08/30/2022   RE2       SCAN/COPY ( 4 @0.10 PER PG)                            0.40
 08/30/2022   RE2       SCAN/COPY ( 2 @0.10 PER PG)                            0.20
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 08/31/2022   OS        Everlaw, Inv. 63563, in the Archdiocese of New Orleans      1,958.00
                        database for the month of August
 08/31/2022   OS        Rust Consulting, Inv. 2022-1143, LFC                          275.00
 08/31/2022   PAC       Pacer - Court Research                                         16.30

   Total Expenses for this Matter                                                $3,407.82
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                                                REMITTANCE ADVICE

                                    Please include this Remittance with your payment

For current services rendered through:        08/31/2022

Total Fees                                                                                           $113,090.00

Total Expenses                                                                                              3,407.82

Total Due on Current Invoice                                                                         $116,497.82

  Outstanding Balance from prior invoices as of        08/31/2022          (May not include recent payments)

A/R Bill Number          Invoice Date                Fees Billed        Expenses Billed             Balance Due
 129869                  03/31/2022                $166,453.50            $8,424.26                   $33,290.70

 130129                  04/30/2022                 $86,910.00            $1,938.10                   $17,382.00

 130228                  05/31/2022                $154,837.00            $5,197.02                   $30,967.40

 130360                  06/30/2022                $181,667.00             $439.17                   $182,106.17

 130569                  07/31/2022                 $87,980.00          $18,673.68                   $106,653.68

             Total Amount Due on Current and Prior Invoices:                                         $486,897.77
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                                    EXHIBIT C

                               Monthly Fee Statement
                                 September 2022




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                          IN THE UNITED STATES BANKRUPTCY COURT
                               EASTERN DISTRICT OF LOUISIANA

      In re:                                                      Case No. 20-10846

      THE ROMAN CATHOLIC CHURCH                                   Section “A”
      OF THE ARCHDIOCESE OF NEW
      ORLEANS,                                                    Chapter 11
                         Debtor. 1
                                                                  Objection Deadline: November 11, 2022




                         MONTHLY FEE AND EXPENSE STATEMENT OF
                    PACHULSKI STANG ZIEHL & JONES LLP FOR THE PERIOD
                       SEPTEMBER 1, 2022 THROUGH SEPTEMBER 30, 2022

               1.    In accordance with Section XIII(B) of the Court’s December 4, 2019 General

  Order Regarding Procedures for Complex Chapter 11 Cases (the “Complex Case Order”),

  Pachulski Stang Ziehl & Jones LLP (“PSZJ”), co-counsel to The Official Committee of Unsecured

  Creditors (the “Committee”) in this Chapter 11 case concerning the above captioned debtor and

  debtor-in-possession (the “Debtor”) hereby submits its Monthly Fee and Expense Statement (the

  “Statement”) for the period from September 1, 2022 through September 30, 2022 (the “Statement

  Period”) for the above-styled Chapter 11 bankruptcy case (the “Bankruptcy Case”).

               ITEMIZATION OF SERVICES RENDERED AND EXPENSES INCURRED

               2.    A summary of the services rendered by PSZJ for which compensation is sought for

  the Statement Period, organized by project category, is attached hereto as Exhibit A.

               3.    A listing of PSZJ attorneys and paraprofessionals (collectively, the “Timekeepers”)

  who rendered service to the Debtor in connection with the Bankruptcy Case during the Statement




  1
    The last four digits of the Debtor’s federal tax identification number are 8966. The Debtor’s principal place of
  business is located at 7887 Walmsley Ave., New Orleans, LA 70125.



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   Period, including the hourly rate, title, and fees earned by each Timekeeper, is attached hereto as

   Exhibit B.

           4.       A summary of expenses incurred by PSZJ during the Statement Period for which

   reimbursement is sought is attached hereto as Exhibit C.

           5.       The detailed time records of PSZJ for the Statement Period are attached hereto as

   Exhibit D.

           6.       In addition, under separate cover, the detailed time records under Exhibit D are

   being sent to the Office of the United States Trustee in the LEDES format.

           7.       As of the date hereof, PSZJ has received fees and expenses totaling $2,994,393.22.

          TOTAL FEES AND EXPENSES SOUGHT FOR THE STATEMENT PERIOD

           8.       The total amounts sought for fees for professional services rendered and

   reimbursement of expenses incurred for the Statement Period are as follows:

                                  September 1, 2022 to September 30, 2022

                    Fees (at standard rates):                      $408,144.50

                    Reduction due to reduced rates2:               ($183,121.50)

                    Reduction due to fee write-offs:                 ($3,850.00)

                    Fees (After reductions):                      $221,173.00

                    Expenses:                                        $1,274.99

                    Total                                         $222,447.99




   2
     As disclosed in the Firm’s employment application, the Firm is utilizing rates that are substantially reduced from
   standard rates so that attorney time is capped at a maximum rate of $700 per hour. The reduction set forth here
   accounts for the reduction from the following standard rates: S. Golden ($775); C. Mackle ($875); G. Brown ($925);
   J. Fried ($1,145); A. Caine ($1,295); I. Nasatir ($1,295); J. Elkin ($1,325); L. Cantor ($1,395); K. Brown ($1,395);
   D. Grassgreen ($1,425); and J. Stang ($1,525).


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                                NOTICE AND OBJECTION PROCEDURES

           9.       In accordance with the Interim Compensation Order, notice of the Statement has

   been served upon the following parties (“Notice Parties”) as required by the Complex Case Order:

   (i) counsel for the Debtor, Mark Mintz, Esq., Jones Walker LLP, 201 St. Charles Ave, New

   Orleans, LA 70170-5100; (ii) counsel for the prepetition secured lender, Hancock Whitney Bank,

   David F. Waguespack, Esq., Carver, Darden, Koretzky, Tessier, Finn, Blossman & Areaux,

   L.L.C., 1100 Poydras Street, Suite 3100, New Orleans, Louisiana 70163-1102; (iii) KS State Bank,

   1010 Westloop, P.O. Box 69, Manhattan KS 66505-0069; (iv) Dell Financial Svc LP, Mail Stop

   P82DF, 23 One Dell Way, Round Rock TX 78682; (v) David S. Rubin, Butler Snow LLP,

   445 North Boulevard, Suite 300, Baton Rouge, LA 70802; (vi) Colleen Murphy, Greenberg

   Traurig, One International Place, Suite 2000, Boston, MA 02110; (vii) Annette Jarvis, Greenberg

   Traurig, 222 S. Main Street, Fifth Floor, Salt Lake City, UT 84101; and (viii) Amanda George,

   Esq., Office of The United States Trustee, 400 Poydras Street, Suite 2110, New Orleans, LA

   70130; and (ix) Stewart Robbins Brown & Altazan, LLC, 301 Main Street, Suite 1640, P.O. Box

   2348, Baton Rouge, LA 70821-2348.

           10.      Also pursuant to the Complex Case Order, any objections to this Statement must

   be asserted on or before November 11, 2022 (the “Objection Deadline”), setting forth the nature

   of the objection and the specific amount of fees or expenses at issue.

           11.      If no objections to the Statement are received on or before the Objection Deadline,

   the Debtor, pursuant to the Complex Case Order, is authorized to pay PSZJ on an interim basis the

   total amount of $178,213.39, which consists of (a) eighty percent (80%) of PSZJ’s total fees of

   $221,173.00 for the Statement Period in the amount of $176,938.40, plus (b) one hundred percent

   (100%) of total expenses incurred during the Statement Period of $1,274.99.



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           12.      To the extent an objection to the Statement is received on or before the Objection

   Deadline, the Debtor is to withhold payment of that portion of the Statement to which the objection

   is directed and will promptly pay the remainder of the fees and disbursements in the percentages

   set forth above. To the extent such objection is not resolved, it shall be preserved and scheduled

   for consideration at the next interim fee application hearing.

    Dated: October 28, 2022                              Respectfully submitted,

                                                         By: /s/ Linda F. Cantor
                                                         James I. Stang (CA Bar No. 94435)
                                                         Linda F. Cantor (CA Bar No.153762)
                                                         Pachulski Stang Ziehl & Jones LLP 10100
                                                         Santa Monica Blvd., Suite 1300
                                                         Los Angeles, CA 90067
                                                         Telephone: (310)-277-6910
                                                         Facsimile: (310)-201-0760
                                                         Email: jstang@pszjlaw.com
                                                                  lcantor@pszjlaw.com

                                                         Co-Counsel to the Official Committee of Unsecured
                                                         Creditors




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                                     EXHIBIT A




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                   SUMMARY OF COMPENSATION BY PROJECT CATEGORY
                           DURING COMPENSATION PERIOD
                     SEPTEMBER 1, 2022 THROUGH SEPTEMBER 30, 2022


     Task Code                         Description            Hours      Amount

         AA                      Asset Analysis/Recovery        2.10     $1,470.00

          BL                       Bankruptcy Litigation      255.50   $177,986.00

         CA                        Case Administration          7.00     $3,433.00

          EB                    Employee Benefits/Pension       0.80      $560.00
          FE                    Fee/Employment Application     20.60    $10,844.00

         GC                      General Creditors Comm.       23.40    $16,380.00

         ME                             Mediation               7.10     $4,970.00
          PD                    Plan & Disclosure Statement     6.80     $4,760.00
          SL                          Stay Litigation           1.10      $770.00
                                                              324.40   $221,173.00




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                                     EXHIBIT B




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            COMPENSATION BY TIMEKEEPER DURING COMPENSATION PERIOD
                  SEPTEMBER 1, 2022 THROUGH SEPTEMBER 30, 2022


      ID                  Name              Title       Rate     Hours     Amount

      JIS            Stang, James I.       Partner     700.00    22.70    $15,890.00

    AWC            Caine, Andrew W.        Partner     700.00    65.40    $45,780.00

     LFC            Cantor, Linda F.       Partner     700.00    33.00    $23,100.00
    IAWN           Nasatir, Iain A.W.      Partner     700.00     2.50     $1,750.00
      DG          Grassgreen, Debra I.     Partner     700.00     1.00     $700.00
     JMF            Fried, Joshua M.       Partner     700.00     3.70     $2,590.00

     KHB          Brown, Kenneth H.        Partner     700.00    35.00    $24,500.00
      JE              Elkin, Judith       Counsel      700.00    109.90   $76,930.00
     GNB           Brown, Gillian N.      Counsel      700.00     2.30     $1,610.00

    CHM              Mackle, Cia H.       Counsel      700.00    20.00    $14,000.00
    SWG            Golden, Steven W.      Counsel      700.00     4.30     $3,010.00
     BDD             Dassa, Beth D.       Paralegal    460.00    17.40     $8,004.00

     LAF          Forrester, Leslie A.   Law Library   450.00     0.30     $135.00
                                           Director
    MAM             Matteo, Mike A.       Paralegal    $460.00    6.90     $3,174.00
                                                                 324.40   $221,173.00




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                                     EXHIBIT C




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                                    EXPENSE SUMMARY
                             DURING COMPENSATION PERIOD
                       SEPTEMBER 1, 2022 THROUGH SEPTEMBER 30, 2022


                                 Description           Amount

                       Lexis Nexis (Legal Research)    $622.78
                       Pacer-Court Research             $40.60
                       Postage                         $236.01
                       Reproduction Expense            $330.00
                       Reproduction/Scan Copy           $45.60
                                                      $1,274.99




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                                     EXHIBIT D




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                               Pachulski Stang Ziehl & Jones LLP
                                       10100 Santa Monica Blvd.
                                              13th Floor
                                        Los Angeles, CA 90067
                                                                  September 30, 2022
JIS                                                               Invoice 130986
                                                                  Client  05067
                                                                  Matter  00002
                                                                          JIS

RE: Committee Representation

 _______________________________________________________________________________________

         STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 09/30/2022
               FEES                                               $221,173.00
               EXPENSES                                             $1,274.99
               TOTAL CURRENT CHARGES                              $222,447.99

               BALANCE FORWARD                                    $486,897.77
               LAST PAYMENT                                       $259,336.27
               TOTAL BALANCE DUE                                  $450,009.49
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  Summary of Services by Professional
  ID        Name                        Title             Rate       Hours               Amount

 AWC        Caine, Andrew W.            Partner          700.00      65.40        $45,780.00

 BDD        Dassa, Beth D.              Paralegal        460.00      17.40          $8,004.00

 CHM        Mackle, Cia H.              Counsel          700.00      20.00        $14,000.00

 DG         Grassgreen, Debra I.        Partner          700.00       1.00           $700.00

 GNB        Brown, Gillian N.           Counsel          700.00       2.30          $1,610.00

 IAWN       Nasatir, Iain A. W.         Partner          700.00       2.50          $1,750.00

 JE         Elkin, Judith               Counsel          700.00     109.90        $76,930.00

 JIS        Stang, James I.             Partner          700.00      22.70        $15,890.00

 JMF        Fried, Joshua M.            Partner          700.00       3.70          $2,590.00

 KHB        Brown, Kenneth H.           Partner          700.00      35.00        $24,500.00

 LAF        Forrester, Leslie A.        Other            450.00       0.30           $135.00

 LFC        Cantor, Linda F.            Partner          700.00      33.00        $23,100.00

 MAM        Matteo, Mike A.             Paralegal        460.00       6.90          $3,174.00

 SWG        Golden, Steven W.           Associate        700.00       4.30          $3,010.00

                                                                   324.40         $221,173.00
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  Summary of Services by Task Code
  Task Code         Description                                Hours                         Amount

 AA                 Asset Analysis/Recovery[B120]                2.10                    $1,470.00

 BL                 Bankruptcy Litigation [L430]               255.50                 $177,986.00

 CA                 Case Administration [B110]                   7.00                    $3,433.00

 EB                 Employee Benefit/Pension-B220                0.80                        $560.00

 FE                 Fee/Employment Application                  20.60                  $10,844.00

 GC                 General Creditors Comm. [B150]              23.40                  $16,380.00

 ME                 Mediation                                    7.10                    $4,970.00

 PD                 Plan & Disclosure Stmt. [B320]               6.80                    $4,760.00

 SL                 Stay Litigation [B140]                       1.10                        $770.00

                                                               324.40                 $221,173.00
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  Summary of Expenses
  Description                                                                    Amount
Lexis/Nexis- Legal Research [E                                                  $622.78
Pacer - Court Research                                                           $40.60
Postage [E108]                                                                  $236.01
Reproduction Expense [E101]                                                     $330.00
Reproduction/ Scan Copy                                                          $45.60

                                                                               $1,274.99
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                                                                                        Hours            Rate     Amount

  Asset Analysis/Recovery[B120]
 09/02/2022   KHB     AA        Call with BRG, J. Stang, A. Caine and B. Knapp re        0.70        700.00           $490.00
                                debtor’s ability to fund settlement trust and at what
                                level.

 09/06/2022   KHB     AA        Call with BRG, J. Stang and R. Kubel re analysis of      1.10        700.00           $770.00
                                ability to pay on enterprise basis in connection with
                                mediation demand (.9); emails from Paul Shields
                                and Matt Babcock re same (.2).

 09/30/2022   AWC     AA        Read JW email regarding Howard sale extension and        0.30        700.00           $210.00
                                proposed motion.

                                                                                          2.10                    $1,470.00

  Bankruptcy Litigation [L430]
 08/02/2022   CHM     BL        Review of settlement agreements and other                1.30        700.00           $910.00
                                documents for details of abuse and settlements
                                related thereto; begin spreadsheet of same per A.
                                Caine request.

 08/05/2022   CHM     BL        Review email from A. Caine re abuse documents            0.80        700.00           $560.00
                                and reply (.1); continued review of documents (.7)

 08/06/2022   CHM     BL        Review settlement documents and prepare                 12.60        700.00       $8,820.00
                                spreadsheet re abuse and settlement details.

 08/07/2022   CHM     BL        Finalize spreadsheet with abuse details and email        1.50        700.00       $1,050.00
                                same to A. Caine.

 08/08/2022   CHM     BL        Review emails from A. Caine re abuse documents           0.30        700.00           $210.00
                                and reply; verify settlement agreement included in
                                spreadsheet.

 08/08/2022   CHM     BL        Review email from B. Knapp and reply.                    0.10        700.00            $70.00

 08/09/2022   CHM     BL        Update spreadsheet per A. Caine request.                 0.20        700.00           $140.00

 08/09/2022   CHM     BL        Download documents and prepare file for A. Caine         0.60        700.00           $420.00
                                review.

 08/17/2022   CHM     BL        Obtain document per A. Caine request.                    0.20        700.00           $140.00

 08/20/2022   LFC     BL        Review further case pleadings and outline                3.00        700.00       $2,100.00
                                questions/issues for addressing response to dismissal
                                motions

 09/01/2022   AWC     BL        Read recently produced documents (1.90); emails          2.20        700.00       $1,540.00
                                with JW, James I. Stang and Locke regarding
                                non-debtor litigation stay stipulation (.30).
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                                                                                        Hours           Rate     Amount

 09/01/2022   CHM     BL        Download/upload files and add to Everlaw; brief          0.40       700.00           $280.00
                                review of same.

 09/01/2022   LFC     BL        Review and consider 5th Circuit and other cases          1.60       700.00       $1,120.00
                                regarding standing matters

 09/01/2022   MAM     BL        Pull cases and review and summarize for Linda F.         1.60       460.00           $736.00
                                Cantor regarding derivative standing for Committee
                                to pursue with litigation.

 09/01/2022   MAM     BL        Locate and forward cases to Linda F. Cantor              0.20       460.00            $92.00
                                regarding derivative standing for Committee to
                                pursue with litigation.

 09/02/2022   AWC     BL        Read recently produced documents.                        4.10       700.00       $2,870.00

 09/02/2022   LFC     BL        Review cases cited in motions to dismiss                 1.60       700.00       $1,120.00

 09/02/2022   LFC     BL        Further research regarding standing, property of the     1.50       700.00       $1,050.00
                                estate

 09/05/2022   AWC     BL        Read recently produced documents.                        5.10       700.00       $3,570.00

 09/06/2022   AWC     BL        Call with JW regarding case issues (.70); call with      1.50       700.00       $1,050.00
                                BRG regarding additional information for mediation
                                (.80).

 09/06/2022   CHM     BL        Review email from A. Caine re document                   0.10       700.00            $70.00
                                annotations and reply.

 09/06/2022   LFC     BL        Research authority and standing issues on core           1.30       700.00           $910.00
                                administrative case matters

 09/07/2022   AWC     BL        Emails with BRG regarding assets issues/additional       0.60       700.00           $420.00
                                information needed, and read underlying documents.

 09/07/2022   KHB     BL        Emails with J. Stang and Linda Cantor re opposition      0.60       700.00           $420.00
                                to motion to dismiss complaint (.2); emails with M.
                                Babcock and A. Caine re restricted asset analysis for
                                portfolios A and B (.4).

 09/07/2022   LFC     BL        Review cases and case summaries of authorities           1.00       700.00           $700.00
                                cited by debtors in motions to dismiss

 09/07/2022   BDD     BL        Legal research for L. Cantor re derivative standing      1.80       460.00           $828.00
                                for Committee to bring declaratory relief action

 09/08/2022   AWC     BL        Emails with Locke and James I. Stang regarding           0.90       700.00           $630.00
                                various discovery and case issues/strategy (.40);
                                review BRG updated analyses and emails thereon
                                (.50).

 09/08/2022   KHB     BL        Email from L. Cantor re MTD opposition (.1); email       0.30       700.00           $210.00
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                                                                                       Hours           Rate     Amount
                                B. Knapp re discovery (.1); email A. Caine re
                                discovery (.1).
 09/08/2022   KHB     BL        Emails with MB re Claro report.                         0.20       700.00           $140.00

 09/08/2022   LFC     BL        Prepare notes and outline concerning review and         2.30       700.00       $1,610.00
                                analysis of cases and issues in response to motions
                                to dismiss adversary complaint

 09/09/2022   KHB     BL        Emails with B. Knapp and A. Caine re Claro report.      0.20       700.00           $140.00

 09/09/2022   LFC     BL        Further research and review of legal issues and         7.10       700.00       $4,970.00
                                drafting of outline for preparation of response to
                                motions to dismiss adversary complaint

 09/10/2022   LFC     BL        Further research, review cases and work on outline      3.40       700.00       $2,380.00
                                for opposition to motions to dismiss

 09/11/2022   LFC     BL        Further research and analysis for opposition to         3.70       700.00       $2,590.00
                                motions to dismiss

 09/11/2022   LFC     BL        Consider research notes, alternative arguments and      5.20       700.00       $3,640.00
                                draft inserts to brief

 09/12/2022   AWC     BL        Emails with Locke regarding document issues (.30);      0.80       700.00           $560.00
                                emails with JW regarding additional documents and
                                account information and read ANO document
                                response (.50).

 09/12/2022   KHB     BL        Emails with A. Caine and B. Knapp re Claro              0.20       700.00           $140.00
                                analysis.

 09/13/2022   AWC     BL        Call with JW regarding case issues (.40); call with     1.70       700.00       $1,190.00
                                Locke and James I. Stang regarding case issues
                                (.20); call with Locke and James I. Stang regarding
                                discovery issues/strategy/hearing (.50); emails with
                                JW regarding additional information and hearing on
                                motion to compel (.20); emails with Locke and
                                Draper regarding affiliate document production
                                (.40); call with James I. Stang regarding Draper
                                email and emails with Locke thereon (.20).

 09/13/2022   IAWN BL           Exchange emails with Andrew Caine and Stang re          0.10       700.00            $70.00
                                Claro work

 09/13/2022   KHB     BL        Confer with J. Stang and L. Cantor re opposition to     0.30       700.00           $210.00
                                MTD.

 09/14/2022   AWC     BL        Review affiliates letter and production and emails      3.30       700.00       $2,310.00
                                with BRG and Locke thereon (.80); review produced
                                documents (1.60); emails with JW regarding updated
                                privilege log, remaining productions and skim log
                                and new documents (.90).
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                                                                                        Hours           Rate     Amount

 09/14/2022   KHB     BL        Emails with J. Elkin re opposition to MTD.               0.30       700.00           $210.00

 09/14/2022   JE      BL        Correspondence with L. Cantor and K. Brown               0.20       700.00           $140.00
                                regarding objection to motion to dismiss.

 09/15/2022   AWC     BL        Read TCC motion for leave to file amicus brief and       1.90       700.00       $1,330.00
                                emails with Locke thereon (.90); emails with Locke
                                and Claro regarding information for analysis (.20);
                                emails with Locke and counsel regarding O’Donnell
                                motion to reconsider and read related documents
                                (.80); emails with Locke re hearing (.20); emails
                                with team regarding TCC brief/legal issues (.30).

 09/15/2022   CHM     BL        Download/upload files and add to Everlaw; brief          0.50       700.00           $350.00
                                review of same.

 09/15/2022   KHB     BL        Review motion to file Amicus brief in support of         1.20       700.00           $840.00
                                MTD and cited authorities (.5); emails with R.
                                Kubel, J. Stang and J. Elkin re same (.3); work on
                                opposition to MTD (.4).

 09/15/2022   LFC     BL        Telephone call with Judith Elkin regarding               0.70       700.00           $490.00
                                opposition to motions to dismiss adversary
                                complaint filed by Committee

 09/15/2022   LFC     BL        Review email correspondence regarding litigation         0.20       700.00           $140.00
                                matters and emails to Judith Elkin concerning same

 09/15/2022   JE      BL        Review complaint, amended complaint, motions to          5.70       700.00       $3,990.00
                                dismiss and related research and memos on litigation
                                by TCC against various parishes and other third
                                parties to collect assets.

 09/15/2022   JE      BL        Call with L. Cantor regarding background of              0.70       700.00           $490.00
                                complaint.

 09/15/2022   JE      BL        Correspondence with K. Brown regarding                   0.20       700.00           $140.00
                                opposition to motion to dismiss.

 09/15/2022   JE      BL        Start outline of opposition.                             0.70       700.00           $490.00

 09/16/2022   AWC     BL        Read recently produced documents (1.90); emails          3.10       700.00       $2,170.00
                                with TCC and Locke regarding discovery issues
                                (.20); read and analyze TCC amicus brief (.50); read
                                O’Donnell motion for reconsideration and review
                                prior motion/documents (.50).

 09/16/2022   KHB     BL        Emails with J. Elkin re opposition to MTD (.3);          0.80       700.00           $560.00
                                work on opposition (.5).

 09/16/2022   JE      BL        Review various case law pleadings and documents          7.20       700.00       $5,040.00
                                in conjunction with analyses of issues for opposition
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                                                                                        Hours           Rate     Amount
                                to motions to dismiss.
 09/17/2022   AWC     BL        Emails with team regarding declaratory relief action     0.30       700.00           $210.00
                                briefing, issues.

 09/17/2022   JE      BL        Review various case law pleadings and documents          6.80       700.00       $4,760.00
                                in conjunction with analyses of issues for opposition
                                to motions to dismiss.

 09/17/2022   JE      BL        Review initial draft of response from L. Cantor and      1.80       700.00       $1,260.00
                                outline opposition brief.

 09/17/2022   JE      BL        Miscellaneous correspondence with J. Stang, K.           0.50       700.00           $350.00
                                Brown and A. Caine regarding opposition brief.

 09/17/2022   JE      BL        Review correspondence from M. Babcock regarding          0.30       700.00           $210.00
                                applicable investment and bank accounts on debtor’s
                                schedules and SOFAs.

 09/18/2022   JE      BL        Work on opposition brief to motion to dismiss UCC        6.40       700.00       $4,480.00
                                adversary.

 09/19/2022   AWC     BL        Read recently produced documents (1.70); emails          2.10       700.00       $1,470.00
                                with Locke regarding discovery issues (.20); emails
                                with Locke regarding O’Donnell motion, evidence
                                (.20).

 09/19/2022   KHB     BL        Work on opposition to Motion to Dismiss.                 1.70       700.00       $1,190.00

 09/19/2022   JE      BL        Work on opposition brief to motion to dismiss UCC        9.70       700.00       $6,790.00
                                adversary.

 09/20/2022   AWC     BL        Read recently produced documents (2.90); emails          3.10       700.00       $2,170.00
                                with team regarding opposition to ANO motion to
                                dismiss (.20).

 09/20/2022   JE      BL        Work on opposition brief to motion to dismiss UCC        9.70       700.00       $6,790.00
                                adversary.

 09/20/2022   JE      BL        Call with A. Katz regarding research needed on           0.60       700.00           $420.00
                                necessary parties in Louisiana.

 09/20/2022   JE      BL        Review and respond to correspondence from K.             0.30       700.00           $210.00
                                Brown regarding response to amicus brief of
                                Commercial Committee.

 09/21/2022   AWC     BL        Read recently produced documents (2.90); emails          3.30       700.00       $2,310.00
                                with team regarding opposition to motion to
                                dismiss/amicus and issues (.40).

 09/21/2022   JIS     BL        Call with K. Brown regarding response to motion to       0.10       700.00            $70.00
                                dismiss.
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                                                                                        Hours           Rate     Amount

 09/21/2022   JIS     BL        Review cash management orders relating to                0.20       700.00           $140.00
                                opposition to motion to dismiss.

 09/21/2022   KHB     BL        Work on opposition to MTD (1.7); emails with J.          2.10       700.00       $1,470.00
                                Elkin re same (.4).

 09/21/2022   JE      BL        Work on opposition brief to motion to dismiss UCC        5.20       700.00       $3,640.00
                                adversary.

 09/22/2022   AWC     BL        Read recently produced documents (3.20); call with       5.10       700.00       $3,570.00
                                BRG regarding documents/information missing
                                from affiliate and ANO productions (.80); read
                                exhibits to O’Donnell motion and emails with
                                counsel thereon (.90); read revised letter to counsel
                                regarding real estate questions (.20).

 09/22/2022   JE      BL        Review memo and case law on necessary party              1.20       700.00           $840.00
                                under Louisiana law.

 09/22/2022   JE      BL        Work on opposition brief to motion to dismiss UCC        4.20       700.00       $2,940.00
                                adversary.

 09/23/2022   AWC     BL        Read recently produced documents (1.10); emails          2.10       700.00       $1,470.00
                                with team and Locke regarding opposition to motion
                                to dismiss and read underlying research memo (.60);
                                emails with Locke and team regarding documents
                                relating to O’Donnell motion (.40).

 09/23/2022   CHM     BL        Review documents for O'Donnell references, review        0.90       700.00           $630.00
                                and download same.

 09/23/2022   JIS     BL        Review memo regarding opposition to motion to            0.50       700.00           $350.00
                                dismiss.

 09/23/2022   JIS     BL        Review memo regarding opposition to motion to            0.20       700.00           $140.00
                                dismiss.

 09/23/2022   KHB     BL        work on opposition to MTD.                               2.40       700.00       $1,680.00

 09/23/2022   JE      BL        Work on opposition brief to motion to dismiss UCC       10.30       700.00       $7,210.00
                                adversary.

 09/24/2022   JE      BL        Work on opposition brief to motion to dismiss UCC        9.50       700.00       $6,650.00
                                adversary.

 09/25/2022   JE      BL        Work on opposition brief to motion to dismiss UCC        8.00       700.00       $5,600.00
                                adversary and distribute to team.

 09/26/2022   AWC     BL        Emails with Locke and team regarding opposition to       1.70       700.00       $1,190.00
                                motion to dismiss and review draft (.90); emails with
                                Draper regarding document production (.20); read
                                documents regarding O’Donnell motion (.60).
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 09/26/2022   KHB     BL        Work on opposition to motions to dismiss (5.1);           5.70       700.00       $3,990.00
                                emails with J. Stang re same (.2); emails with J.
                                Elkin re same (.2); emails with A. Caine re same
                                (.2).

 09/26/2022   JE      BL        Correspondence with K. Brown and J. Stang                 0.30       700.00           $210.00
                                regarding relationship between ANO and parishes
                                and distribute first day affidavit.

 09/26/2022   JE      BL        Correspondence with K. Brown regarding response           0.10       700.00            $70.00
                                to amicus brief.

 09/27/2022   AWC     BL        Review O’Donnell documents and emails with                1.90       700.00       $1,330.00
                                Locke and team regarding opposition strategy
                                (1.20); call with JW regarding case issues (.50);
                                emails with Locke regarding affiliate hard copy
                                production (.20).

 09/27/2022   KHB     BL        Work on opposition to MTDs.                               6.40       700.00       $4,480.00

 09/27/2022   JE      BL        Review amicus brief filed by Commercial                   3.10       700.00       $2,170.00
                                Committee and work on response brief.

 09/27/2022   JE      BL        Review docket of Oregon Diocese case regarding            0.50       700.00           $350.00
                                standing issue and correspondence with L. Cantor
                                and K. Brown regarding same.

 09/28/2022   AWC     BL        Read recently produced documents (2.60); emails           3.60       700.00       $2,520.00
                                with Locke and BRG regarding new affiliate
                                document production (.30); read BRG report of
                                ANO receivables (.30); emails with team and Locke
                                regarding O’Donnell documents/motion (.20); read
                                Edmonds stay relief motion (.20).

 09/28/2022   CHM     BL        Review settlement agreements referencing                  0.50       700.00           $350.00
                                O'Donnell; review spreadsheet of same; email A.
                                Caine re same.

 09/28/2022   KHB     BL        Work on opposition to motions to dismiss.                 4.00       700.00       $2,800.00

 09/28/2022   JE      BL        Work on response to amicus brief.                         3.20       700.00       $2,240.00

 09/28/2022   JE      BL        Review miscellaneous case law cited in amicus             1.60       700.00       $1,120.00
                                brief.

 09/28/2022   JE      BL        Review two memos on best interest’s of creditors          0.80       700.00           $560.00
                                test and extract portions for inclusion in response to
                                amicus brief.

 09/29/2022   AWC     BL        Read recently produced documents (1.70); emails           3.10       700.00       $2,170.00
                                with JW regarding case issues (.20); read DR
                                affidavit regarding Xclaim (.10); review and review
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                                                                                        Hours            Rate      Amount
                                revised draft opposition to motion to dismiss (1.10).
 09/29/2022   KHB     BL        Work on opposition to MTDs.                               1.70       700.00       $1,190.00

 09/29/2022   JE      BL        Finalize draft response to amicus brief.                  8.30       700.00       $5,810.00

 09/29/2022   JE      BL        Review and outline miscellaneous case law cited in        1.80       700.00       $1,260.00
                                Perkins case cited in Amicus Brief.

 09/29/2022   JE      BL        Review comments of K. Brown on draft Opposition           0.80       700.00           $560.00
                                to Motions to Dismiss.

 09/29/2022   JE      BL        Correspondence with K. Brown and A. Caine                 0.20       700.00           $140.00
                                regarding briefing.

 09/30/2022   AWC     BL        Review and revise opposition to motion to dismiss         3.80       700.00       $2,660.00
                                (2.40); read TCC proposed “clarification” motion
                                regarding access to documents and emails with
                                Locke thereon (.30); read Claro email and charts
                                regarding coverage/claim questions (.30); skim
                                review of recent affiliate production (.80).

 09/30/2022   KHB     BL        Work on opposition to MTDs (4.4); work on                 4.90       700.00       $3,430.00
                                response to Amicus Brief (.5).

                                                                                        255.50                  $177,986.00

  Case Administration [B110]
 09/01/2022   MAM     CA        Review dockets and update critical dates                  0.30       460.00           $138.00
                                memorandum.

 09/02/2022   MAM     CA        Review dockets, update and circulate critical dates       0.30       460.00           $138.00
                                memorandum.

 09/06/2022   MAM     CA        Review dockets regarding critical dates                   0.30       460.00           $138.00
                                memorandum.

 09/06/2022   BDD     CA        Email L. Cantor re case research                          0.10       460.00            $46.00

 09/07/2022   MAM     CA        Review dockets regarding critical dates                   0.30       460.00           $138.00
                                memorandum.

 09/08/2022   MAM     CA        Review dockets and updates to critical dates              0.40       460.00           $184.00
                                memorandum.

 09/09/2022   MAM     CA        Review dockets and update and circulate critical          0.30       460.00           $138.00
                                dates memorandum.

 09/12/2022   DG      CA        Call with J. Stang re: Town Hall (.3); emails with S.     0.50       700.00           $350.00
                                Golden re: same (.1); work on setting up questions
                                email account (.1)
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 09/12/2022   MAM     CA        Review dockets and update critical dates               0.40        460.00           $184.00
                                memorandum.

 09/13/2022   MAM     CA        Review dockets and update critical dates               0.30        460.00           $138.00
                                memorandum.

 09/13/2022   JMF     CA        Review amended and updated procedures re               0.40        700.00           $280.00
                                complex cases general order.

 09/13/2022   BDD     CA        Email G. Brown re Town Hall notice                     0.10        460.00            $46.00

 09/13/2022   BDD     CA        Review link to updated procedures for complex          0.30        460.00           $138.00
                                chapter 11 cases (EDLA) and emails J. Fried and M.
                                Kulick re same

 09/14/2022   MAM     CA        Review dockets and update critical dates               0.30        460.00           $138.00
                                memorandum.

 09/15/2022   MAM     CA        Review dockets and update critical dates               0.20        460.00            $92.00
                                memorandum.

 09/20/2022   MAM     CA        Review dockets and update and circulate critical       0.40        460.00           $184.00
                                dates memorandum.

 09/22/2022   BDD     CA        Attend to calendaring matters.                         0.10        460.00            $46.00

 09/26/2022   MAM     CA        Review dockets and update critical dates               0.40        460.00           $184.00
                                memorandum.

 09/26/2022   LAF     CA        Update docket on creditor website.                     0.30        450.00           $135.00

 09/27/2022   MAM     CA        Review dockets and update critical dates               0.30        460.00           $138.00
                                memorandum.

 09/28/2022   MAM     CA        Review dockets regarding critical dates                0.20        460.00            $92.00
                                memorandum.

 09/29/2022   MAM     CA        Review dockets and update critical dates               0.40        460.00           $184.00
                                memorandum.

 09/29/2022   BDD     CA        Attend to calendaring matters with B. Anavim and       0.10        460.00            $46.00
                                M. Kulick

 09/30/2022   MAM     CA        Review dockets, update and circulate critical dates    0.30        460.00           $138.00
                                memorandum.

                                                                                        7.00                    $3,433.00

  Employee Benefit/Pension-B220
 09/01/2022   JIS     EB        Review and respond to emails regarding access to       0.20        700.00           $140.00
                                opinion on pension.
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 09/01/2022   JIS     EB        Continued review of precedent regarding pension          0.60        700.00           $420.00
                                memorandum.

                                                                                          0.80                        $560.00

  Fee/Employment Application
 09/07/2022   GNB     FE        Email with Chris Peirce regarding non-payments of        0.10        700.00            $70.00
                                Court-ordered fees; Email with Andrew W. Caine,
                                Linda F. Cantor, and Beth D. Dassa regarding same.

 09/07/2022   GNB     FE        Revise draft notice of non-compliance with fee           0.60        700.00           $420.00
                                orders (.3); Revise declaration of Linda F. Cantor in
                                support thereof (.2); Email with Beth D. Dassa
                                regarding draft notice of non-compliance with fee
                                orders and declarations in support thereof (.1).

 09/07/2022   LFC     FE        Review payment history and notice of non-payment         0.40        700.00           $280.00
                                of professional fees (.3) and e-mail memos regarding
                                next steps (.1)

 09/07/2022   BDD     FE        Email K. McNalley re payment to Claro Group on           0.10        460.00            $46.00
                                account of first quarterly fee application

 09/07/2022   BDD     FE        Emails V. Arias re payment to PSZJ on account of         0.10        460.00            $46.00
                                6th interim fee application

 09/07/2022   BDD     FE        Email M. Haverkamp re BRG payment on account             0.10        460.00            $46.00
                                of 5th interim fee application

 09/07/2022   BDD     FE        Email G. Brown re Claro Group non-payment                0.10        460.00            $46.00

 09/07/2022   BDD     FE        Email G. Brown re declarations in support of Notice      0.10        460.00            $46.00
                                of Non-Compliance with Fee Orders

 09/07/2022   BDD     FE        Email G. Brown re BRG & Claro Group updated              0.10        460.00            $46.00
                                payment status (re interim fee applications)

 09/07/2022   BDD     FE        Work on Notice of Non-Compliance with Fee                2.10        460.00           $966.00
                                Orders and declarations of Committee professionals
                                re same (1.8), and multiple emails to A. Caine & L.
                                Cantor re same (.20); calls with/emails to G. Brown
                                re same (.10)

 09/08/2022   GNB     FE        Email Beth D. Dassa regarding edit to Linda F.           0.10        700.00            $70.00
                                Cantor's declaration in support of notice of Debtor's
                                non-compliance with fee orders.

 09/08/2022   BDD     FE        Multiple revisions to Notice of Non-Compliance re        1.10        460.00           $506.00
                                Fee Orders and L. Cantor declaration, and emails G.
                                Brown re same
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 09/09/2022   GNB     FE        Revised second draft of notice of Debtor's              0.30       700.00           $210.00
                                non-compliance with fee orders.

 09/09/2022   GNB     FE        Revise second draft of Linda F. Cantor's declaration    0.20       700.00           $140.00
                                in support of notice of Debtor's non-compliance with
                                fee orders.

 09/11/2022   GNB     FE        Email with PSZJ team regarding delinquent payment       0.10       700.00            $70.00
                                from Debtor on fee orders.

 09/12/2022   GNB     FE        Telephone conference with James I. Stang regarding      0.10       700.00            $70.00
                                notice of Debtor non-compliance with fee orders.

 09/12/2022   GNB     FE        Multiple telephone conferences with Beth D. Dassa       0.20       700.00           $140.00
                                regarding notice of Debtor non-compliance with fee
                                orders.

 09/12/2022   GNB     FE        Emails to Bradley Knapp and Steven Bryant               0.10       700.00            $70.00
                                regarding notice of Debtor non-compliance with fee
                                orders.

 09/12/2022   GNB     FE        Email with internal PSZJ group regarding notice of      0.10       700.00            $70.00
                                Debtor non-compliance with fee orders and
                                declarations thereon.

 09/12/2022   BDD     FE        Analyze all payments to PSZJ from 4/21 to 7/22 and      1.50       460.00           $690.00
                                prepare spreadsheet re same (1.3); emails PSZJ team
                                re same (.20)

 09/12/2022   BDD     FE        Email G. Brown re July fee reductions                   0.10       460.00            $46.00

 09/12/2022   BDD     FE        Multiple revisions to Notice re Non Compliance          1.40       460.00           $644.00
                                with Fee Orders and Declaration of L. Cantor re
                                same

 09/12/2022   BDD     FE        Multiple telephone conferences with Gillian Brown       0.20       460.00            $92.00
                                regarding notice of Debtor non-compliance with fee
                                orders.

 09/12/2022   BDD     FE        Emails N. Brown re monthly fee statements               0.10       460.00            $46.00

 09/13/2022   GNB     FE        Email James I. Stang regarding unpaid fees and          0.10       700.00            $70.00
                                expenses, and Thursday's hearing.

 09/13/2022   GNB     FE        Email with Andrew W. Caine regarding unpaid fees        0.10       700.00            $70.00
                                and expenses; Email with Linda F. Cantor regarding
                                same.

 09/13/2022   BDD     FE        Prepare supplement to PSZJ July fee statement and       0.40       460.00           $184.00
                                email L. Cantor re same

 09/13/2022   BDD     FE        Review PSZJ outstanding fee amounts (.10) Emails        0.50       460.00           $230.00
                                Claro and BRG re updated outstanding fee amounts
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                                (.10) and email L. Cantor re same (.30)
 09/13/2022   BDD     FE        Emails G. Brown re next round of quarterly fee         0.20       460.00            $92.00
                                applications

 09/14/2022   GNB     FE        Email John L. Spencer III and Chris Peirce             0.10       700.00            $70.00
                                regarding ANO's late payments of professionals
                                fees; Email Paul N. Shields and Matthew K.
                                Babcock regarding same; Email Katie McNally
                                regarding same.

 09/14/2022   BDD     FE        Email L. Cantor re service of supplemental fee         0.10       460.00            $46.00
                                statement re July 1-31, 2022

 09/14/2022   BDD     FE        Email J. Washington re PSZJ supplemental fee           0.10       460.00            $46.00
                                statement (July 1-31, 2022)

 09/15/2022   JMF     FE        Review and edit PSZJ August statement.                 1.40       700.00           $980.00

 09/15/2022   JMF     FE        Review BRG, Rock Creek and Claro statements and        0.40       700.00           $280.00
                                discrepancies re debtor's non payment of approved
                                fees.

 09/16/2022   JMF     FE        Review PSZJ statement.                                 0.40       700.00           $280.00

 09/16/2022   BDD     FE        Email O. Carpio re PSZJ Aug monthly fee statement      0.10       460.00            $46.00

 09/19/2022   BDD     FE        Email N. Brown re PSZJ monthly fee statements          0.10       460.00            $46.00

 09/19/2022   BDD     FE        Email L. Cantor and G. Brown re outstanding fees of    0.10       460.00            $46.00
                                professionals

 09/20/2022   BDD     FE        Prepare PSZJ Aug monthly fee statement and email       0.80       460.00           $368.00
                                R. Rothman re same

 09/20/2022   BDD     FE        Email A. Caine and L. Cantor re PSZJ Aug monthly       0.10       460.00            $46.00
                                fee statement

 09/20/2022   BDD     FE        Email V. Arias re PSZJ Aug monthly fee statement       0.10       460.00            $46.00

 09/21/2022   JMF     FE        Review PSZJ August fee statement.                      0.80       700.00           $560.00

 09/21/2022   BDD     FE        Emails L. Cantor and J. Fried re PSZJ Aug fee          0.20       460.00            $92.00
                                statement

 09/21/2022   BDD     FE        Email C. Curts re PSZJ Aug LEDES file                  0.10       460.00            $46.00

 09/21/2022   BDD     FE        Email J. Fried re service of Aug fee statements for    0.10       460.00            $46.00
                                Committee professionals

 09/22/2022   GNB     FE        Email PSZJ team regarding November fee                 0.10       700.00            $70.00
                                applications.

 09/22/2022   BDD     FE        Email G. Brown re Rock Creek payment                   0.10       460.00            $46.00
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 09/22/2022   BDD     FE        Email P. Shields & M. Haverkamp re 5th interim fee      0.10        460.00            $46.00
                                application

 09/22/2022   BDD     FE        Email K. Sallie at Claro re interim fee procedures      0.20        460.00            $92.00

 09/22/2022   BDD     FE        Email G. Brown re next round of fee applications        0.10        460.00            $46.00

 09/22/2022   BDD     FE        Review deadlines for next round of fee apps and         0.20        460.00            $92.00
                                email L. Cantor, J. Fried and G. Brown re same

 09/23/2022   BDD     FE        Email L. Cantor re PSZJ Aug fee statement               0.10        460.00            $46.00

 09/24/2022   BDD     FE        Email G. Brown re Claro & BRG payments on               0.10        460.00            $46.00
                                account of interim fee applications

 09/27/2022   BDD     FE        Email P. Shields re BRG payment on account of 5th       0.10        460.00            $46.00
                                interim fee application

 09/28/2022   BDD     FE        Review/revise Claro Aug fee statement and emails        0.50        460.00           $230.00
                                K. McNally re same

 09/28/2022   BDD     FE        Email P. Shields and M. Haverkamp re BRG Aug            0.10        460.00            $46.00
                                fee statement

 09/28/2022   BDD     FE        Multiple emails to L. Cantor and M. Haverkamp re        0.50        460.00           $230.00
                                BRG shortfall re 5th interim fee application

 09/28/2022   BDD     FE        Prepare Rock Creek Aug fee statement and emails         0.50        460.00           $230.00
                                C. Peirce and J. Spencer re same

 09/28/2022   BDD     FE        Emails L. Cantor and K. McNally re Claro 1st            0.20        460.00            $92.00
                                interim fee application

 09/28/2022   BDD     FE        Email L. Cantor re professional fee payments on         0.10        460.00            $46.00
                                account of last round of interim fee applications

 09/29/2022   BDD     FE        Email V. Arias re PSZJ July fee statement               0.10        460.00            $46.00

 09/29/2022   BDD     FE        Email C. Peirce re Rock Creek Aug fee statement         0.10        460.00            $46.00

 09/29/2022   BDD     FE        Email M. Haverkamp and P. Shields re BRG Aug            0.10        460.00            $46.00
                                fee statement

 09/29/2022   BDD     FE        Review/assemble for service Aug fee statements for      1.60        460.00           $736.00
                                PSZJ, Rock Creek, BRG, and Claro, and multiple
                                emails professionals, L. Cantor, N. Brown, M.
                                Haverkamp, and notice parties re same (.10); prepare
                                cover letters (4) for service of PSZJ, Rock Creek,
                                BRG, and Claro Aug fee statements (.50)

                                                                                        20.60                  $10,844.00
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  General Creditors Comm. [B150]
 09/02/2022   AWC     GC        Emails and call with Locke and James I. Stang           0.30       700.00           $210.00
                                regarding committee meetings/issues/approach.

 09/06/2022   AWC     GC        Committee meeting.                                      1.10       700.00           $770.00

 09/06/2022   JIS     GC        Status call with Debtor regarding non-monetaries,       1.00       700.00           $700.00
                                parish stay, property sale.

 09/06/2022   JIS     GC        Committee meeting.                                      1.10       700.00           $770.00

 09/06/2022   JIS     GC        Prepare outline for town hall meeting.                  0.30       700.00           $210.00

 09/07/2022   AWC     GC        Emails with James I. Stang, Locke and counsel           1.10       700.00           $770.00
                                regarding topics for counsel meeting, town hall
                                concept, other meetings (.40); read materials for
                                town hall meetings (.40); review and review notice
                                of town hall meeting (.30).

 09/08/2022   AWC     GC        Emails with Locke,. James I. Stang and counsel          0.70       700.00           $490.00
                                regarding town hall and read revised notice.

 09/08/2022   JIS     GC        Call B. Knapp regarding town hall notice and            0.20       700.00           $140.00
                                service.

 09/08/2022   JIS     GC        Call with staff to coordinate URL for creditor site.    0.20       700.00           $140.00

 09/12/2022   JIS     GC        Call with B. Knapp re issues to discuss on town hall    0.50       700.00           $350.00
                                meeting.

 09/12/2022   JIS     GC        Call with D. Grassgreen regarding town hall             0.30       700.00           $210.00
                                organization.

 09/12/2022   SWG     GC        Begin preparing Q&A for Survivor Town Hall.             0.60       700.00           $420.00

 09/13/2022   AWC     GC        Committee meeting.                                      1.50       700.00       $1,050.00

 09/13/2022   DG      GC        Review Town Hall outline                                0.50       700.00           $350.00

 09/13/2022   JIS     GC        Call with Debtor re status and follow up call with      0.90       700.00           $630.00
                                Locke Lord.

 09/13/2022   JIS     GC        Call with S. Golden re case background for town         0.60       700.00           $420.00
                                hall Q&A.

 09/13/2022   JIS     GC        Prepare for meeting with Committee to review open       0.50       700.00           $350.00
                                mediation issues.

 09/13/2022   JIS     GC        Draft outline for town hall.                            1.60       700.00       $1,120.00

 09/13/2022   JMF     GC        Review notice re town hall and emails to Brown and      0.30       700.00           $210.00
                                Amala re same.
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 09/13/2022   SWG     GC        Case background discussion with J. Stang for Town       0.60        700.00           $420.00
                                Hall meeting

 09/14/2022   AWC     GC        Review notes for town hall meeting and emails with      0.50        700.00           $350.00
                                James I. Stang and Locke thereon (.30); emails with
                                committee regarding mediation decisions (.20).

 09/14/2022   SWG     GC        Prepare slideshow for Committee town hall               1.00        700.00           $700.00

 09/15/2022   JIS     GC        Call R. Kuebel and B. Knapp regarding town hall,        0.30        700.00           $210.00
                                plan issues.

 09/16/2022   JIS     GC        Prep with Locke Lord on town hall subjects.             1.00        700.00           $700.00

 09/16/2022   SWG     GC        Prepare for first Town Hall meeting.                    1.00        700.00           $700.00

 09/19/2022   JIS     GC        Attend preparation call with state court counsel for    1.00        700.00           $700.00
                                attorney meeting.

 09/20/2022   AWC     GC        Committee town hall meeting.                            1.10        700.00           $770.00

 09/20/2022   JIS     GC        Call with state court counsel regarding case status.    1.00        700.00           $700.00

 09/20/2022   SWG     GC        Prepare for and attend town hall                        1.10        700.00           $770.00

 09/21/2022   JIS     GC        Call with B. Knapp and R. Kuebel regarding              0.40        700.00           $280.00
                                responses to town hall.

 09/21/2022   JIS     GC        Call Steve Golden re monitoring attendance figures      0.10        700.00            $70.00
                                for town hall and email box.

 09/27/2022   AWC     GC        Committee meeting.                                      1.00        700.00           $700.00

                                                                                        23.40                  $16,380.00

  Mediation
 09/02/2022   JIS     ME        Call R. Kuebel regarding monetary demand in             0.40        700.00           $280.00
                                mediation.

 09/07/2022   KHB     ME        Emails with M. Babcock and J. Stang re mediation        0.20        700.00           $140.00
                                issues.

 09/13/2022   IAWN ME           Telephone conference with TCC re mediation              1.50        700.00       $1,050.00
                                strategy

 09/13/2022   IAWN ME           Prep for mediation reviewing slotting chart             0.20        700.00           $140.00

 09/13/2022   IAWN ME           Exchange emails with Andrew Caine and Stang re          0.20        700.00           $140.00
                                Claro chart

 09/13/2022   JIS     ME        Call with Committee regarding mediation issues.         1.50        700.00       $1,050.00
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 09/13/2022   JIS     ME        Call with Locke Lord and Andrew W. Caine                0.50        700.00           $350.00
                                regarding issues related to mediation on child
                                protection program.

 09/14/2022   JIS     ME        Call with K. McNally regarding insurance                0.40        700.00           $280.00
                                allocation.

 09/15/2022   IAWN ME           Review emails between Claro and Locke and Stang         0.10        700.00            $70.00
                                re SOL

 09/15/2022   JIS     ME        Draft mediation offer.                                  1.60        700.00       $1,120.00

 09/19/2022   AWC     ME        Read revised mediation demand and emails thereon.       0.20        700.00           $140.00

 09/19/2022   JIS     ME        Finalize settlement demand including call with B.       0.30        700.00           $210.00
                                Knapp (.1)

                                                                                         7.10                    $4,970.00

  Plan & Disclosure Stmt. [B320]
 09/01/2022   JIS     PD        Review and send letter regarding non-monetary           0.10        700.00            $70.00
                                issues to Debtor.

 09/02/2022   AWC     PD        Call with BRG regarding asset and contribution          1.00        700.00           $700.00
                                analysis (1.00); read BRG analysis of asset category
                                and emails with BRG thereon (.30).

 09/06/2022   JIS     PD        (Partial) Attend meeting with BRG regarding             0.50        700.00           $350.00
                                monetary demand.

 09/07/2022   AWC     PD        Emails with BRG regarding plan/mediation analysis.      0.30        700.00           $210.00

 09/09/2022   JIS     PD        Attend meeting with state court counsel regarding       2.40        700.00       $1,680.00
                                monetary demand.

 09/12/2022   AWC     PD        Read BRG revised analyses and emails with BRG           0.60        700.00           $420.00
                                thereon (.30); emails with Locke regarding
                                mediation issues/discussions (.30).

 09/13/2022   IAWN PD           Review court decision re committee                      0.20        700.00           $140.00

 09/14/2022   IAWN PD           Review Stang email re status and demand (.1) and        0.20        700.00           $140.00
                                comment on same (.1)

 09/14/2022   JIS     PD        Prepare email to committee regarding voting on          0.50        700.00           $350.00
                                mediation demand.

 09/14/2022   JIS     PD        Call with Locke Lord re email communication             0.10        700.00            $70.00
                                relating to vote on monetary demand.

 09/14/2022   JIS     PD        Review ballot received from debtor on 9/14 and          0.50        700.00           $350.00
                                submit comments to Debtor.
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                                                                                    Hours            Rate       Amount

 09/15/2022   AWC     PD        Emails with James I. Stang and Locke regarding       0.40        700.00           $280.00
                                potential proposals and read draft memo.

                                                                                      6.80                     $4,760.00

  Stay Litigation [B140]
 09/01/2022   JIS     SL        Draft response to M. Mintz email regarding parish    0.90        700.00           $630.00
                                stipulation.

 09/19/2022   JIS     SL        Call Jason Amala regarding issues related to         0.20        700.00           $140.00
                                insurance and stay.

                                                                                      1.10                        $770.00

  TOTAL SERVICES FOR THIS MATTER:                                                                           $221,173.00
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 Expenses
 09/08/2022   RE        ( 839 @0.20 PER PG)                           167.80
 09/08/2022   RE        ( 8 @0.20 PER PG)                               1.60
 09/08/2022   RE        ( 803 @0.20 PER PG)                           160.60
 09/08/2022   RE2       SCAN/COPY ( 20 @0.10 PER PG)                    2.00
 09/09/2022   PO        Postage [E108]                                233.13
 09/11/2022   LN        05067.00002 Lexis Charges for 09-11-22         67.13
 09/13/2022   RE2       SCAN/COPY ( 21 @0.10 PER PG)                    2.10
 09/14/2022   RE2       SCAN/COPY ( 22 @0.10 PER PG)                    2.20
 09/14/2022   RE2       SCAN/COPY ( 10 @0.10 PER PG)                    1.00
 09/14/2022   RE2       SCAN/COPY ( 17 @0.10 PER PG)                    1.70
 09/14/2022   RE2       SCAN/COPY ( 13 @0.10 PER PG)                    1.30
 09/14/2022   RE2       SCAN/COPY ( 28 @0.10 PER PG)                    2.80
 09/14/2022   RE2       SCAN/COPY ( 50 @0.10 PER PG)                    5.00
 09/14/2022   RE2       SCAN/COPY ( 20 @0.10 PER PG)                    2.00
 09/14/2022   RE2       SCAN/COPY ( 33 @0.10 PER PG)                    3.30
 09/14/2022   RE2       SCAN/COPY ( 21 @0.10 PER PG)                    2.10
 09/14/2022   RE2       SCAN/COPY ( 34 @0.10 PER PG)                    3.40
 09/16/2022   LN        05067.00002 Lexis Charges for 09-16-22         10.34
 09/17/2022   LN        05067.00002 Lexis Charges for 09-17-22         41.39
 09/18/2022   LN        05067.00002 Lexis Charges for 09-18-22         10.34
 09/18/2022   LN        05067.00002 Lexis Charges for 09-18-22          5.53
 09/18/2022   LN        05067.00002 Lexis Charges for 09-18-22         33.22
 09/20/2022   LN        05067.00002 Lexis Charges for 09-20-22         31.04
 09/20/2022   RE2       SCAN/COPY ( 24 @0.10 PER PG)                    2.40
 09/20/2022   RE2       SCAN/COPY ( 22 @0.10 PER PG)                    2.20
 09/20/2022   RE2       SCAN/COPY ( 2 @0.10 PER PG)                     0.20
 09/20/2022   RE2       SCAN/COPY ( 17 @0.10 PER PG)                    1.70
 09/20/2022   RE2       SCAN/COPY ( 24 @0.10 PER PG)                    2.40
 09/21/2022   LN        05067.00002 Lexis Charges for 09-21-22         18.69
 09/23/2022   LN        05067.00002 Lexis Charges for 09-23-22         10.34
 09/24/2022   LN        05067.00002 Lexis Charges for 09-24-22        124.21
 09/25/2022   LN        05067.00002 Lexis Charges for 09-25-22         41.39
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 09/26/2022   LN        05067.00002 Lexis Charges for 09-26-22          65.41
 09/27/2022   LN        05067.00002 Lexis Charges for 09-27-22           9.35
 09/28/2022   LN        05067.00002 Lexis Charges for 09-28-22          93.16
 09/28/2022   LN        05067.00002 Lexis Charges for 09-28-22          19.85
 09/29/2022   LN        05067.00002 Lexis Charges for 09-29-22          41.39
 09/29/2022   PO        Postage [E108]                                   2.88
 09/29/2022   RE2       SCAN/COPY ( 22 @0.10 PER PG)                     2.20
 09/29/2022   RE2       SCAN/COPY ( 33 @0.10 PER PG)                     3.30
 09/29/2022   RE2       SCAN/COPY ( 9 @0.10 PER PG)                      0.90
 09/29/2022   RE2       SCAN/COPY ( 1 @0.10 PER PG)                      0.10
 09/29/2022   RE2       SCAN/COPY ( 13 @0.10 PER PG)                     1.30
 09/30/2022   PAC       Pacer - Court Research                          40.60

   Total Expenses for this Matter                                 $1,274.99
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                                                REMITTANCE ADVICE

                                    Please include this Remittance with your payment

For current services rendered through:        09/30/2022

Total Fees                                                                                           $221,173.00

Total Expenses                                                                                           1,274.99

Total Due on Current Invoice                                                                         $222,447.99

  Outstanding Balance from prior invoices as of        09/30/2022          (May not include recent payments)

A/R Bill Number          Invoice Date                Fees Billed        Expenses Billed             Balance Due
 130360                  06/30/2022                $181,667.00             $439.17                     $4,410.00

 130569                  07/31/2022                 $87,980.00          $18,673.68                   $106,653.68

 130739                  08/31/2022                $113,090.00            $3,407.82                  $116,497.82

             Total Amount Due on Current and Prior Invoices:                                         $450,009.49
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                                    EXHIBIT D

                                Monthly Fee Statement
                                   October 2022




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                           IN THE UNITED STATES BANKRUPTCY COURT
                                EASTERN DISTRICT OF LOUISIANA

       In re:                                                      Case No. 20-10846

       THE ROMAN CATHOLIC CHURCH                                   Section “A”
       OF THE ARCHDIOCESE OF NEW
       ORLEANS,                                                    Chapter 11
                          Debtor. 1
                                                                   Objection Deadline: December 7, 2022




                         MONTHLY FEE AND EXPENSE STATEMENT OF
                     PACHULSKI STANG ZIEHL & JONES LLP FOR THE PERIOD
                         OCTOBER 1, 2022 THROUGH OCTOBER 31, 2022

                1.    In accordance with Section XIII(B) of the Court’s December 4, 2019 General

   Order Regarding Procedures for Complex Chapter 11 Cases (the “Complex Case Order”),

   Pachulski Stang Ziehl & Jones LLP (“PSZJ”), co-counsel to The Official Committee of Unsecured

   Creditors (the “Committee”) in this Chapter 11 case concerning the above captioned debtor and

   debtor-in-possession (the “Debtor”) hereby submits its Monthly Fee and Expense Statement (the

   “Statement”) for the period from October 1, 2022 through October 31, 2022 (the “Statement

   Period”) for the above-styled Chapter 11 bankruptcy case (the “Bankruptcy Case”).

                ITEMIZATION OF SERVICES RENDERED AND EXPENSES INCURRED

                2.    A summary of the services rendered by PSZJ for which compensation is sought for

   the Statement Period, organized by project category, is attached hereto as Exhibit A.

                3.    A listing of PSZJ attorneys and paraprofessionals (collectively, the “Timekeepers”)

   who rendered service to the Debtor in connection with the Bankruptcy Case during the Statement


   1
     The last four digits of the Debtor’s federal tax identification number are 8966. The Debtor’s principal place of
   business is located at 7887 Walmsley Ave., New Orleans, LA 70125.



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   Period, including the hourly rate, title, and fees earned by each Timekeeper, is attached hereto as

   Exhibit B.

           4.       A summary of expenses incurred by PSZJ during the Statement Period for which

   reimbursement is sought is attached hereto as Exhibit C.

           5.       The detailed time records of PSZJ for the Statement Period are attached hereto as

   Exhibit D.

           6.       In addition, under separate cover, the detailed time records under Exhibit D are

   being sent to the Office of the United States Trustee in the LEDES format.

           7.       As of the date hereof, PSZJ has received fees and expenses totaling $3,088,273.04.

          TOTAL FEES AND EXPENSES SOUGHT FOR THE STATEMENT PERIOD

           8.       The total amounts sought for fees for professional services rendered and

   reimbursement of expenses incurred for the Statement Period are as follows:

                                      October 1, 2022 to October 31, 2022

                    Fees (at standard rates):                       $221,771.00

                    Reduction due to reduced rates2:                ($104,029.00)

                    Reduction due to fee write-offs:                  ($1,540.00)

                    Fees (After reductions):                       $116,202.00

                    Expenses:                                         $4,320.87

                    Total                                          $120,522.87




   2
      As disclosed in the Firm’s employment application, the Firm is utilizing rates that are substantially reduced from
   standard rates so that attorney time is capped at a maximum rate of $700 per hour. The reduction set forth here
   accounts for the reduction from the following standard rates: G. Brown ($925); J. Fried ($1,145); A. Caine ($1,295);
   I. Nasatir ($1,295); J. Elkin ($1,325); L. Cantor ($1,395); K. Brown ($1,395); and J. Stang ($1,525).


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                                NOTICE AND OBJECTION PROCEDURES

           9.       In accordance with the Interim Compensation Order, notice of the Statement has

   been served upon the following parties (“Notice Parties”) as required by the Complex Case Order:

   (i) counsel for the Debtor, Mark Mintz, Esq., Jones Walker LLP, 201 St. Charles Ave, New

   Orleans, LA 70170-5100; (ii) counsel for the prepetition secured lender, Hancock Whitney Bank,

   David F. Waguespack, Esq., Carver, Darden, Koretzky, Tessier, Finn, Blossman & Areaux,

   L.L.C., 1100 Poydras Street, Suite 3100, New Orleans, Louisiana 70163-1102; (iii) KS State Bank,

   1010 Westloop, P.O. Box 69, Manhattan KS 66505-0069; (iv) Dell Financial Svc LP, Mail Stop

   P82DF, 23 One Dell Way, Round Rock TX 78682; (v) David S. Rubin, Butler Snow LLP,

   445 North Boulevard, Suite 300, Baton Rouge, LA 70802; (vi) Colleen Murphy, Greenberg

   Traurig, One International Place, Suite 2000, Boston, MA 02110; (vii) Annette Jarvis, Greenberg

   Traurig, 222 S. Main Street, Fifth Floor, Salt Lake City, UT 84101; and (viii) Amanda George,

   Esq., Office of The United States Trustee, 400 Poydras Street, Suite 2110, New Orleans, LA

   70130; and (ix) Stewart Robbins Brown & Altazan, LLC, 301 Main Street, Suite 1640, P.O. Box

   2348, Baton Rouge, LA 70821-2348.

           10.      Also pursuant to the Complex Case Order, any objections to this Statement must

   be asserted on or before December 7, 2022 (the “Objection Deadline”), setting forth the nature of

   the objection and the specific amount of fees or expenses at issue.

           11.      If no objections to the Statement are received on or before the Objection Deadline,

   the Debtor, pursuant to the Complex Case Order, is authorized to pay PSZJ on an interim basis the

   total amount of $97,282.47, which consists of (a) eighty percent (80%) of PSZJ’s total fees of

   $116,202.00 for the Statement Period in the amount of $92,961.60, plus (b) one hundred percent

   (100%) of total expenses incurred during the Statement Period of $4,320.87.



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           12.      To the extent an objection to the Statement is received on or before the Objection

   Deadline, the Debtor is to withhold payment of that portion of the Statement to which the objection

   is directed and will promptly pay the remainder of the fees and disbursements in the percentages

   set forth above. To the extent such objection is not resolved, it shall be preserved and scheduled

   for consideration at the next interim fee application hearing.

    Dated: November 23, 2022                             Respectfully submitted,

                                                         By: /s/ Linda F. Cantor
                                                         James I. Stang (CA Bar No. 94435)
                                                         Linda F. Cantor (CA Bar No.153762)
                                                         Pachulski Stang Ziehl & Jones LLP 10100
                                                         Santa Monica Blvd., Suite 1300
                                                         Los Angeles, CA 90067
                                                         Telephone: (310)-277-6910
                                                         Facsimile: (310)-201-0760
                                                         Email: jstang@pszjlaw.com
                                                                  lcantor@pszjlaw.com

                                                         Co-Counsel to the Official Committee of Unsecured
                                                         Creditors




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                                     EXHIBIT A




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                   SUMMARY OF COMPENSATION BY PROJECT CATEGORY
                           DURING COMPENSATION PERIOD
                       OCTOBER 1, 2022 THROUGH OCTBER 31, 2022


     Task Code                         Description            Hours      Amount

         AA                      Asset Analysis/Recovery       17.90    $12,530.00

          BL                       Bankruptcy Litigation      120.80    $84,560.00

         CA                        Case Administration          6.10     $2,806.00

          FE                    Fee/Employment Application     10.70     $5,666.00

         GC                      General Creditors Comm.        5.30     $3,710.00

          IC                        Insurance Coverage          5.20     $3,640.00
         ME                             Mediation               3.20     $2,240.00
          PD                    Plan & Disclosure Statement     1.50     $1,050.00
                                                              170.70   $116,202.00




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                                     EXHIBIT B




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            COMPENSATION BY TIMEKEEPER DURING COMPENSATION PERIOD
                    OCTOBER 1, 2022 THROUGH OCTOBER 31, 2022


      ID                  Name            Title      Rate     Hours     Amount

      JIS            Stang, James I.    Partner     700.00    20.40    $14,280.00

    AWC            Caine, Andrew W.     Partner     700.00    45.50    $31,850.00

     LFC            Cantor, Linda F.     Partner    700.00     0.40     $280.00
    IAWN           Nasatir, Iain A.W.   Partner     700.00     6.90     $4,830.00
     JMF            Fried, Joshua M.    Partner     700.00     2.00     $1,400.00

     KHB          Brown, Kenneth H.     Partner     700.00    50.60    $35,420.00
      JE              Elkin, Judith     Counsel     700.00    31.00    $21,700.00
     GNB           Brown, Gillian N.    Counsel     700.00     0.20     $140.00

     BDD             Dassa, Beth D.     Paralegal   460.00     7.60     $3,496.00

    MAM             Matteo, Mike A.     Paralegal   $460.00    6.10     $2,806.00
                                                              170.70   $116,202.00




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                                     EXHIBIT C




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                                      EXPENSE SUMMARY
                               DURING COMPENSATION PERIOD
                           OCTOBER 1, 2022 THROUGH OCTOBER 31, 2022


                                  Description            Amount

                       Lexis Nexis (Legal Research)      $75.33
                       Outside Services                $2,233.00
                       Pacer-Court Research              $35.00
                       Postage                            $2.64
                       Reproduction/Scan Copy            $16.90
                       Research                        $1,958.00
                                                       $4,320.87




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                                     EXHIBIT D




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                               Pachulski Stang Ziehl & Jones LLP
                                       10100 Santa Monica Blvd.
                                              13th Floor
                                        Los Angeles, CA 90067
                                                                  October 31, 2022
JIS                                                               Invoice 131232
                                                                  Client   05067
                                                                  Matter   00002
                                                                           JIS

RE: Committee Representation

 _______________________________________________________________________________________

         STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 10/31/2022
               FEES                                               $116,202.00
               EXPENSES                                             $4,320.87
               TOTAL CURRENT CHARGES                              $120,522.87

               BALANCE FORWARD                                    $360,951.81
               LAST PAYMENT                                        $93,879.82
               TOTAL BALANCE DUE                                  $387,594.86
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  Summary of Services by Professional
  ID        Name                        Title             Rate       Hours               Amount

 AWC        Caine, Andrew W.            Partner          700.00      45.50         $31,850.00

 BDD        Dassa, Beth D.              Paralegal        460.00       7.60             $3,496.00

 GNB        Brown, Gillian N.           Counsel          700.00       0.20              $140.00

 IAWN       Nasatir, Iain A. W.         Partner          700.00       6.90             $4,830.00

 JE         Elkin, Judith               Counsel          700.00      31.00         $21,700.00

 JIS        Stang, James I.             Partner          700.00      20.40         $14,280.00

 JMF        Fried, Joshua M.            Partner          700.00       2.00             $1,400.00

 KHB        Brown, Kenneth H.           Partner          700.00      50.60         $35,420.00

 LFC        Cantor, Linda F.            Partner          700.00       0.40              $280.00

 MAM        Matteo, Mike A.             Paralegal        460.00       6.10             $2,806.00

                                                                   170.70          $116,202.00
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  Summary of Services by Task Code
  Task Code         Description                                Hours                         Amount

 AA                 Asset Analysis/Recovery[B120]               17.90                      $12,530.00

 BL                 Bankruptcy Litigation [L430]               120.80                      $84,560.00

 CA                 Case Administration [B110]                   6.10                       $2,806.00

 FE                 Fee/Employment Application                  10.70                       $5,666.00

 GC                 General Creditors Comm. [B150]               5.30                       $3,710.00

 IC                 Insurance Coverage                           5.20                       $3,640.00

 ME                 Mediation                                    3.20                       $2,240.00

 PD                 Plan & Disclosure Stmt. [B320]               1.50                       $1,050.00

                                                               170.70                  $116,202.00
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  Summary of Expenses
  Description                                                                     Amount
Lexis/Nexis- Legal Research [E                                                    $75.33
Outside Services                                                               $2,233.00
Pacer - Court Research                                                            $35.00
Postage [E108]                                                                     $2.64
Reproduction/ Scan Copy                                                           $16.90
Research [E106]                                                                $1,958.00

                                                                               $4,320.87
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                                                                                           Hours           Rate       Amount

  Asset Analysis/Recovery[B120]
 10/03/2022   AWC     AA        Emails with Locke and with counsel regarding                0.30        700.00         $210.00
                                Howard Ave sale, extension, and review revised
                                order.

 10/06/2022   AWC     AA        Review Draper response to request for documents             0.30        700.00         $210.00
                                regarding NDHS and SAG sale.

 10/12/2022   JIS     AA        Call with BRG and Locke Lord regarding assisted             1.00        700.00         $700.00
                                living facility transactions.

 10/18/2022   JIS     AA        Research regarding Louisiana LCs and restrictions           0.30        700.00         $210.00
                                on membership.

 10/19/2022   KHB     AA        Confer with J. Stang re estate's interest in sale of        0.90        700.00         $630.00
                                assisted living facility transaction (.6); review emails
                                from J. Stang re same (.3).

 10/20/2022   AWC     AA        Emails with team and Locke regarding strategy on            0.40        700.00         $280.00
                                NHDS/SAG sale.

 10/20/2022   JIS     AA        Review LA law on dissolution of LLCs and                    0.40        700.00         $280.00
                                disposition of proceeds.

 10/20/2022   JIS     AA        Call with B. Knapp regarding issues related to LLC          0.50        700.00         $350.00
                                sales.

 10/20/2022   JIS     AA        Continued research regarding dissolution and                2.50        700.00        $1,750.00
                                distributions from non-profit entity.

 10/20/2022   KHB     AA        Emails with J. Stang re sale of assisted living             1.60        700.00        $1,120.00
                                facilities (.6); confer with J. Stang re same (.5);
                                review organizational and governing documents of
                                NDHS (.5).

 10/21/2022   JIS     AA        Attend meeting with Commercial committee                    1.20        700.00         $840.00
                                regarding sale of assisted living facilities.

 10/21/2022   JIS     AA        Call K. Brown regarding assisted living facility sales      0.70        700.00         $490.00
                                and role of Archdiocese re same.

 10/21/2022   KHB     AA        Analyze governing documents and authorities re              4.00        700.00        $2,800.00
                                estate’s interest in sale of assisted living facilities
                                and consider grounds require additional disclosures
                                (2.3); telephone call with J. Stang re same (.5);
                                confer with Doug Stweard, Paul Shields, R. Kubel,
                                J. Stang re same (1.2).

 10/24/2022   KHB     AA        Emails from B. Knapp, R. Kubel, Paul Shields and            0.50        700.00         $350.00
                                counsel for Commercial Committee re strategy for
                                obtaining information regarding sale of assisted
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                                                                                         Hours            Rate        Amount
                                living facilities.
 10/25/2022   JIS     AA        Call regarding assisted living facilities open issues.    1.00         700.00          $700.00

 10/25/2022   KHB     AA        Confer with counsel for Commercial Committee, R.          1.20         700.00          $840.00
                                Kubel, S. Bryant, BRG and Dundon re questions
                                concerning sale of assisted living facilities (.9);
                                email from S. Bryant re Rule 2004 discovery on sale
                                of assisted living facilities (.3).

 10/27/2022   AWC     AA        Emails with Locke regarding Howard Ave status             0.60         700.00          $420.00
                                (.20); read ANO motion to sell Rampart property
                                and amended motion regarding Howard (.40).

 10/30/2022   KHB     AA        Review letter from D. Drapper re responses to             0.30         700.00          $210.00
                                inquiries on sale of assisted living facility

 10/31/2022   KHB     AA        Emails with Paul Shields and R. Kubel re response         0.20         700.00          $140.00
                                to information provided by D. Drapper on sale of
                                assisted living facilities

                                                                                          17.90                      $12,530.00

  Bankruptcy Litigation [L430]
 10/01/2022   KHB     BL        Work on opposition to MTDs and amicus brief.              2.50         700.00         $1,750.00

 10/01/2022   JE      BL        Call with K. Brown regarding objection and amicus.        0.10         700.00           $70.00

 10/01/2022   JE      BL        Review revisions of A. Caine on Opposition brief.         0.60         700.00          $420.00

 10/02/2022   JE      BL        Review revisions and comments from A. Caine and           2.20         700.00         $1,540.00
                                K. Brown on opposition and amicus brief.

 10/02/2022   JE      BL        Review and revise opposition and amicus response          6.70         700.00         $4,690.00
                                briefs and consolidate.

 10/02/2022   JE      BL        Research 5th circuit law on declaratory judgment          1.30         700.00          $910.00
                                usage.

 10/03/2022   AWC     BL        Review and edit revised brief in opposition to            1.70         700.00         $1,190.00
                                motion to dismiss and amicus (1.10); emails with
                                BRG regarding response to affiliate production and
                                revise draft response (.60).

 10/03/2022   JIS     BL        Call K. Brown re opposition to dismissal motion.          0.30         700.00          $210.00

 10/03/2022   JIS     BL        Review draft opposition to dismissal motion.              1.20         700.00          $840.00

 10/03/2022   KHB     BL        Work on opposition to MTDs and Amicus Brief               4.00         700.00         $2,800.00
                                (3.6); confer with J. Stang re suggested revisions to
                                opposition brief (.4).
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 10/03/2022   JE      BL        Review and revise combined opposition brief and           2.80        700.00        $1,960.00
                                amicus response.

 10/03/2022   JE      BL        Correspondence with K. Brown regarding certain            0.20        700.00         $140.00
                                comments from J. Stang.

 10/03/2022   JE      BL        Research Fifth Circuit law on derivative claims.          0.70        700.00         $490.00

 10/04/2022   AWC     BL        Emails with team and Locke regarding opposition to        1.20        700.00         $840.00
                                motion to dismiss, etc. (.30); call with Locke
                                regarding opposition to O’Donnell motion, strategy
                                (.30); emails with JW and Locke regarding
                                additional produced documents (.20); emails with
                                Iain A. W. Nasatir and Claro regarding coverage
                                issues (.20); emails with BRG regarding affiliate
                                documents (.20).

 10/04/2022   KHB     BL        Work on opposition to MTD (.7); emails from M.            1.00        700.00         $700.00
                                Babcock, B. Knapp and A. Caine re discovery letter
                                (.3).

 10/04/2022   JE      BL        Correspondence with K. Brown regarding amicus             0.20        700.00         $140.00
                                response.

 10/04/2022   JE      BL        Correspondence with Mr. Caine regarding analyses          0.20        700.00         $140.00
                                of estate claims as alleged by Commercial
                                Committee.

 10/06/2022   AWC     BL        Call with O’Donnell counsel regarding motion (.30);       2.60        700.00        $1,820.00
                                review and revise revised opposition to motion to
                                dismiss/amicus (.90); review recently produced
                                documents (1.40).

 10/06/2022   KHB     BL        Work on opposition to MTDs (1.2); emails with A.          1.50        700.00        $1,050.00
                                Caine, J. Elkin and J. Stang re same (.3).

 10/06/2022   JE      BL        Correspondence with J. Stang, K. Brown and A.             0.20        700.00         $140.00
                                Caine regarding amicus response.

 10/06/2022   JE      BL        Review comments and revisions of B. Knapp on              0.50        700.00         $350.00
                                opposition brief and amicus response.

 10/07/2022   AWC     BL        Review and revise letter to Draper regarding affiliate    4.40        700.00        $3,080.00
                                documents and emails with Locke and BRG thereon
                                (.60); emails with JW and counsel regarding
                                O’Donnell motion (.20); read revised opposition to
                                motions to dismiss and emails with Locke and team
                                regarding edits, strategy (.80); read recently
                                produced documents (2.80).

 10/07/2022   KHB     BL        Work on opposition to motion to dismiss.                  0.60        700.00         $420.00
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 10/07/2022   KHB     BL        Confer with J. Stang re debtor’s request to continue      0.20        700.00         $140.00
                                hearing on MTD.

 10/07/2022   JE      BL        Review and revise brief including comments from           5.20        700.00        $3,640.00
                                B. Knapp, A. Caine and K. Brown.

 10/07/2022   JE      BL        Correspondence with J. Stang regarding revisions.         0.10        700.00          $70.00

 10/08/2022   JE      BL        Final proof and revise opposition brief and               4.30        700.00        $3,010.00
                                distribute.

 10/08/2022   JE      BL        Correspondence with J. Stang regarding revisions.         0.10        700.00          $70.00

 10/10/2022   AWC     BL        Read recently produced documents (2.40); emails           3.60        700.00        $2,520.00
                                with Locke and BRG regarding additional affiliate
                                information (.30); read final opposition to motions to
                                dismiss and emails with James I. Stang and Locke
                                thereon and regarding hearing (.70); emails with JW
                                regarding documents, privilege log (.20).

 10/10/2022   KHB     BL        Work on opposition to MTDs (.6); emails with R.           0.80        700.00         $560.00
                                Kubel, A. Caine and J. Stang re request to postpone
                                hearing date (.2).

 10/10/2022   JE      BL        Correspondence with J. Stang and K. Brown                 0.20        700.00         $140.00
                                regarding finalization of opposition brief.

 10/10/2022   JE      BL        Review and revise brief for filing.                       0.50        700.00         $350.00

 10/11/2022   AWC     BL        Call with JW regarding various case issues (.50);         0.90        700.00         $630.00
                                call with Locke regarding matters for Oct 17, 2022
                                hearing, additional discovery issues, strategy (.40).

 10/12/2022   AWC     BL        Read recently produced documents (2.20); review           2.40        700.00        $1,680.00
                                and revise motion to continue hearing on O’Donnell
                                motion (.20).

 10/12/2022   KHB     BL        Prepare for hearing on MTDs.                              1.60        700.00        $1,120.00

 10/13/2022   AWC     BL        Read recently produced documents (5.30); read             5.80        700.00        $4,060.00
                                order continuing O'Donnell motion and emails with
                                Locke regarding next steps (.20); emails with Locke
                                and team regarding hearing on motions to dismiss
                                (.10).

 10/13/2022   JIS     BL        Call Ken Brown regarding motion to dismiss                0.10        700.00          $70.00
                                opposition and Commercial committee.

 10/13/2022   KHB     BL        Emails with R. Kubel re Commercial Committee              3.10        700.00        $2,170.00
                                request to continue hearing on MTD (.2); confer
                                with J. Stang re same (.1); confer with Doug Stewart
                                re same (.2); emails with J. Stang, A. Caine and R.
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                                Kubel re continuation of MTD hearing (.3); prepare
                                for hearing on MTD (2.3).
 10/14/2022   AWC     BL        Read recently produced documents (4.40); call with      5.80        700.00        $4,060.00
                                Locke and team regarding hearing on motions to
                                dismiss, strategy issues (1.00); call with Locke
                                regarding discovery, strategy (.40).

 10/14/2022   JIS     BL        Call with Locke Lord and PSZJ regarding strategy        1.00        700.00         $700.00
                                for upcoming hearings.

 10/14/2022   KHB     BL        Prepare for hearing on MTD and analyze authority        3.90        700.00        $2,730.00
                                re same (3.0); call with R. Kubel, A. Caine and J.
                                Stang re MTD hearing and mediation issues (.9).

 10/16/2022   KHB     BL        Prepare for hearing on MTD.                             3.20        700.00        $2,240.00

 10/17/2022   AWC     BL        Emails with team regarding hearing on motion to         1.90        700.00        $1,330.00
                                dismiss, next steps (.30); review document
                                production status (.40); read and analyze updated
                                ESI privilege log (1.20).

 10/17/2022   JIS     BL        Call K. Brown re next steps after MTD ruling.           0.40        700.00         $280.00

 10/17/2022   JIS     BL        Attend hearing re MTD and stay relief.                  2.50        700.00        $1,750.00

 10/17/2022   KHB     BL        Prepare for hearing on MTD and review authorities       6.60        700.00        $4,620.00
                                re same (3.5); attend hearing on MTD (2.5); confer
                                with J. Stang re next steps (.4); email to Committee
                                re results of hearing (.2).

 10/17/2022   JE      BL        Attend hearing on motions to dismiss UCC                2.50        700.00        $1,750.00
                                adversary proceeding.

 10/18/2022   AWC     BL        Read and analyze updated ESI privilege log (2.20);      3.30        700.00        $2,310.00
                                emails with team and counsel regarding order on
                                motions to dismiss (.30); emails with BRG and
                                Locke regarding NDHS/SAG discovery (.60);
                                emails with James I. Stang and Locke regarding
                                discovery, mediation (.20).

 10/18/2022   KHB     BL        Review proposed order on MTD (.2); emails with         12.00        700.00        $8,400.00
                                Draper, Mintz and Altizan re proposed order on
                                MTD (.6); emails with Kubel, J. Stang and A. Caine
                                re same (.4).

 10/19/2022   AWC     BL        Emails with Locke and BRG regarding affiliate           0.60        700.00         $420.00
                                discovery and skim underlying documents (.40);
                                emails with Locke regarding mediation discovery
                                (.20).

 10/20/2022   AWC     BL        Call with James I. Stang regarding case                 0.50        700.00         $350.00
                                issues/strategy.
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 10/24/2022   AWC     BL        Emails with Locke, BRG and TCC regarding                  0.70        700.00          $490.00
                                NDHS/SAG discovery/issues and review revised
                                letter (.50); emails regarding O’Donnell motion,
                                documents (.20).

 10/25/2022   AWC     BL        Emails with Locke and TCC regarding NDHS/SAG              1.30        700.00          $910.00
                                discovery and review revised inquiry list (.40); read
                                Buffalo AG settlement and underlying documents
                                (.90).

 10/26/2022   AWC     BL        Emails with Locke and JW regarding O’Donnell              1.30        700.00          $910.00
                                motion (.20); review and revise opposition to
                                O’Donnell motion (.60); read decision regarding
                                entity issues (.60).

 10/27/2022   AWC     BL        Call with O’Donnell counsel and emails with Locke         1.90        700.00         $1,330.00
                                regarding motion to reconsider/opposition/exhibits
                                (.50); emails with JW and team regarding order
                                dismissing AP (.30); emails with team regarding AP
                                strategy (.20); read transcript of hearing on motions
                                to dismiss, O’Donnell matter (.60); review and
                                revise O’Donnell opposition (.30).

 10/27/2022   KHB     BL        Confer with A. Caine re next steps to obtain standing     0.70        700.00          $490.00
                                to pursue adversary proceeding (.1); emails with R.
                                Kubel and B. Knapp re same (.2); review email from
                                M. Mintz re order granting motion to dismiss and
                                proposed order (.2); emails with R. Kubel and B.
                                Knapp re same (.2)

 10/28/2022   AWC     BL        Emails with Locke and counsel regarding O’Donnell         1.30        700.00          $910.00
                                motion, review filed documents (1.20); read entered
                                order dismissing AP (.10).

 10/28/2022   JE      BL        Call with K. Brown regarding motion for standing.         0.10        700.00           $70.00

 10/29/2022   JE      BL        Review case law on standing and prior briefing on         2.30        700.00         $1,610.00
                                motion to dismiss.

 10/31/2022   AWC     BL        Emails with Locke regarding O’Donnell exhibits,           1.20        700.00          $840.00
                                hearing (.20); review correspondence regarding
                                NDHS/SAG sale and revise 2004 motion regarding
                                NDHS/SAG (.80); emails with Locke and team
                                regarding AP strategy (.20).

 10/31/2022   KHB     BL        Emails with J. Stang, Rick Kubel, A. Caine and B.         0.20        700.00          $140.00
                                Knapp re next steps in Portfolio A and Portfolio B
                                AVP

                                                                                        120.80                      $84,560.00
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  Case Administration [B110]
 10/04/2022   MAM     CA        Review dockets and update critical dates               0.30        460.00        $138.00
                                memorandum.

 10/05/2022   MAM     CA        Review dockets and update critical dates               0.30        460.00        $138.00
                                memorandum.

 10/06/2022   MAM     CA        Review dockets and update critical dates               0.30        460.00        $138.00
                                memorandum.

 10/07/2022   MAM     CA        Review dockets, update and circulate critical dates    0.40        460.00        $184.00
                                memorandum.

 10/10/2022   MAM     CA        Review dockets regarding critical dates                0.20        460.00         $92.00
                                memorandum.

 10/11/2022   MAM     CA        Review dockets regarding critical dates                0.20        460.00         $92.00
                                memorandum.

 10/12/2022   MAM     CA        Review dockets and updates to critical dates           0.40        460.00        $184.00
                                memorandum.

 10/13/2022   MAM     CA        Review dockets and updates to critical dates           0.20        460.00         $92.00
                                memorandum.

 10/14/2022   MAM     CA        Review dockets, update and circulate critical dates    0.40        460.00        $184.00
                                memorandum.

 10/17/2022   MAM     CA        Review dockets and update critical dates               0.30        460.00        $138.00
                                memorandum.

 10/18/2022   MAM     CA        Review dockets and update critical dates               0.30        460.00        $138.00
                                memorandum.

 10/19/2022   MAM     CA        Review dockets and updates to critical dates           0.30        460.00        $138.00
                                memorandum.

 10/21/2022   MAM     CA        Review dockets, update and circulate critical dates    0.40        460.00        $184.00
                                memorandum.

 10/24/2022   MAM     CA        Review dockets and update critical dates               0.30        460.00        $138.00
                                memorandum.

 10/25/2022   MAM     CA        Review dockets and update critical dates               0.40        460.00        $184.00
                                memorandum.

 10/26/2022   MAM     CA        Review dockets and update critical dates               0.30        460.00        $138.00
                                memorandum.

 10/27/2022   MAM     CA        Review dockets and update critical dates               0.50        460.00        $230.00
                                memorandum.
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 10/28/2022   MAM     CA        Update and circulate critical dates memorandum.       0.30         460.00         $138.00

 10/31/2022   MAM     CA        Review dockets and updates to critical dates          0.30         460.00         $138.00
                                memorandum.

                                                                                       6.10                      $2,806.00

  Fee/Employment Application
 10/06/2022   AWC     FE        Review TCC application to employ Zobrio and           0.20         700.00         $140.00
                                emails with Locke thereon.

 10/06/2022   AWC     FE        Review Locke proposed response regarding fee          0.30         700.00         $210.00
                                applications and emails with Locke thereon.

 10/12/2022   JMF     FE        Review and edit PSZJ September statement.             1.40         700.00         $980.00

 10/13/2022   JMF     FE        Review PSZJ bill and edits to same (.4); emails re    0.60         700.00         $420.00
                                non payment of approved committee fees (.2).

 10/13/2022   BDD     FE        Email V. Arias re PSZJ Sept monthly fee statement     0.10         460.00          $46.00

 10/13/2022   BDD     FE        Email J. Fried re PSZJ Sept invoice                   0.10         460.00          $46.00

 10/13/2022   BDD     FE        Emails accounting re PSZJ September fee statement     0.10         460.00          $46.00

 10/13/2022   BDD     FE        Review outstanding amounts owed to PSZJ               0.30         460.00         $138.00
                                (July/Aug 2022) and email A. Caine and L. Cantor
                                re same

 10/13/2022   BDD     FE        Prepare PSZJ September monthly fee statement          0.70         460.00         $322.00

 10/19/2022   GNB     FE        Email team regarding Claro acquisition.               0.10         700.00          $70.00

 10/20/2022   BDD     FE        Revisions to PSZJ Sept monthly fee statement and      0.20         460.00          $92.00
                                email J. Fried re same

 10/20/2022   BDD     FE        Email V. Arias re PSZJ Sept. monthly fee statement    0.10         460.00          $46.00

 10/20/2022   BDD     FE        Review Claro Sept. fee statement and email K.         0.30         460.00         $138.00
                                McNally re same

 10/21/2022   BDD     FE        Revisions/additons to PSZJ September monthly fee      1.40         460.00         $644.00
                                statement and emails G. Brown re same

 10/25/2022   BDD     FE        Email C. Curts re PSZJ Sept. monthly fee              0.10         460.00          $46.00
                                statement/LEDES file

 10/25/2022   BDD     FE        Revisions to PSZJ September fee statement per         0.20         460.00          $92.00
                                additional payment received

 10/25/2022   BDD     FE        Revisions to Claro's 4th monthly fee statement        0.40         460.00         $184.00
                                (Sept. 2022) and email K. McNally re same
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 10/25/2022   BDD     FE        Email P. Shields and M. Haverkamp re BRG Sept.         0.10        460.00         $46.00
                                fee statement

 10/25/2022   BDD     FE        Email L. Cantor re Committee profesionals'             0.10        460.00         $46.00
                                September fee statements

 10/26/2022   GNB     FE        Email with John L. Spencer III and Chris Peirce        0.10        700.00         $70.00
                                regarding bill for fee application.

 10/26/2022   LFC     FE        Review PSZJ and Claro professional fee statements      0.20        700.00        $140.00
                                and correspondence with Patricia Moody regarding
                                same

 10/26/2022   BDD     FE        Email C. Curts re PSZJ Sept LEDES file                 0.10        460.00         $46.00

 10/26/2022   BDD     FE        Revisions to PSZJ Sept fee statement and email N.      0.30        460.00        $138.00
                                Brown re same

 10/26/2022   BDD     FE        Email K. McNally re Claro Group's Sept fee             0.10        460.00         $46.00
                                statement

 10/26/2022   BDD     FE        Email K. McNally re LEDES file for Claro Sept fee      0.10        460.00         $46.00
                                statement

 10/26/2022   BDD     FE        Revisions to Claro Group's Sept fee statement and      0.20        460.00         $92.00
                                email N. Brown re same

 10/26/2022   BDD     FE        Email N. Brown re Claro Group's Sept fee statement     0.10        460.00         $46.00

 10/26/2022   BDD     FE        Email L. Cantor re PSZJ and Claro's fee statements     0.10        460.00         $46.00

 10/26/2022   BDD     FE        Email J. Fried and L. Cantor re Sept fee statements    0.10        460.00         $46.00
                                of all C'tee professionals

 10/26/2022   BDD     FE        Email G. Brown re Rock Creek Sept fee statement        0.10        460.00         $46.00

 10/27/2022   BDD     FE        Email M. Haverkamp and P. Shields re BRG Sept          0.10        460.00         $46.00
                                fee statement

 10/27/2022   BDD     FE        Prepare Rock Creek Sept fee statement and email C.     0.70        460.00        $322.00
                                Peirce re same

 10/27/2022   BDD     FE        Email N. Brown re cover letters for PSZJ, Rock         0.10        460.00         $46.00
                                Creek, BRG and Claro's September fee statements

 10/27/2022   BDD     FE        Email N. Brown re mailing of C'tee Sept fee            0.10        460.00         $46.00
                                statements

 10/28/2022   LFC     FE        Review BRG and Rock Creek professional fee             0.20        700.00        $140.00
                                statements and correspondence with Patricia Moody
                                regarding same

 10/28/2022   BDD     FE        Email C. Peirce re Rock Creek Sept fee statement       0.10        460.00         $46.00
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 10/28/2022   BDD     FE        Multiple emails to/calls with N. Brown re PSZJ,         0.40         460.00         $184.00
                                Claro Group, BRG and Rock Creek Sept fee
                                statements

 10/28/2022   BDD     FE        Email M. Haverkamp re BRG LEDES file re Sept            0.10         460.00          $46.00
                                fee statement

 10/28/2022   BDD     FE        Email L. Cantor re Rock Creek & BRG September           0.10         460.00          $46.00
                                fee statements

 10/28/2022   BDD     FE        Review all finalized Sept fee statements of C'tee       0.30         460.00         $138.00
                                professionals, including LEDES files, and email
                                notice parties re same

 10/28/2022   BDD     FE        Email G. Brown re PSZJ Sept invoice                     0.10         460.00          $46.00

 10/31/2022   BDD     FE        Email M. Haverkamp re BRG September fee                 0.10         460.00          $46.00
                                statement

                                                                                        10.70                      $5,666.00

  General Creditors Comm. [B150]
 10/11/2022   AWC     GC        Committee meeting.                                      0.80         700.00         $560.00

 10/11/2022   JIS     GC        Call with Debtor and co-counsel re case status.         0.40         700.00         $280.00

 10/17/2022   JIS     GC        Call R. Kuebel regarding status of mediation,           0.40         700.00         $280.00
                                counteroffer and case status.

 10/18/2022   JIS     GC        Call with R. Kuebel regarding case status, including    1.10         700.00         $770.00
                                issues with commercial committee, debtor's
                                mediation stance; MTD next steps.

 10/18/2022   JIS     GC        Status call with Debtor.                                0.50         700.00         $350.00

 10/18/2022   JIS     GC        Call with Committee member regarding case status.       0.70         700.00         $490.00

 10/19/2022   JIS     GC        Call with K. Brown regarding sale issues of             0.70         700.00         $490.00
                                non-debtor affiliates and plan issues.

 10/20/2022   JIS     GC        Call A. Caine regarding case status including next      0.70         700.00         $490.00
                                steps after MTD ruing and discovery.

                                                                                         5.30                      $3,710.00

  Insurance Coverage
 10/04/2022   IAWN IC           Review Claro coverage questions and respond with        4.80         700.00        $3,360.00
                                review and analysis of ANO insurance production

 10/04/2022   IAWN IC           Exchange emails with Andrew W Caine and Claro re        0.20         700.00         $140.00
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                                                                                        Hours            Rate       Amount
                                coverage
 10/10/2022   IAWN IC           Exchange emails with Knapp re SOL study                  0.10         700.00          $70.00

 10/10/2022   IAWN IC           Review Knapp agenda                                      0.10         700.00          $70.00

                                                                                          5.20                      $3,640.00

  Mediation
 08/04/2022   JIS     ME        Call B. Knapp regarding plan issues.                     0.60         700.00         $420.00

 10/17/2022   JIS     ME        Call G. Zive regarding status of mediation and AD        0.50         700.00         $350.00
                                counteroffer.

 10/18/2022   IAWN ME           Telephone call with TCC re status                        0.70         700.00         $490.00

 10/18/2022   IAWN ME           Telephone call with James I Stang re mediation           0.30         700.00         $210.00
                                issues

 10/18/2022   JIS     ME        Call G. Zive regarding mediation status.                 0.20         700.00         $140.00

 10/18/2022   JIS     ME        Call I. Nasatir regarding status of mediation issues.    0.30         700.00         $210.00

 10/24/2022   JIS     ME        Call G. Zive regarding status of response to counter     0.10         700.00          $70.00
                                offer.

 10/24/2022   JIS     ME        Call R. Kuebel regarding status of AD failure to         0.10         700.00          $70.00
                                respond to counteroffer.

 10/26/2022   AWC     ME        Read ANO mediation response and emails with              0.20         700.00         $140.00
                                James I. Stang and Locke thereon.

 10/26/2022   IAWN ME           Review debtor's letter re settlement                     0.20         700.00         $140.00

                                                                                          3.20                      $2,240.00

  Plan & Disclosure Stmt. [B320]
 10/11/2022   IAWN PD           Telephone call with TCC (p/o) re status                  0.50         700.00         $350.00

 10/19/2022   JIS     PD        Call R. Kuebel regarding plan issues and                 0.50         700.00         $350.00
                                constitutionality of claims.

 10/25/2022   JIS     PD        Review non monetary issues settlement between            0.50         700.00         $350.00
                                NYAG and Buffalo for consideration by ANO.

                                                                                          1.50                      $1,050.00

  TOTAL SERVICES FOR THIS MATTER:                                                                               $116,202.00
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 Expenses
 09/30/2022   OS        Everlaw, Inv. 66749, Archdiocese of New Orleans database      1,958.00
                        for the month of September
 10/02/2022   LN        05067.00002 Lexis Charges for 10-02-22                           17.33
 10/03/2022   LN        05067.00002 Lexis Charges for 10-03-22                           15.79
 10/03/2022   LN        05067.00002 Lexis Charges for 10-03-22                           17.33
 10/11/2022   LN        05067.00002 Lexis Charges for 10-11-22                            1.19
 10/12/2022   RE2       SCAN/COPY ( 22 @0.10 PER PG)                                      2.20
 10/12/2022   RE2       SCAN/COPY ( 41 @0.10 PER PG)                                      4.10
 10/12/2022   RE2       SCAN/COPY ( 17 @0.10 PER PG)                                      1.70
 10/13/2022   RE2       SCAN/COPY ( 14 @0.10 PER PG)                                      1.40
 10/14/2022   LN        05067.00002 Lexis Charges for 10-14-22                           15.79
 10/18/2022   OS        Rust Consulting, Inv.2022-1369, LFC                             275.00
 10/21/2022   LN        05067.00002 Lexis Charges for 10-21-22                            7.90
 10/28/2022   PO        U.S. Postage                                                      2.64
 10/28/2022   RE2       SCAN/COPY ( 9 @0.10 PER PG)                                       0.90
 10/28/2022   RE2       SCAN/COPY ( 9 @0.10 PER PG)                                       0.90
 10/28/2022   RE2       SCAN/COPY ( 36 @0.10 PER PG)                                      3.60
 10/28/2022   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                       0.10
 10/28/2022   RE2       SCAN/COPY ( 20 @0.10 PER PG)                                      2.00
 10/31/2022   PAC       Pacer - Court Research                                           35.00
 10/31/2022   RS        Research [E106] Everlaw, Inv. 67404                           1,958.00

   Total Expenses for this Matter                                                  $4,320.87
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                                                REMITTANCE ADVICE

                                    Please include this Remittance with your payment

For current services rendered through:        10/31/2022

Total Fees                                                                                           $116,202.00

Total Expenses                                                                                           4,320.87

Total Due on Current Invoice                                                                         $120,522.87

  Outstanding Balance from prior invoices as of        10/31/2022          (May not include recent payments)

A/R Bill Number          Invoice Date                Fees Billed        Expenses Billed              Balance Due
 130360                  06/30/2022                $181,667.00             $439.17                      $4,410.00

 130569                  07/31/2022                 $87,980.00          $18,673.68                    $17,596.00

 130739                  08/31/2022                $113,090.00            $3,407.82                   $22,618.00

 130986                  09/30/2022                $221,173.00            $1,274.99                  $222,447.99

             Total Amount Due on Current and Prior Invoices:                                          $387,594.86
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                                    EXHIBIT E

   SUMMARY OF HOURS BILLED BY PROFESSIONALS AND PARAPROFESSIONALS
                 JULY 1, 2022 THROUGH OCTOBER 31, 2022




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                                                                              TOTAL
  NAME OF                            YEAR OF            YEAR OF     HOURLY                 TOTAL
                        TITLE                                                 HOURS
PROFESSIONAL                        ADMISSION         PARTNERSHIP    RATE               COMPENSATION
                                                                              BILLED
                      Founding      Member of CA
James I. Stang                                            1983      $700.00     79.90        $55,930.00
                      Partner       Bar since 1980

Kenneth H. Brown        Partner     Member of CA          2001      $700.00     97.50        $68,250.00
                                    Bar since 1981
                                    Member of CA
Andrew W. Caine       Partner                           1989/2013   $700.00    236.10       $165,270.00
                                    Bar since 1983

                                    Member of FL
                                    Bar since 1992;
Debra Grassgreen      Partner                             1997      $700.00      1.00          $700.00
                                    Member of CA
                                    Bar since 1994

                                    Member of CA
                                    Bar since 1991;
Linda F. Cantor       Partner                             1994      $700.00     57.00        $39,900.00
                                    Member of IL
                                    Bar since 1988

                                    Member of NY
                                    Bar since 1983;
Iain A. W. Nasatir    Partner                             1999      $700.00     24.70        $17,290.00
                                    Member of CA
                                    Bar since 1990

                                    Member of CA
                                    Bar since 1995;
Joshua M. Fried       Partner                             2006      $700.00     17.50        $12,250.00
                                    Member of NY
                                    Bar since 1999

                                    Member of TX
                      Of
Judith Elkin                        Bar since 1982;       N/A       $700.00    140.90        $98,630.00
                      Counsel
                                    Member of NY
                                    Bar since 2004
                                    Member of CA
                                    Bar since 2003
Robert M.             Of
                                    Member of FL          N/A       $700.00     16.10        $11,270.00
Saunders              Counsel
                                    Bar since 1995
                                    Member of NY
                                    Bar since 1984
                      Of            Member of CA
Gail S. Greenwood                                         N/A       $700.00      0.70          $490.00
                      Counsel       Bar since 1994




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                                                                               TOTAL
  NAME OF                             YEAR OF            YEAR OF     HOURLY                 TOTAL
                         TITLE                                                 HOURS
PROFESSIONAL                         ADMISSION         PARTNERSHIP    RATE               COMPENSATION
                                                                               BILLED
                                     Member of CA
                                     Bar since 1999;
                                        Member of
                       Of              Washington
Gillian N. Brown                                           N/A       $700.00      7.20         $5,040.00
                       Counsel        D.C. Bar since
                                      2008; Member
                                     of NY Bar since
                                          2010

                       Of            Member of FL
Cia H. Mackle                                              N/A       $700.00     28.10        $19,670.00
                       Counsel       Bar since 2006

                                     Member of MN
Brittany M.            Of            Bar since 2015;
                                                           N/A       $700.00      3.30         $2,310.00
Michael                Counsel       Member of NY
                                     Bar since 2019

                                     Member of NY
                                     Bar since 2015;
                                     Member of MD
Steven W. Golden       Associate                           N/A       $700.00      4.30         $3,010.00
                                     Bar since 2015;
                                     Member of TX
                                     Bar since 2016

Beth D. Dassa          Paralegal          N/A              N/A       $460.00     59.10        $27,186.00

Mike Matteo            Paralegal          N/A              N/A       $460.00     22.40        $10,304.00

                       Law
Leslie A. Forrester    Library            N/A              N/A       $450.00      2.10          $945.00
                       Director

Total                                                                           797.90       $538,445.00




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                                 UNITED STATES BANKRUPTCY COURT
                                  EASTERN DISTRICT OF LOUISIANA

       IN RE:                                                §    Case No. 20-10846
                                                             §
       THE ROMAN CATHOLIC CHURCH                             §    Section “A”
       OF THE ARCHDIOCESE OF NEW                             §
       ORLEANS                                               §    Chapter 11
                                                             §
                      Debtor.1                               §
                                                             §


             ORDER APPROVING SEVENTH INTERIM APPLICATION FOR
        ALLOWANCE AND PAYMENT OF COMPENSATION AND REIMBURSEMENT
             OF EXPENSES OF PACHULSKI STANG ZIEHL & JONES LLP AS
       CO-COUNSEL FOR THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS
           FOR THE PERIOD FROM JULY 1, 2022 THROUGH OCTOBER 31, 2022


            CAME ON for consideration the Seventh Interim Application for Allowance and Payment of

   Compensation and Reimbursement of Expenses of Pachulski Stang Ziehl & Jones LLP as Co-

   Counsel for the Official Committee of Unsecured Creditors for Allowance of Compensation and

   Reimbursement of Expenses for the Period from July 1, 2022 through October 31, 2022 [Docket

   No.___] (the “Application”) filed by Pachulski Stang Ziehl & Jones (the “Firm”) for the period

   from July 1, 2022 through October 31, 2022 (the “Application Period”). The Court finds that the

   Application was properly served pursuant to the Federal and Local Rules of Bankruptcy Procedure,

   with proper notice language incorporated therein, and that no objection to the Application has been

   timely filed by any party. The Court, having examined the Application, including the voluntary

   reductions contained therein, and having determined on an interim basis whether the services and

   expenses as outlined in the Application were actual, reasonable and necessary in representing the




   1
    The last four digits of the Debtor’s federal tax identification number are 8966. The Debtor’s principal place of
   business is located at 7887 Walmsley Ave., New Orleans, LA 70125.

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   interests of the Committee, finds that just cause exists for entry of the following order.

           IT IS THEREFORE ORDERED, ADJUDGED AND DECREED THAT:

           1.       The Application is APPROVED in its entirety. The Firm is allowed and

   awarded, on an interim basis, fees for services rendered and expenses incurred in the amount of

   $566,122.36 for the Application Period as an administrative expense claim under Bankruptcy

   Code § 503 against the estate of the Debtor (the “Award”). This Award consists of $538,445.00

   in fees for services rendered and $27,677.36 in expenses incurred by the Firm during the

   Application Period.

           2.       The Debtor is further authorized, and directed, to pay the balance of the Award to the

   Firm on an interim basis as an administrative expense claim under Bankruptcy Code § 503 against the

   estates of the Debtor, within ten (10) calendar days after the entry of this Order.

           New Orleans, Louisiana, this ____ day of _______, 2022.




                                                   __________________________________________
                                                   MEREDITH S. GRABILL
                                                   UNITED STATES BANKRUPTCY JUDGE




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                                     CERTIFICATE OF SERVICE

          I hereby caused a copy of the foregoing Application to be served on November 23, 2022
   upon all parties by electronic case filing for those parties receiving notice via the Court’s Electronic
   Case Filing system, and on all other parties requiring service under the Court’s Ex Parte Order
   Authorizing the Debtor to Limit Notice and Establishing Notice Procedures through the Master
   Service List via first-class United States mail, postage prepaid, to be sent on November 23, 2022.

                                                  /s/ Nancy H. Brown
                                                      Nancy H. Brown




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